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                                        Stnle ofTonnoBSce

                             DEPARTMENT OF CORRBCTJON
                           WEST TENNESSEE STATE PENJTBNTlARY
                                       P.O.BOX 1150
                             HENNING, TENNESSEE 38041--1150
                       TEIBPHONB(731) 738-5044    FAX (731) 738-5 947




                         SK~'1JAL ASSAULT AWARENESS
                              HANDBOOK RECEIPT


                                                   473 )/D
                                                  TDOC Number ·

        Do hereby acknowledge tsat I have received a copy of the Tennessee
        Department of Corrections Sexual Assault Awareness Handbook.


                                                   l I\]/ I        J

                                                Date


                                                     ?w I   \J I   11
        Staff Member Signature                  Date




                                                                       CCI 000201
        Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 1 of 200 PageID #: 1884
                                TENNESSEE DEPARTMENT OF CORRECTION
                                       ORIENTATION ACKNOWLEDGMENT
                                                                                           SCANNED
                                                      INSTITUTION


    OFFENDER NAME: ~ . ?t.-G/\SlrAL7              - Be'{                     TDOC#:       4731 ID
    I have completed the orientation program/unit of this institution. I have been advised of the programs,
    activities and privileges available to me.

    I have been issued a copy of:

        •        TDOC INMATE RULES AND REGULATIONS

        •        INSTITUTIONAL RULES AND REGULATIONS

        [i'      SPECIFIC UNIT RULES AND REGULATIONS (CHECKONLYIFAPPLICABLE)

        ~        PRISON RAPE ELIMINATION ACT (PREA) INFORMATION

    I have been issued a revised copy of:

        li'      TDOC INMATE RULES AND REGULATIONS

                 INSTITUTIONAL RULES AND REGULATIONS

       •         SPECIFIC UNIT RULES AND REGULATIONS (CHECK ONLY IF APPLICABLE)

    I have yewed:
       [g'       VIDEO PREA INFORMATION PROVIDED DURING ORIENTATION

       0         ADDITIONAL VIDEO PREA INFORMATION AT RECEIVING INSTITUTION




                                                                                           11/2M/6_
                                                                                             •   Dafe

                                                                                             u,zo-15
                                                                                                 Date

                                                                                          \ \ .. Qa-\S
                                                                                                 Date

                                                                                          11 --;J.o r/S




   CR-2110(Rev 12-14)                               Duplicate as Needed                                 RDA 1100

                                    Distribution: Original- Inmate Institutional Record




                                                               CCI 000202
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 2 of 200 PageID #: 1885
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                                                                     CCI 000203
      Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 3 of 200 PageID #: 1886
                                                                                                                   rJ t l

                                     TENNESSEE DEPARTMENT OF CORRECTION
                                        ORIENTATION ACKNOWLEDGMENT
                                                                                             SCANNIED
                                                        INSTITUTION


     OFFENDER NAME:           1$. ?L..G/\SkAl.7 - Bey                           TDOC#:       413/1D
     I have completed the orientation program/unit of this institution. I have been advised of the programs,
     activities and privileges available to me.

     I have been issued a copy of:

            •       TDOC INMATE RULES AND REGULATIONS

            •       INSTITUTIONAL RULES AND REGULATIONS

            ri      SPECIFIC UNIT RULES AND REGULATIONS (CHECK ONLY IF APPLICABLE)

            ~       PRISON RAPE ELIMINATION ACT (PREA) INFORMATION

     I have been issued a revised copy of:
            ~       TDOC INMATE RULES AND REGULATIONS

                    INSTITUTIONAL RULES AND REGULATIONS

            •       SPECIFIC UNIT RULES AND REGULATIONS (CHECKONLYIFAPPLICABLE)

     I   have yewed:
            {g'     VIDEO PREA INFORMATION PROVIDED DURING ORIENTATION

           •        ADDITIONAL VIDEO PREA INFORMATION AT RECEIVING INSTITUTION




                                                                                               ~Oat~

                                                                                               u,zo-15
                                                                                                 Date


                       Correctional Counselor                                                    Date


                   Classification Coordinator                                                    Date


                   Clinical Service Designee                                                     Date



         Associate Warden of Treatment/Chief Counselor                                           Date


    CR-2110 (Rev. 12-14)                               Duplicate as Needed                              RDA 1100

                                     Distribution   Original - Inmate Institutional Record




                                                               CCI 000204
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 4 of 200 PageID #: 1887
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                          ..,d

                              TENNESSE E DEPARTME NT OF CORRECTI ON
                                 ORIENTATION ACKNOWL EDGMENT                                      SCANNED
                                              \    INSTITUTIO N


    INMATE NAME:          B P\2.f\ ~AJ\)l -                    ~f y             TDOC #:          '-113 I   J   o
   I have completed the orientation program of this institution. I have been further advised of the
   programs, activities and privileges available to me.


   I have been issued a copy of:

                 0          TDOC INMATE RULES AND REGULATIO NS

                 ~ INSTITUTIO NAL RULES AND REGULATIO NS

                 (S31       SPECIFIC UNIT RULES AND REGULATIO NS


   I have been issued     a revised copy of:

                 ~ TDOC INMATE RULES AND REGULATIO NS

                 ~          INSTITUTIO NAL RULES AND REGULATIO NS

                 0          SPECIFIC UNIT RULES AND REGULATIO NS




                                                                                                      Date



              c'Snmate         Re   resentative    #
                                                                                                      Date


  J;;/{!I!            .r t! ~
                      Staff Member Signature
                                                                                               ci-:i.7- 13
                                                                                                      Date




                                                  Duplicate as Needed                                      RDA 1100
                                 Distribution: Original - Inmate Institutional Record   .._,



                                                               CCI 000205
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 5 of 200 PageID #: 1888
                                    TENNEESSEE DEPARTMENT OF CORRECTiON                                                \j_)~
                      MALE SEXUAL AGGRESSOR/SEXU~ ~c~~~-~s~:ATION SCREENING
                                                            INS" fflfTION



  ______r_lNh~~~:ePri ,cJJ.____                                                                        (._I
                                                                                  ---·-·--·---···--·----   -
                                                                                                               Jf'l!UM·B-E--R;..__
                                                                                                                    3 l \ O_ _ _ __
                      lQ   l)   ~ o\r    l___i L=-2.t_.__Y?.,_____
                      STAFF MEMBER{¼½) {Please Print)
                                                                                                       :) j ,.2b,<;:.CJ
                                                                                                                    DATE


  ·complete the foftowing screening using information obtained frorn the inmate's health record, TOfvHS record
  andior interview. File in Unit Fife - Section VI.

                                                SEXUAL VICTIM FACTORS
                                                                                                               YE!i         NQ
                 1.    Former victim of institutional (prison or jaiQ rape or sexual assault
                                                                                                               •            Cl
                2.     Youthful Age {25 or younger) or elderiy (60 or older}       -~-~                        D            J2(
                3.     Srnaff in physical stature (less than 5•5" and/or less ll1an 150 lbs)                   [J
                                                                                                                            7'.
                4.     Developmental disability/mental illness/medical issues                                  0            ✓
                                                                                                                            ;/
                5.     Firnt incarceration ever (prison.orjail)
                                                                                                               •            E
                6.     Homosexual/Bi-sexual/Effeminate                                                         •            ;;a/
                7.     Histort of prior sexual victimization
                                                                                                               •            z
                8.     History of facility con.sensual sex                                                     [J           ~
                9.     Prior history of protective cu·stody {adult orjuveniJe}
                                                                                                               • ;z{
                -w.    Conviction for sex offenses against an aduit or chifd                                   if D
 1s the offender found to he a:
 D      ViC"f«M ~ ff question #1 is answered yes, the offender is clas$ified as a vfotirn regardless of rhe
        other questtons.
 tJ     POTENTiAL VICTIM - lf 3 or more of questions #2 - 10 are checked, the nftender i~') dassifted
        as a potential victim.
        NIA - ff 2 or fess of questions # 2-10 are chect<:ed 1 the classification designa.tions are Mot
        Applicabfe {rN/A).     ·
 Do you recommend another victim finding.level?                   [ ] YES         dNo
 if yesr which level is recommended?        [J Potential Victtm        O    NIA   tJ Monitoring                     [] YES ONO

      ------------- ____________ --------- ·-·-------•--·---
 Expfanation:
                                                        ,                                                             ...

------------------- '-----~---·-·-···--•--"--··--·-·-····-------- -----·-----··



      CH~3638 (Rev. 04-1 't)


                                                                CCI 000206
 Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 6 of 200 PageID #: 1889
                              MA.LE Sl:XU/\L /;GGRESSORISEXU,AL VlCT!M Cf.. ASSIFICATtON SCREENING
                                                                                                         continued


                                                                                                    ,Mi~~ -------------------
    ---- ------- ~-lW.l4r.:4 _-_.Bo/---                                                   --------- ------                                                 '-/}) i I tJ                     ---- -· -
                                                                                                                                                                                                  ...




                                                                             SEXUAL AGGRESSOR FACTORS


                                   Any history of institutional {prison or ja11) se,wal agnressor behavior                                                            0
                      2.           Current or prior rape conviction                                                                                                   ~
                       3.          Anv history of sexual abuse/sexual assault toward others                                                                           []

                      4.           Any history of physical abuse toward otheiS                                                                                        0
                      5.          Any history of domestic vioJence toward others                                                                                      D
                      6.           Confirmed gang affiliation                                                                                                         []

     Is tre offend~r found to be a:
     r·1      SEXUAL AGGRESSOR - If question #1 is yes, the offender is dassifiad as a ~exua:i a!Jgms:u.n·
             regardless of the other quest,ons.
             Any inrnate classified as SEXUAL P,GGHESSOR is to l)e monitored quarterly for a minimum of
             one calendar year and is to be re-evaluated for monitoring purposes at annual re-class
     ~]      POTENTIAL SEXUAL A(~GRESSOR . H 2 c,i' more of q1.1estions #2 ·- 6 are chcd,ed thB
             :J11en:.ier is classified as a potential seKua~ ~9!-.m~>ssor.

   f         NIA - ff 1 <X less of questions # 2-- 6 are checked, tile classification designations are Not
             Applicable (NIA).
             Do you recommend anal.her aggressor finding lev~~I?                                                            [J YES                  [;rKio
           if yes, which leve! is recornmended?                                                                                                /
           [J Potential Sexual Aggressor                                               O      NIA                          D   Monitoring                         O   YES     CJ NO
    0        LS/CMI Review (if available) f.~speciaily sections 1.8 and sections 2 (perpetrator and -,ictiff,,                                                                    £~r1(J

             section 4 (other dient issues).



    Explanation: __ _               ----·-··--·---···-·--·-- -·--·--· ---··----·······-··-----·- - -------- -··--·-··-·-----·--·--·----··-·-"-••-------·-
                       ·- --•···-·-·--·--.....---.- .. --•·· ··------~- ·----·--~.,.. ·----·-·--..... ----•-.•. --·-·-··   . ·------   -- -·       ,.. .      "




  ----·-•·••----···---··- ·----·.. ---··-··-·--··- ------·-·--··-···--·---- ··--·---.. -- .•-.-·-··--·-·-- ----·-···-··-···-···--·----·--··---········· --······-·- ..•..
    -------------···-··-······-- ------·•---····•·••·····---· -····---·-·---··-·-·· ···-·-··--··--···-··· ·-•·--· .. ··-· .... ·---                  -     ·•-"•·---·---· - --·---· --- -------



                     Mitch B~shaw
_. ___ _____________As_sista nt vliVa rd en                                              _____________________ _
                                                                                                                                                                       DATE·
                     Deputt Warden or Designee/Approvar




           CR-3638 ;_Hev. 04-• J ·l)                                                                    DUPUGATE AS NEEDED




                                                                  CCI 000207
   Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 7 of 200 PageID #: 1890
                               TENNESSEE DEPARTMENT OF CORRECTION
                                  ORIENTATION ACKNOWLEDGMENT


                                                    INSTITUTION


      INMATE NAME:        J~.4:;( flea<; et,.) f-'& y                          TDOC#:   ,473/( 0

     I have ·completed the orientation program of this institution. I have been further advised of the
     programs, activities and privileges available to me.


     I have been issued a copy of:

                     0        TDOC INMATE RULES AND REGULATIONS

                     ~        INSTITUTIONAL RULES AND REGULATIONS

                     0        SPECIFIC UNIT RULES AND REGULATIONS



     I have been il  0
                              P~ISON RAPE ELIMINATION ACT (PREA) INFORMATION

                          d a revised copy of:

                              TDOC INMATE RULES AND REGULATIONS

                     0        INSTITUTIONAL RULES AND REGULATIONS

                     0        SPECIFIC UNIT RULES AND REGULATIONS




                                                                                        ti- !0- ()
                                                                                          (eG~lZOt5
                                                                                            Date
                          Staff Member Signature




                                                   Duplicate as Needed                         RDA 1100
     CR-2110(Rev. 1-10)
                                   Distribution: Original- Inmate lnstituUonal Record



                                                               CCI 000208
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 8 of 200 PageID #: 1891
           EMERGENCY NOTIFICATION FORM

       INMATE NAME: 1394-Z                       Plea{a11!-&
                                                       lt.- vc/
       INMATE TDOC: --~1_7~3::;....£..!---=--l_ . ; : O = - - - - - - - - -


                      Contact in Case of an Emergency


       NAME:fl, £t6c '?fer%a6.l. f, ~
      RELATIONSHIP: -.£1£-e_r
                         -=-----------------
      ADDRESS: S--1 :J.- £s /- S--t!A:etvlte

              ketvbn·i((:_
                         LI
                                 VA: c?-31-:t-1
                                            .J




      TELEPHONE NUMBER:                          4 3-4 -G 70 r--/ S 5'S

      COMMENTS:




      DISTRIBUTION: INMATE INSTITUTIONAL FILE




                                                               CCI 000209
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 9 of 200 PageID #: 1892
                               TENNEESSEE DEPARTMENT OF CORRECTION
                      MALE SEXUAL AGGRESSOR /S¼U~b~.it CLASSIFICATION SCREENING

                                                           I STITUTI N




                                                                                                    UMBER

                                                                                              ,/)- /-/Ji
                                                                                                    DATE

   Complete the following screening using information obtained from the inmate's health record, TOMIS record
   and/or interview. File in Unit File - Section VI.

                                                  SEXUAL VICTIM FACTORS
                                                                                                YES

                                                                                                •
                                                                                                           '~
                 1.     Former victim of institutional (prison or jail) rape or sexu)fult

                 2.     Youthful Age (25 or younger) or elderly (60 or older)    __
                                                                                                •          d
                 3.     Small in physical stature (less than 5'5" and/or less than 150 lbs)
                                                                                                •
                4.

                                                                                                ~
                        Developmental disability/mental illness/medical issues

                5.

                                                                                                           ~
                        First incarceration ever (prison or jail)

                6.      Homosexual/Bi-s exual/Effeminate
                                                                                                •
                7.      History of prior sexual victimization
                                                                                                •          [
                8.

                9.

                10.
                       History of facility consensual sex

                       Prior history of protective custody (adult or juvenile)

                       Conviction for sex offenses against an adult or child
                                                                                                •
                                                                                                ~
                                                                                                           :
                                                                                                           •
 Is the offender found to be a:
 D        VICTIM - If question #1 is answered yes, the offender is classified as a victim regardless of the
         other questions.
 D       POTENTIAL VICTIM - If 3 or more of questions #2 - 10 are checked, the offender is clas~1f:o.d
• {      as a potential victim.
'J;JJ    NIA - If 2 or less of questions # 2-10 are checked, the classifi;jc1on designations are :,i, ,·
         Applicable (NIA).
 Do you recommend another victim finding level?                 D YES              NO
 If yes, which level is recommended?          D Potential Victim O N/A           D Monitoring         D YE:~ C NO
Explanation: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




        CR-3638 (Rev. 04-11)                                 DUPLICATE AS NEEDED                                Page 1


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                                                                PageID #: 1893
                     MALE SEXUAL AGGRESSOR/SEXUAL VICTIM CLASSIFICATION SCREENING


                                                          l~CZ'~!f: .
                 ,~j -
                 •   /                                      INSTITUTION




                                               SEXUAL AGGRESSOR FACTORS


            1.           Any history of institutional (prison or jail) sexual aggressor behavior

           2.            Current or prior rape conviction

            3.           Any history of sexual abuse/sexual assault toward others

           4.            Any history of physical abuse toward others

           5.            Any history of domestic violence toward others

           6.            Confirmed gang affiliation

Is the offender found to be a:
D     SEXUAL AGGRESSOR - If question #1 is yes, the offender is classified as a sexual aggressor
     regardless of the other questions.


j    Any inmate classified as SEXUAL AGGRESSOR is to be monitored quarterly for a minimum of
     one calendar year and is to be re-evaluated for monitoring purposes at annual re-class.
     POTENTIAL SEXUAL AGGRESSOR - If 2 or more of questions #2 - 6 are checked, the
     offender is classified as a potential sexual aggressor.
0    NIA - If 1 or less of questions # 2- 6 are checked, the classificatiodesignat ions are Not
     Applicable (NIA).
     Do you recommend another aggressor finding level?                 D YES                NO
    If yes, which level is recommended?
    D   Potential Sexual Aggressor                    •   NIA         D Monitoring             • YES •    NO
0    LSICMI Review (if available) especially sections 1.8 and sections 2 (perpetrator and victim) and
     section 4 (other client issues}.



Explanation: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




    ~            D ~ r Designee/Approval                                                           DATE




    CR-3638 (Rev. 04-11)                                        DUPLICATE AS NEEDED                            Page 2




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                                                                PageID #: 1894
                                                              SEXUAL VIOLENCE SCREENING TOOL

      / inmate Name JEM.fu:.,AµT-                                      Bic.,_i,)~- BoA z                          -==~=~-~-~~-- -~]_~~-,n~~'.].=~:isJ~O__ _
                                                                                                                                                    1                                                                   __,J ·

      Inmat e/Res ident Interview:
      Sectio n I:
                                                                         --- ·aues tion                               ·- ------ --- -·--~ ----·--------                    --1---_ _ _    R_·e_s~--=-,,,,.;;;;::...-----l
                                                                           me activit while incarceratedc_-=-=                                                                       YES
        rlave ou been the victim of a rior sexual assault or unwelco                                                                                                                 YES
        Do ou have a revious convicti     on  of sexual  assault in a  rison or ·ail?
                                                       n  for sexual  violence  or sexual miscon duct while                                                                          YES
        Have  you   received  a disciplin ary  sanctio
        incarce rated in a rison or ·ail?                                                                                                                                            YES
                                                                                    of a child or elder?
        Do ou have a current or rlor convicti on of abuse. neglect, or rape
                                                                                    above in Section I, discontinue the
                     the Inmate /reside nt answers ''yes" to any of the questio ns
                    If
                                      s  and  Immed  iately  refer the Inmate /reside nt to Classif ication /Unit Staff &
                   screening proces
                   Health Service s for further evaluat ion and screeni ng.

     Section II:                                                                                                                                                                           R~
                                                                                Qu~tio o
                                                                                        incarce rated?             YES_ __,__ -.::::a-,c:i.........___,
        Have ou ever been a roached b another Inmate/ residen t for sex while                                   ~  S
                                                                                       inmate/ residen t while
        Have you ever been threaten ed with sexual assault by another ,____ ____ ___ +---- ---~
                                                 _   _  _  _  ,_  _ _  _  _   _ _   _
             ___rce_r_at_e_d_?_ _ _ _ _ _ _ _ _
     1--in_,;.ca
                                                                                                         _ _-4-_ _Y;...;E;;:_.S;;:....____,,f---..:;~,,,__----1
        Do ou feel ou are unable to defend ourself while incarce rated?                                            YES
        Have ou been a victim of ro e        theft in the last three months ?
                                              with  another inmate/  residen t while incarce rat~d?  ~_____   _.___Y_E_S__   --.....
                                                                                                                                  + _·--'-~-~
       Have you ever been sexually active
                                                                                 of the questio ns above in Section II,
                  If the Inmate /reside nt answer s "yes,, to three (3) or more
                                                                and    Immed iately   refer the inmate/resident to
                  discontinue the screen ing proces s
                                                                                  ion and screen ing .
                  Ctasslficat/on/Unit Staff & Health Services for further evaluat

                                                                                                                                                                                              ..................... .
    ........ ,. ................................................................................... -... , ....................................................................................
    Obser vation /File Review:
                                                               screening proces s. Regardless of answers in Sections J
 Listed below are additional factors to consid er during the
                                                                   warrant additio nal screening and evaluation, refer the
 and II above, if you feel that any combin ation of these factors       iately.
                                        Staff & Health  Service s immed
 inmate/resident to Classlffcatlon/Unlt
                                                                          ted. J{o
 •        Inmate/ residen t appears to be mentall y disable d or disorien
                                                                                o
          Inmate/ residen t has a small build or appear s to be vulner able.if
                                                                    ~~
•   Inmate/ residen t appears to be a loner, introver ted, or narve
• . Inmate/ residen t shows unusua l interest in or focus on a
                                                                specific inmate/ residen t at this facility                                                                LAf4
                                                                                rated while still a mino,( ~}"T)-¼ C3
•        Inmate/resident is under thirty (30) years old or was initially incarce
                                                                               for fewer than two (2) continu ous years prior to arriva l.~
         Inmate/ residen t is a first time offende r or has been incarce rated
•
•        Inmate/ residen t has a security threat group affiliation or a reputati
                                                                                 on for instituti onal aggress ion and violence.                                                                    J(()

Screener•s Printed Name -
Screene r's Signatu re


cc: tnmate/Rt.~sident File
                                                                                                                                                                                                     6/16/08

                                                                                                                                         Property of Corrections Corporation of America
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                                                                PageID #: 1895
                                 TENNESSEE DEPARTMENT OF CORRECTION
                                    ORIENTATION ACKNOWLEDGMENT

                                  ________d:L C C..1._INSTITUTION


       INMATE NAME:        =£:)....eft.SANT-f,~~Of)Z                                        !12;3.,L_/O__
                                                                                   TDOC #: __


      I ~1ave completed the orientation program of this institution. I have been further advisf¾d of the
      programs. activities and privileges available to me.


      I have been issued a copy of:

                     0         TDOC INMATE RULES AND REGULATIONS

                     II        INSTITUTIONAL RULES AND REGULATIONS

                     0         SPECIFIC UNIT RULES AND REGULATIONS

                     II        PRISON RAPE ELIMINATION ACT (PREA) INFORMATION

     ! have been issueci a revised copy of:

                     0         TDOC INMATE RULES AND REGULATIONS

                     CJ       INSTITUTIONAL RULES AND REGULATIONS

                     CJ       SPECIFIC UNIT RULES AND REGULATIONS




                                                                                            3-;;;.1-1/
                                                                                                  Date


                                                                                                3,r9;- ;/
                                                                                                  Date


   ld2mi_«1-idZ11_w:      Staff Memter Signature




    CR-2·110 (Rev 3-07)                            Duplicate as Needed                               RDA 1100
                                  Distribtition Original - Inmate lnstitlitiona! Record




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                                                                PageID #: 1896
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                                .
                                I
                                         TENNESSEE DEPARTMENT OF CORRECTION
                                            ORIENTATION ACKNOWLEDGMENT

                                                         \Al             -r
                                                                         INSTITUTION
                                                                                     se
         INMATE NAME:               Baa ].. pIea.San+ - be;j                                                 Tooc #:   y7 J , 1a
       I have completed the orientation program of this institution. I have been further advised of the
       programs, activities and privileges available to me.


       I have been issued a copy of:

                            0        TDOC INMATE RULES AND REGULATIONS

                        D            INSTITUTIONAL RULES AND REGULATIONS

                        o            SPECIFIC UNIT RULES AND REGULATIONS

                        D            PRISON RAPE ELIMINATION ACT (PREA) INFORMATION

     I have been issued a revised copy of:

                        D           TDOC INMATE RULES AND REGULATIONS_

                        D           INSTITUTIONAL RULES AND REGULATIONS

                        D           SPECIFIC UNIT RULES AND REGULATIONS




                                                                                                                       p../17/\1
                                                                                                                          Date

     TIMOTHY

                                                                                                                          Date
                                                                                                       \
                                                                                                                       Z/ ) 711)
                                                                                                                          Date




  CR-2110 (Rev. 1-10)                                         Duplicate as Needed                                            RDA 1100
                                      ~'-····   .••• -   ,..._._, __ •   ·----·- , __ ,,, •.•• ___ , r"""-----'


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                                                                PageID #: 1897
                                     TENNESSEE DEPARTMENT OF CORRECTION

                                      RELIGIOUS DIET CANCELLATION REQUEST




     ,. &At,,              'I° /er,£retd- -~
                                          (Pnned'O
                                  Inmate Name
                                                   1                             4:-7\SIIO Inmate Number

      request that my religious diet be cancelled immediately. I understand that I must apply for readmission to
      the program, and readmission may not occur for up to thirty (30) days.          I understand that repeated
      withdrawals may result in a waiting period for up to ninety (90) days for readmission unless a change of
      religious affiliation is approved.




                               Inmate Signature                                                 Date




   ~                          Chaplain Signature                                                Date




           Distribution:       Chaplain         Warden         Food Service Manager     Inmate File, Inmate
     CR-3813                                      Duplicate As Needed                                    RDA 1458




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                                  TENNESSEE DEPARTMENT OF CORRECTION
                                        ORIENTATION ACKNOWLEDGMENT



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    OFFENDER NAME:
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                                                                                           ~
    I have completed the orientation program/unit of this institution. I have been advised of the programs,
    activities and privileges available to me.
    I have been issued a copy of:

        •           TDOC INMATE RULES AND REGULATIONS




    ~
                    INSTITUTIONAL RULES AND REGULATIONS

                    SPECIFIC UNIT RULES AND REGULATIONS (CHECK ONLY IF APPLICABLE)

    •               PRISON RAPE ELIMINATION ACT (PREA) INFORMATION
    I have been issued a revised copy of:
        •           TDOC INMATE RULES AND REGULATIONS

        •           INSTITUTIONAL RULES AND REGULATIONS

      ef'
    I have viewed:
                    SP~CIFIC UNIT RULES AND REGULATIONS (CHECKONLYIFAPPUCABLE)

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       •            VIDEO PREA INFORMATION PROVIDED DURING ORIENTATION

                    ADDITIONAL VIDEO PREA INFORMATION AT RECEIVING INSTITUTION




                      Offender Sigture
                                                       y                                              Date


   ~~               Offender Representative                                                           Date


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   CR-2110 (Rev. 09-16)                             Duplicate as Needed                                      RDA 1100

                                    Distribution: Original - Inmate Institutional Record



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       Level of Service /Case Manag ement Inventory
      By D. A. Andrews, Ph.D. , J. L. Bonta, Ph.D., & J. S. Wormilh, Ph.D.

      Profile Report




      Name:                                                             Boaz Pleasant-bey
       ID Number:                                                       00473 110
      A ssessmen t Age:                                                 33
      Gender:                                                           Male
      Interviewer:                                                      Perriann Stanley
      Reason for Assessment:                                            Institution: C lassification
      Interview Date:                                                   October 03, 2016 (Online)




     Client-Based/Clinical Override: No

     Administrative/Policy Override: No




    ~M HS                                                               Copyright © 2004 Multi-Health Systems Inc. All rights reserved.
                                                                        P.O. Box 950, North Tonawanda , NY 14120-0950
                                                                        3770 Victoria Park Ave .. Toronto, ON M2H 3M6

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                                                                PageID #: 1901
         Profile Report: Boaz Pleasant-bey                                                                  Page 2



         Introductio n                                                                         SCANNFD
        The LS/CMI is a risk and need assessment tool. This report summarizes the results of the LS/CMI
        administration and provides information pertinent to the assessment of the individual. The results of this
        inventory can be used in formulating a case management plan for Boaz Pleasant-bey. See the LS/CMI
        User's Manual, published by MHS, for more information about this instrument and its applications.
           f   .
       Caution: This computerized report is an interpretive aid and should not be given to the client. The
       LS/CMI is not intended to be the only instrument used to assess the level of service required by an
       individual, nor is the LS/CMI to be used as a substitute for sound judgement that utilizes various sources
       of information.


        Offender History Information
       Boaz Pleasant-bey is a 33-year-old, male offender who was assessed by Perriann Stanley on October
       03, 2016. The context of this assessment was classification. The following information summarizes Boaz
       Pleasant-bey's offence history.


       Criminal History Sources
      The following sources were listed for this assessment:
      1. See LHSM
      2.
      3.



      Current Offence(s)
      ~o :current offences were recorded.

      Total aggregate sentence: No information was provided concerning Boaz Pleasant-bey's total
      aggregate sentence.


      Prior Offence(s)
     No prior offences were recorded.


     Circumstances of Current Offence(s)
     No information regarding the circumstances of the current offence was recorded.


     Co-accused
     No information regarding co-accused was recorded.




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         Profile Report: Boaz Pleasant-bey                                                                    Page 3



        Court Disposition and Recommendations/Probation                                                 ~···· «-lJI"> Ai\'  N~ f
                                                                                                                       ti ~ ,
        Conditions
        No court dispositions or recommendations were recorded.


        Section 1: General Risk/Need Factors
        The General Risk/Need score reflects the literature's "big eight" risk/need factors (i.e., Criminal History,
        Education/Employment, Family/Marital , Leisure/Recreation, Companions, Alcohol/Drug Problem,
        Procriminal Attitude/Orientation, and Antisocial Pattern). The General Risk/Need score can be used in
        determining Boaz Pleasant-bey's level of supervision.


        LS/CMI General Risk/Need Total Score
       The graph below displays Boaz Pleasant-bey's General Risk/Need Total score and indicates the
       classification level associated with that score.


                           Low              Medium   :         High             Very
                                                     I                          High
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                                                         Total Score


      General Risk/Need Assessm ent Based on General
      Risk/Need Total Score
     The General Risk/Need Total score of 10 places Boaz Pleasant-bey in the Low risk/need level. Based
     on past research with other inmates in the Low risk/need level, Boaz Pleasant-bey has approximately a
     6% chance of recidivating (i.e., being re-incarcerated within one year). The following guidelines
     represent some supervision options: Consider early release or community residential placement.


     Compar ison to North American Adult Male Inmates

     Boaz Pleasant-bey's score is as high or higher than 6.9% of the normative group• of Adult Male Inmates
     in North America.

     •Note: For details on the normative group, see chapter 4 of the LS/CMI User's Manual.




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         Profile Report: Boaz Pleasant-bey                                                                      Page 4



        Assessme nt of General Risk/Need Factors
        The graph below displays Boaz Pleasant-bey's risk level for each General Risk/Need subcomponent.


                                                  Ve ry Low __
                                                             L_o___
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                                                                   _e_d_i_u_m_ _H_i=g_h ___V_e_r~
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                                                                                                      ~h_ __,

                                 1. 1 Criminal History ·             (3)
                                                                 I
                        1.2 Education/Employment           (1)   I
                                                                 I
                                  1. 3 Family/Marital                (1)
                             1.4 Leisure/Recreation        (0)
                                    1. 5 Companions ·                                            I   (4)
                                                                 I
                                                                 I
                          1.6 Alcohol/Drug Problem         (0)   I
                                                                 I
                1. 7 Procrimina l Attitude/Orientation               (1)
                              1.8 Antisocial Pattern       (0)


                                                                           Risk Level (Score)




       f:>rofile Summary
      4 subcomponents were assessed as Very Low risk:
      1.2 Education/Employment
      1.4 Leisure/Recreatio n
      1.6 Alcohol/Drug Problem
      1.8 Antisocial Pattern

      3 subcomponents were assessed as Low risk:
      1.1 Criminal History
      1.3 Family/Marital
      1.7 Procriminal Attitude/Orientation

     No subcomponents were assessed as Medium risk.

     No subcomponents were assessed as High risk.

     One subcomponent was assessed as Very High risk:
     1.5 Companions




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         Profile Report: Boaz Pleasant-bey                                                                   Page 5



        General Risk/Need Subcomponent Areas of Strength,·'
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        Each of the eight General Risk/Need subcomponents has been judged by the assessor as to whether or
        not it represents an area of strength for Boaz Pleasant-bey. Research has shown that some conditions
        (i.e., strengths), by virtue of their presence, may serve as protective factors and actively reduce the
        chances of antisocial conduct. A subcomponent rated as a strength indicates that the circumstances of
        level of functioning for that subcomponent are so positive that they may reduce the influence of existing
        risk factors. Boaz Pleasant-bey's strengths should be built upon in service planning.

        No subcomponents were identified as areas of strength for Boaz Pleasant-bey.


        Details Regarding Subcomponent Risk/Need
       This is a list of all endorsed items as well as any notes relating to the subcomponent. An item is
       considered to be endorsed if it received a "Yes" rating or a rating of O or 1 on the following rating scale:

                3   A satisfactory situation with little opportunity or need for improvement.
                2   A relatively satisfactory situation, with some room for improvement evident.
                1   A relatively unsatisfactory situation with a need for improvement.
                0   A very unsatisfactory situation with a very clear and strong need for improvement.


       1.1 Criminal History
       1. Any prior youth dispositions or adult convictions: Yes. Number of Youth dispositions: 0. Number of
      Adult convictions: 1.
       6. Ever incarcerated upon conviction: Yes.
       7. Ever punished for institutional misconduct or a behavior report: Yes. Number of times punished for
      institutional misconduct: 8.

      Notes: No notes were recorded for this subcomponent.


      1.2 Education/Employment
       13. Less than regular grade 12 or equivalent: Yes.

      Notes: No notes were recorded for this subcomponent.


      1.3 Family/Marital
      21. Criminal-Family/spouse: Yes.

     Notes: No notes were recorded for this subcomponent.


     1.4 Leisure/Recreation
     No Leisure/Recreation items were endorsed.

     Notes: No notes were recorded for this subcomponent.




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        Profile Report: Boaz Pleasant-bey                          Page 6



        1.5 Companio ns
         24.    Some criminal acquaintances: Yes.
         25.    Some criminal friends: 0.
         26.    Few anticriminal acquaintances: Yes.
         27.    Few anticriminal friends: 0.

        Notes: No notes were recorded for this subcomponent.


        1.6 Alcohol/Drug Problem
       No Alcohol/Drug Problem items were endorsed.

       Notes: No notes were recorded for this subcomponent.


       1. 7 Procrimin.al Attitude/Orientation
        38. Poor, toward sentence/offence: Yes.

       Notes: No notes were recorded for this subcomponent.


       1.8 Antisocial Pattern
       No Antisocial Pattern items were endorsed.

      Notes: No notes were recorded for this subcomponent.




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        Profile Report: Boaz Pleasant-bey                                                             Page 7



       Summary of General Risk/Need Item Responses                                        '~rA I\~ t\i F rr)
       The assessor entered the following response values for the LS/CMI General Risk/Need section.



                Item   Response   Item   Response   Item   Response
                1      Yes        20     2          39     No
                2      No         21     Yes        40     No
                3      No         22     No         41     No
                4      No         23     3          41a    No
                5      No         24     Yes        41b    No
                6      Yes        25     0          41c    No
                7      Yes        26     Yes        41d    No
            8          No         27     0          42     No
            9          No         28     No         42a    No
            10         No         29     No         42b    No
            11         No         30     3          42c    No
            12         No         31     3          43     No
            13         Yes        32     No         43a    3
            14         No         33     No         43b    No
            15         3          34     No         43c    No
            16         3          35     No         43d    No
            17         3          36     3          43e    No
            18         3          37     3          43f    No
            19         3          38     Yes        43g    No
                                                    43h    Yes

     Additional Item Information
     1. Number of Youth dispositions: 0
     1. Number of Adult convictions: 1
     4. Number of present offences: 1
     7. Number of times punished for institutional misconduct: 8
     31. Type of drug(s) used: Not Specified
     35. Specify: Not Specified
     43b. Number: Not Specified


     Summary of Omitted Responses
     No General/Risk Need Factor items were omitted.




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       Profile Report: Boaz Pleasant-bey                                                                     Page 8



       Section 2: Specific Risk/Need Factors
                                                                                                      <~CANN Fr·
      The Specific Risk/Need Factors section derives from a review of the research literature. It pinpoints
      items that may not apply to the general offender population. When "specific" items occur in a given
      case, they may take a prominent role in the assessment of this offender's risk. Note that the items are
      not summed for a total Specific Risk/Need score. Rather, the endorsement of any item should be
      considered in planning Boaz Pleasant-bey's case management plan.


       Personal Problems with Criminogenic Potential
      This section focuses on specific attributes and personal characteristics that may be particularly
      indicative of specific criminogenic needs.

      No personal problems with criminogenic potential items were endorsed for Boaz Pleasant-bey.


      History of Perpetration
      This section includes a series of historical items that might constitute specific static risk factors. Note
      that the items refer to history and not simply to the current offence.

      No history of perpetration items were endorsed for Boaz Pleasant-bey.


      Section 3: Prison Experience - Institutional Factors
      This section samples items that institutional classification staff have identified as crucial considerations
      over-and-above the General Risk/Need level and the other sections of the LS/CMI. The endorsement of
      any item should be considered when developing Boaz Pleasant-bey's case management plan.

      Past Incarceration:

      Items that were given "Yes" responses for this section are shown below:

      No past incarceration factors were endorsed for Boaz Pleasant-bey.

      Present Incarceration:

     Items that were given "Yes 11 responses for this section are shown below:

     No present incarceration factors were endorsed for Boaz Pleasant-bey.

     Barriers to release

     Items that were given "Yes" responses for this section are shown below:

     No barriers to Boaz Pleasant-bey's release were endorsed.




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                                                                                               ~CANNt-n
       Section 4: Other Client Issues (Social, Health, and Mental
       Health)
       This section includes supplementary information that may impact on Boaz Pleasant-bey's classification
       and case management decisions. Note that the items are not summed for a total score.

       No other client issues were endorsed for Boaz Pleasant-bey.


       Section 5: Special Responsivity Considerations
      This section samples some of the dominant responsivity considerations in clinical research and
      correctional opinion. Responsivity factors are considerations that may impact upon choice of the most
      appropriate style and mode of service. Note that the items are not summed for a total score.

      No special responsivity considerations were endorsed for Boaz Pleasant•bey.


       Section 6: Risk/Need Summary and Override
      Score-Based General Risk/Need Level

      Low

      Client-Based/Clinical Override

      The client-based/clinical override was not used.

      Administrative/Policy Override

      The Administrative/Policy override was not used.

      No reason for using the Administrative/Policy override was specified.

      Final Risk/Need Level

     Low




     Section 7: Risk/Need Profile
     T.hE: Risk/Need Profile information is presented in the sections of this report entitled "LS/CMI General
     Risk/Need Total Score" and "Assessment of General Risk/Need Factors."




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       Section 8: Program/Placement Decision
       Recommendation/Decision:
       Re,lease Recommended: Not Specified
       Institutional Placement: None Specified
       Co~ments: None Specified

       Summary of Findings: None Specified


       Date Printed: Monday, October 03, 2016
       End of Report (Assessment# 620673)




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PROBLEM            DATE IDENTIFIED/                                                               RESOLVED
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NUMBER*              RECORDED                                                                     " ,/" if resolved)


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 Conservator Name:

 Primary Phone:                                           Secondary Phone:

       *      Major medical problems considered medical or surgical in nature are identified by Roman numerals,
              i.e., I - Diabetes, II - Laminectomy.
       *      Psychiatric, or serious psychological problems, are identified by capital letters, i.e., A - Schizophrenia,
              B - Self-Mutilative Behavior.



           CR-1894(Rev.08-14)                     Duplicate as Needed RDA 1458




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                    TENNESSEE DEPJI                v'IENT OF CORRECTION
                            CHRONIC DISEASE CLINIC
                               TREATMENT PLAN


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      Either list or refer to pharmacy profile for current

    SUBJECTIVE:
      Asthma: # attacks in last month?         JS:21..IJ-             ()   J/l_ Seizure disorder: # seizures since last visit?     is2.J~
      # short acting beta agonist canisters in last month? ~                 <T,...
                                                           Diabetes mellitus: # hypoglycemic reactions since last visit?                             JO../.pr--
      # times awak.ening with asthma sympto~ week? ~Weight loss/gai~ t_ J.. _
      CV/hypertension (Y/N): Chest pain?
                                                                                        lbs.      IA '\/'"\   ~
                                              SOB?         Palpitations? -Jl.l.l)Ankle edema? ~
      HIV/HGV (Y/N): . Nausea/vomiting? ~bdomi nal p In/swelling? ~ Diarrhea? _ _ -Rashes/lesio
                                                                                                          ns? ~
      For all diseases, since last visit, describe new symptoms:                       trfie n +- O'hM                ff CDc?eb .~ C()II /}~
   OBJECTIVE:                                         ·
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                                                                                                          exercise? ~
     Vltal slgns: Tern     Cl BP J>tll Puls ~ Re~p f u
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                                                                                                      LDL         HDL _ _ Trig _ _
     Range of fingerstlck glucose/BP monitoring: _ _
   Physical Evaluation (PE):                                                                                  r
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       Lungs:                                                                           ~            I:
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       Additional Comments:

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    CR3624 (Rev. 4-11)               Vanessa Davis
                                                                      Dupl/cate as Needed                                                  RDA 1100
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     ti- sho<t acting b ta agonlst canisters in last monttd _            v/_~      Diabet s mellrtus: II hypogly       mic (eachon since lasl visP.,
     # times awakening wrth asthma syinptoo is~ week?       Wc!ighl loss/gain t -1-
     CV/hyperte 0$iill'I (Y/_N) ; Chest pain?          ":-''U
                                                 SOB~P alpitati on ?
     HIV/HCV (YIN). Nausea/vorn1tmg? -WAI.X lornlnal pain/swelling?
                                                                                          lbs
                                                                                    )\nkle edema?         If 1(.)
                                                                             iarrn a? ~ a sl1es/les 1ons?/_V _
                                                                                                                             ~'i!
     FocaU diwaM. s,eoo ,~,,,,,,~ desaibe               ~                       htto ff (\R,w CO\Ml1-tlW<J
   OBJECTIV E:
     I' tient adhe(ence ~N)i,.. witg~ica tions? -c,t-                      with di l? _ _ 1        d'11
                                                                                                      exercise? _ _
     Vital s igns: I emp    +1>-=
                                8 P ~ < f Pul ..J.L1.                     Resp  J.kj_   \IV\{-/)-'('°
                                                                                                 · PEFR _ _ INR
     Labs: HglJA1 C _ _ MIVVl.__              04                           Total Chol ___ LDL _ _ HOL _ _ Trig _ _
     Range offtngerst ick glucose/B P monitorin g : __ _




        Addilional Comment ,


                                                                                                   Degree of Control•               Climcal Status•
                                                                                               G       F      p     NA                   s          w     NA
             -=-- --- --- - ~
       ~'--1:c                                                                                            •        0     •      D      .2'1         D     D
                                                                                              D           D        0     D      0       D           0     D
            3
            4
                                                                                              D           D        0     D      •       0           •     D
                                                                                              0           •        •     D      •       •           •     D
                                             •D       re • of Conl,·ot    G-Good          F-Fair          P.Poor          NA-Nol Applicable
                                             'f.ll11i nl S·talus          /-Improved      S-Same          W-Worse         NA-Not Applicable
    PLAN:
    Medication changes
                                                      h1 o. , 1J n
                                                      f .,~

     ~:::nos~t1/ _•___________
     Monitoring ·       BP ___ x day/week/mo11U,    Glucos .     day/week/ month   Peak flow          Otner:
      ·dl.1Cabon provided: ~ l i o n           ercise   O mok111g O Test results ~edic.;l tion management O Other. __ _
      Refen-al (lisl type)
                                                                       Speciali st
                               0   90   0   60    0    30   ,~B e,                 -~:~arge d from Chroni c Clinic (s;Je,.ify dinic)




        CR3G?4 (Rev 4 11)                                                  Duplic a te as Needed                                                     HDA 1101J




                                                                CCI 000233
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 33 of 200 PageID #: 1916
                TENNESSEE DE:PARTMENT OF CORRECTION                                                   Inmate Name:
                           CHRONIC DISEASE CLINIC
                              TREATMENT PLAN                                                            P(U7(U,r -                                        &,. . B6rPZ--
  LIST CHRONIC DISEASES
        1)    ~t'v            /?611Jbs                  3) - - -- - - - - - - - - 5) - - - - - - - - - -
        2) - - - - - - - - - - - - 4) - - - - - - - - - - - 6) - - - - - - - - -- -




  --------------
  SUBJECTIVE:
    Asthma: # attacks in last month? _ _
                                                                                                 - - - - '--=-·.-~,-
                                                                                                          .. .... . - - - - -
                                                                                                                       ~ '
                                                                                    Seizure disorder: # s,~ures slnce:J~~t yisit? _ _
                                                                                                                                           .              ,,


    # short acting beta agonist canisters in last month? _ _                                        ,, , # h~P,oglycem1c·~~0ps
                                                                                    Diabetes mellltt.m·                           .
                                                                                                                           \...-,. .
                                                                                                                                     since last visit? _ _
                                                                                                                                               ~


    # times awakening ,with asthma symptoms per week? _ _                           Weight loss;etl, · :·.l,....____ Ibs.                                          ~!!~_...: · •
                                                                                                       . ,.w                                                               ·,c-"'-4" \
    CV/hypertension (Y/N):        Chest pain? _ _          SOB?__                    Palpit~~@ris? _ _                                         Ankle edema? _ _,-_.::,:-.
    HIV/HCV (Y/N): Nausea/vomiting? _ _ Abdominal paln/swelliDQ~;•(,, ~\>:

    For all diseases, since last visit, describe new symptoms:
                                                                                                       ""·
                                                                                                                      Diarrh~aQ~ _ _ Rashes/lesio;r~ri\: :::_
                                                                                                             ..•-.. --~                   .-:~--~..                .                         .·
                                                                                                                 .. 41
                                                                                                                         . -.
                                                                                                                         ~   • ""     •




  OBJECTIVE:                                              ✓
   Patient adherence (YIN):
   Vltal sings: Temp.i'.t._
                                   with medications?__ • :with diet? _ _
                                   B P ~ Pulse           7t..- R~~•p:LL. Wt 110
                                                                                                                 with exer'c~ci,ill,$ft-,.~":=-.---- - -
                                                                                                                                  P~R •,:,> •.• -1NR _ _
                                                                                                                                                                                                   5' 7''
   Labs: Hgb A1 C _ _            HIV VL _ _           CD4 _ _       Toia.1Cti~f ·:
                                                                        ;,~ .
                                                                                                 :>, .I :",.· J.,DL _ _ 1~¥t ~
                                                                                                               w"·{      1
                                                                                                                             ~- :,.                   t
                                                                                                                                                                       Trig _ _
   Range of fingerstick glucose/BP monitoring: _ _                                               ~;             :'/ :,/•·:·... : •,f~-"        ~ ••
  PE:                                                                           '    ,.     ~·                                   • ,-K.,"'
                                                                                    ' ,-. '!.•                                        ;<
                                                                                      ·~extremities:


                                                                                          GUff:e9tal:
                                                                                          Other:

                                                                                                                 Degree of Control                                            Clinical Status
                                                                                                        G            F      P     NA                                   I                 s        w    NA
                                                                                                       •                       Kl •        •                           •     •       •            •.
                                                                                                       :•                      •                ,0.            •       • • • •
                                                                                                       D                       • ·Ir:] •                               • • • 0
        4                                                                                              tJ                      • {] •                                  • • • •
                                                                      4
  PLAN:
                                                                                                                               /(}"1 ,,,... f                      p
                                                                       ,       .,,/, /
  Medication changes:                                                  ~                   Zy ,1r:-t_
   Diagnostics: _ _ _ __._.......____,..___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  Labs:
  Monitoring:       BP _ _ x day/week/month              Glucose _ _ x day/week/month                                                     Peak flow          Other:
  Education provided:       \jl..Nutrltion   D Exercise      O Smoking                     O Test results                                 ~Medication management D Other: _ _

   Referral (list type):   _ _ _ _ _ _ _ __ __ _ _ __                                             Specialist: _ _ _ _ _ _ _ _ _ _ _ _ _ __

   # days to next vi~ D 90         0   60    D   30   00 Other:~                     Discharged from Chronic Clinic (specify clinic): _ _ _ _ __



             '7!,Ju4. •M/isj, .&;£;,                  s ;g,atu,e                                                                                                           Date

    CR3624 (Rev. 2-11)                                             Duplicate as Needed                                                                                                            RDA 1100




                                                                CCI 000234
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 34 of 200 PageID #: 1917
                                                                                                 I : •\       ·'I             , t   I. r.t' ;             ,t,      f.    • I   I    I   I •',:




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               Provider             ~:;;r:    :, 1..
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        Element


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                                                                CCI 000235
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 35 of 200 PageID #: 1918
                                           TEI\JNESSEE DEPARTMENT OF CORRECTION

                                                TEACHING/COUNSELING PLAN




                                                                                  DATES TAUGHT
   I                                       ELEMENT
                                                                                                        -
       Element:      l-4 \\J .I A--n ) s
       Provider Signature:   r~ILA <,~ D ~                                        l/~,1,,
       Patient Signature:    y ~ .,~ ·
                                -~ -
       Element:


    Provider Signature:
    Patient Signature:


    Element:


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   Provider Signature:
   Patient Sigr1ature:
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   Element:

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   Element.


   p rovider Signature:
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 Note: Each entry must be signed.




   CR-2742 (Rev_ 7-18)                                                                       RDA 1458




                                                                CCI 000236
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 36 of 200 PageID #: 1919
                                     TENNESSEE DEPARTMENT OF CORRECTION

                                            TEACHING/COUNSELING PLAN




 I                                   ELEMENT                                DATES TAUGHT
     Element:      tl~\J ./A-t u S
     Provider Signature:       ~)-e....j
                                                                       5b   d\11
     Patient Signature: ~ ~~            ~

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     Provider Signature
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  Provider Signature:
  Patient Signature:


Note: Each entry must be signed.




     CR-2742 (Rev. 7-18)                                                              RDA 1458




                                                                CCI 000237
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 37 of 200 PageID #: 1920
                                    TENNESSEE DEPARTMENT OF CORRECTION

                                               TEACHING/COUNSELING PLAN




  Pl eosa.nt · ~j, 'Ex:xiz_
                         atient's Name
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                                     ELEMENT                                          DATES TAUGHT




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                                                                             ,ldney Ballard, NP-C
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Note: Each entry must be signed.




  CR-2742 (Rev. 5-00)                                                                               RDA 1458




                                                                 CCI 000238
 Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 38 of 200 PageID #: 1921
                                        TENNESSEE DEPAR TMEN T OF CORR ECTIO N
                                                  MEDI.CAL TREA TMEN T PLAN


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                                    L ' 13c A    .•
                                                              'l-- ------L...'i....!:.__13=-1~/0,..,-----;-_ _
                                                                                    TDOC Number
                                                                                                            ---
                                                                                                                                       DOB


     ALLERGIES .(Meciications) _--.! ~:... .::...                   .!!::: ::~.l. __-- ------ ------ - - --
     (Dttler. e.g. Food, Pollen)

     DIAGN osES              Au~
                              ..
                                 1, e,                s;.u us        1   ..,-,.s
     TREATNIENT GOA.LS !Measurable Clini::31 Dutoomes)

                                              S ld ""' ~ ±-o w- ~ ,J :n4?l -,



     Frequer tcy of Clinic visfts _ _ _ _              J..4-r-..;,9:.c.O'-- - - - - - - - - - - - - - - - -_-_-_ -
     Frequen c;y of Specia l Monltorins <e.1,..        ;µ   weight blood-glucose)    _____________




     MallCA TION (S)           0 SeE MAR                                                            IL.i:::"f   ___,p_e...
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     i..ABOR ATORY 'TESTS J .DlAGNDSTICS {i'lcklde heQuency




     PA 1lENT EDUCA1100




     COMMENTS (e.g., 1..iw1s \llifQ. Conservator, Special Jnstruc::tioos J




    Donald Willie,. __ .:-~-... ~                                                                                                     '1-· 2'1_-ll
      h'ooc!Q1 Prac:tlbooorli Name (PRNTJ

          Dr. Larry Anthony                                                                                                       ~
                                                                                                                                        1   Cv l          \   )


                                                                                    .Medical PmClll.>oncrs Signa1t1re                        03\E:

                                                                                                                                               RDA 1100
     CR-3624                                             Dupficafeor Prinledb yTRICD R




                                                                CCI 000239
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 39 of 200 PageID #: 1922
                                                                                 <


                                                                                 HIV
                                                                                         Suo1ec;



                                           ELEMEI ✓,
                                                                                       DATES TAU·3HT




                       '   .
                               Transmissi on of the virus;
                               IV Drug Use
                               Homosexua l Activity
                               Tattooing with prison tattoo instruments
                               Unprotecte d Sex

                    2          Signs and Symptoms of Disease
                               Night Sweats
                               Unexplaine d weight loss
                               Swollen lymph glands for extended periods
                               Diarrhea and loss of appetite

                    3          Avoidance of HIV virus;
                               Avoid unprotected sex
                               Know you·r p-artnEfr
                               Don't share needles
                               HIV testing if indicated
                                                                                                       1

                   4           Continue to educate abou1 HIV transmissio n                             I
                   5           ln)orm inmate that if he becomes HIV positive                           i
                               Aids is the end results and curr·ently there is
                               Not a cure for this disease.
                                                                                                   lv~


·Jore!   Eac/, entr1· mus: /Je signr!d




                                                                             CCI 000240
             Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 40 of 200 PageID #: 1923
                                  TENNES SEE DEPART MENT OF CORREC TION
                                             HEAL TH SERVICE S
                                      MAJOR MEDIC AL CONDIT IONS
                                                 PROBLE M LIST

                                                 VJTS                 P
                                                     INSTITU TION



Name    'P i~-% ,8 ~                  I                                 Middle
                                                                                                                    l/ 7 3 JJ0
                                                                                                      Number: --'---- '------ '--=-- -----



Date of Birth :       0-) 0 -6_3                                                                                    F      Race :    E
                                                                                                                                     - ~ - - --
Allergies :   t:)\. L,,~
  PROBLEM              DATE IDENTIFIED/                               MAJOR MEDICAL CONDITI ONS/PRO BLEMS


      -
  NUMBER •               RECORDED

      J---              7..-V-(- 11
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                                                                                                  --s cp,...;
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                                                     -,.-   ""-   I         ;    '   J
                                                                       ,-                   ( ..J
                      -/-2 I ::;-·            L-6c_                     I   WILLIAM C: rnrnorn tvTIJ7                                        I
                                                                                DOCTOR                                  I !)/\ 1F:           I    i.11
                                                                                                       --




                                                                       are identifie d by Roman numeral s,
   • Major medical problem s consider ed medical or surgical in nature
   i.e. , I • Diabetes , II - Laminec tomy

   • Psychia tric or serious psycholo gical problem s are identifie d
                                                                      by capital letters, i.e., A -Schizop hrenia,
   B · Seff-Mu tifative Behavio r.
                                                                                                                                        RDA 1458
CR-1894 (Rev 02-02)




                                                                  CCI 000241
  Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 41 of 200 PageID #: 1924
                                                  :ENNESSEE DEPARTMENT OF CORRECTION

                                                 IMMUNIZATION /TB CONTROL RECORD - INMATE


                                                                        INSTITUTION

                                                                                             TDOC NUMBER          4'7~)/ o

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     ;'7 ,,,h-tJ h\.
                    DATE
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                                                 VACCINE

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                                                  TUBERCLOSIS SCREENING AND SURVEJLLANCE
                                                   INITIAL SCREE:NING: READ AFTER 48 - 72 HOURS

                     T ubercuiin Test                                     Reaction   in                                      Preventive Treatment     i
                                                  D2ie Read/ Initials                     I Chesi X-Ray Date / Results
             Date / Antigen/ Method I Initials                               MM                                               Staned / Co:-11pleted




                                            PERIODIC SCREENING : READ AFTER 46 - 72 HOURS IN MM




                              TUBERCULOSIS SURVEILLANCE: FILL IN IF POSITIVE PPD OR IF DISEASE OCCURS
I
                   8ac1eriologic Examination                          nia~1riosis                                   Treatrnen1                        I

                        Daie / Results                              Date/ Diagnosis                            Started/ Comple1ed                     I
I                                                                                                                                                     I
                                                                                                                                                      '
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                                                                              CCI 000242
              Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 42 of 200 PageID #: 1925
                                                TF:Nt,JES'.,EF DEPAR rlVIEN-1 Of CORRE\., ,OJ\J

                                       INMATE/EMPLOYEE TUBERCULOSIS SCREENING TOOL


                                                                        INSTITUTION
                                                       [J l::rnployee                      ~mate

                                P(&t Sqf}f- 7~
                               Inmate Name (Printe
                                                                                                        l/7.Inmate
                                                                                                               /10
                                                                                                                   Number


                              Employee Name (Printed)                                              Last four (4) digits of Employee SS#
     Tennessee Department of Correction (TDOC) Policy requires annual screening for tuberculosis. This tool is to be used annually
     and whenever tuberculosis is suspected.
         Have you experienced any of the following symptoms within the last year?
                                                                                                           YES                  NO
             1.      Prolonged cough (lasting 3 weeks or longer)                                       •                        B-
             2.      Productive cough (if yes, state color)                                            •                       -9-
             3.      Coughing up blood ·                                                               •                       .Ll.
             4.      Chest pain                                                                        •                       .D.
             5.      Get tired easily                                                                  •                        g.
             6       Weight loss (if yes, how many lbs _ _ , time period _ _ )                         •                       -B-
             7.      Loss of appetite                                                                  •                       --r:t
             8.      Night sweats                                                                      •                        IT
             9.      Fever or chills                                                                   •                        -r::r
        Are you immunocompromised? (Diabetes, End stage renal disease, cancer, HIV,
        prolonged corticosteroid therapy, gastric bypass or immunosuppressive arthritic
        therapy)       t                                                                               •                        Q..

        Were you given BCG at any time?
        Have you traveled to Asia , the Caribbean, South Ameri ca, or Africa within the last
                                                                                                       •                       -8-'.
        year? (employee only)                                                                          •                      tJ/lt
        Have you ever had a positive TB skin test or positive TB blood test?                           •                       -B-
                                                                                                       •
        Have you ever been told that you had tuberculosis?
        Do you Volunteer to a homeless shelter on a regular basis? (employee -only)
        Have you eve r taken medication for TB?
            List medications:
                                                                                                       •
                                                                                                       •
                                                                                        Treatment date(s):
                                                                                                                              ¾
        Most recent TST/IGRA Date:                                               Result:                           mm :
        Most recent Chest-X-ray Date:                                            Result:


        Current Test PPD (Brand):                                                Lot#:                        Exp Date:
        Date placed:             ::J?>    S C( e..u-1               Site:                            Nurse:
                                                                                      mm             Nurse:
        Date read:

        Date of IGRA
                                     on~                        Result

                                                                Result:                              Nurse:


                                                     Exposure Control Methods Implemented

           w
           •
                           No action required
                           Segregated from population
                           Surgica l mask on patient
                                                                            D
                                                                            D
                                                                            D
                                                                                   Physician/Mid-Level Referral ;
                                                                                   Immediate physician referral
                                                                                   Prepare for transfer to All facility
            •              Pl aced in All                                             •
                                                                                   Recommend Quanti-FERON Blood Test




                                           igna ture                                                               Date


         Reviewing Physician/Mid-Level Referral Signature                                                          Date

         C,roe~eatdu,,        R-~
                 Ith Care ProvTder Signature


     CR-3628 (Rev 04-16)                                           Duplicate as Needed                                           RDA 1458




                                                                CCI 000243
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 43 of 200 PageID #: 1926
                                                   TENNESSEE DEPARTMENT OF CORRECTION

                                        INMATE/ EMPLOYEE TUBERCULOSIS SCREENING TOOL


                                                           D   Employee               [}fnmate
                 14/52                 PLEASANT-BEY, BOAZ                                                4731 10
                               lnmn 1c Nmn · (Pri11tt•d)                                                   Inmate Number


                             Employee Name (Printed)                                             Last four (4) digits of Employee SS #

  Tennessee Department of Correction (TDOC) Policy requires annual screening for tuberculosis. This tool is to be used
  annually and whenever tuberculosis is suspected.

           Have you experienced any of the following symptoms within the last year?

                                                                                                                                   ~
                                                                                                              YES
           1.        Prolonged cough (lasting 3 weeks or longer)
                                                                                                              •                    gl
           2.        Productive cough (if yes, state color)
                                                                                                              •
           3.        Coughing up blood
                                                                                                              •                    ~
           4.        Chest pain
                                                                                                              •                    [yl
           5.        Get tired easily
                                                                                  __                          •                    ~
           6.        Weight loss (if yes, how many lbs ___, time period                  }
                                                                                                              •
                                                                                                              •                    ~
           7.        Loss of appetite
           8.        Night Sweats
                                                                                                              •                    [g
           9.        Fever or chills
                                                                                                              •
        Are you immunocompromised? (Diabetes, End stage renal disease, cancer,



                                                                                                                                  g~
        HIV, prolonged corticosteroid therapy, gastric bypass or immunosuppressive
        arthritic therapy)                                                                                   •
        Were you given BCG at any time?                                                                      •
        Have you traveled to Asia , the Caribbean , South America , or Africa within the
        last year? (employee only}
                                                                                                             •
        Have you ever had a positive TB skin test?
                                                                                                             •                    [21
        Have you ever been told th at you had tuberculosis?
                                                                                                             •                    ial'
        Do you Volunteer to a homeless shelter on a regular basis? (employee only)
                                                                                                             •
        Have you ever taken medication for TB?
                List medications:
                                                                                                             •
                                                                                           Treatment date(s} - - - - - - -~
        Most recent TST Date :                                                    Result: _ _ __ _ _ _ mm
        Most recent chest xray Date: _ _ _ _ _ _ _ _ _ __                         Result:
                                                                                             ----------
        Current Test: PPD (brand} ·                                           Lot#·
        Date placed :          U-
                              lj - /'/                          Site:      lf~
        Date read :       lo'+-fuw/)'-'LiYt-./7'------
                          ....
                            "I   7
                                                               Result:


                                                      Exposure Control Methods Implemented
       ✓ No action required                                                   D    Physician/mid-level referral
       D         Segregated from population                                   D    Immediate physician referral
       D         Surgical mask on patient                                     D    Prepare for transfer to All facility
       0         Placed in All                                                D    Recommend Quanti-FERON-G Blood Test

                      r •view required for all r osil i"c lindings:
                                              ~




                                                                                                                 Date




                                                                   Duplicate as Needed                                         RDA 1458




                                                                CCI 000244
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 44 of 200 PageID #: 1927
                                                                                                                                    V
                                            TENNESSEE DEPARTMENT OF CORRECTltJN

                                     INMATE/EMPLOYEE TUBERCULOSIS SCREENING TOOL

                                                            NECX INSTITUTION
                                                                                    D   Inmate

                                                                                                 413 I (0
                                                                                                     Inmate Number


                      Employee Name (Printed)                                           Last four (4) digits of Employee SS#
    Tennessee Depa,tment o( Correction (TOOC) Policy requires annual screening for tuberculosis. This tool is to be used annuaffy
    and whenever tuberculosis is suspected.
       Have you experienced any of the following symptoms within the last year?
                                                                                                    YES
           1.      Prolonged cough (lasting 3 weeks or longer)
                                                                                                    •
           2.      Productive cough (if yes, state color)
                                                                                                    •
           3.      Coughing up blood
                                                                                                    •
           4       Chest pain
                                                                                                    •
           5.      Get tired easily
                                                                                                    •
           6       Weight loss (if yes, how many l b s ~ time period _ _ )
                                                                                                    •
           7_      Loss of appetite
                                                                                                    •
           8.      Night sweats
                                                                                                    •
           9.      Fever or chills
       Are you immunocompromised? (Diabetes, End stage renal disease, cancer, HIV,
                                                                                                    •
       prolonged corticosteroid therapy, gastric bypass or immunosuppressive arthritic
       therapy)        ·                                                                            •
      Were you given BCG at any time?                                                    D
      Have you traveled to Asia, the Caribbean, South America, or Africa within the last D
      year? (employee only)
      Have you ever had a positive TB skin test or positive TB bloo.d test?              D
      Have you <wer been told lhat you had tuberculosis?                                 D
      Do you Volunteer to a homeless shelter on a regular basis? (employee only)         D
      Have you ever taken medication for TB?                                             D
          List medications: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Treatment date(s):
      Most recent TST/IGRA Date:                                        Result:                           mm:
      Most recent Chest-X-ray Date:                                       Result:


      Current Test PPD (Brapd).

      Date placed        lfJ,. . ."~{~(-_(~lQ~ - -- - - - Site·
      Date read:      /;-         L3 lb                 Result:        ts)mm
      Date of IGRA                                      Result:


                                               Exposure Control Methods Implemented

         ~           No action required
                     Segregated from population
                                                                      D
                                                                      D
                                                                             Physician/Mid-Level Referral;
                                                                             Immediate physician referral
          •          Surgical mask on patient                         D      Prepare for transfer to All facility
                                                                               •
          •          Placed in All                                           Recommend Quanti-FERON Blood Test



                                                                                                 todf-((e Date


                                                                                                          Date

                                                                                          _JI~Jl~~r _____ Date


   CR-3626 (Rev 04-16)                                    Duplicate as Needed                                          RDA 1456




                                                                CCI 000245
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 45 of 200 PageID #: 1928
                                                TENNESSEE DEPARTMENT OF CORRECTIOr-.

                                      INMATE , EMPLOY ~Ec\~ !.OSIS SCREENING TOOL
                                                                                                                                       J/   /¥1
           J?                   \                     0   Employee
                                                                   INSTITUTI ON

                                                                                            L/ 73 ///)
                  1t~$4 t\"t" -       ~,e.~
                             lnmale Name (P~e~
                                                     'i3ca -z..                   ~,tc
                                                                                                      Inmate Number

                           Employee Name (Printed)                                          Last four (4) digits of Employee SS #
 Tennessee Department of orrection (TDOC) Policy requires annual screening
                                                                           /or tuberculosis. This tool is to be used
 annually and wlte11ever lubercidosis is suspected.

          Have you experienced any of the following symptoms within the last
                                                                             year?
                                                                                                         YES                  NO
         1.
         2.
                   Prolonged cough (lasting 3 weeks or longer)
                   Productive cough (if yes, state color)                                                •                   w
         3.        Coughing up blood                                                                     •                    ~
         4.        Chest pain                                                                            •                   Q----
         5.        Get tired easily                                                                      •                   Q------
         6.       Weight loss (if yes, how many lbs _                           __                       •                   ~
         7.       Loss of appetite
                                                                  time period        )
                                                                                                         •                   ~
         8.       Night Sweats                                                                           •                   g-----
         9.       Fever or chills                                                                        •                   8'
                                                                                                         •                   ~
         Are YOLI imm unocomp romised? (Diabetes , End stage renal disease, cancer,
         HIV, prolonged corticosteroid therapy, gas1ric bypass or immunosuppressiv
         arthritic therapy)                                                         e
                                                                                                       •                     ~
        Were you given BCG at any time?
                                                                                                       •                     ~
        Have you traveled to Asia, the Caribbean, South America, or Africa within
        last year? (employee only)
                                                                                  the                  •
        Have you ever had a positive TB skin test?
                                                                                                       •                    ~
        Have you ever been told that you had tuberculosis?
        Do you Voluntee r to a homeless shelter on a regular basis? (employee                          •                    ~
                                                                              only)
                                                                                                       •                    lid/
        Have you ever taken medication for TB?
          List medicatio ns:
                                                                                                       •              ~
                                                                                        Treatmen t date(s)     - - - -- - ---l
        Most recent TST Date:                                                   Resu~ _ _ _ _ _ _ _ mm _ _ _ _ _~
        Most recent chest xray Date :_ _ __ _ _ __ _ _ _
                                                                                Result:
                                                                                         - -- -- -- - --
     CunentTest PP~bran d) , -----cD In!./ x)
     Date placed, LP ~                      Site,
     Date read:                 4       '1fl(
                                           Result:


                                                Exposure Control Methods Impleme nted

    M
    •
              No action required
              Segregat ed from population
              Surgical mask on patient
                                                                        •
                                                                        •
                                                                                Physician/mid-level referral
                                                                                Immediate physician referral

    •         Placed in All                                             •       Prepare for transfer to All facility
                                                                        •       Recommend Quanti-FE RON-G Blood Test




                                                                                                I       I
                                                            Duplicate as Needed                                        RDA 1458




                                                                CCI 000246
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 46 of 200 PageID #: 1929
                                                                             CORR:CTION
                                                  TENNESSEE DEP ART MEN T OF
                                                               ULOSIS SClEENING TOO L
                                     INM ATE / EMPLOYEE TUBERC
                                                            ~J £ c__X   INST ITUTION
                                                          D    Emp loye e              ~nn ute
                                                                                                       47 31 (0
               fJ. \ecrso. o:\- -'6e~, 6 oo.,:z. .
                           Inmate Name riuted)
                                                                                                              e Number
                                                                                                               Inmat


                                                                                                     Last four (4) digits of Employee Si.#
                            Employee Name (Pritlted)
                                                                          ning/or tube                    rculosis. This tool is tehe wed
                                      {TDOC) Policy requires annual scree
  Tennessee Department of Correction              d
                                     is susp ecte
  annually and whenever tuberculosis
                                                  wing sym ptom s with                     in 11.e last year ?
         Hav e you exp erie nced any of the follo                                                                  YES

                   Prol onge d coug h (lasting 3 weeks
                                                                or longer)                                         •
         I.
                   Prod uctiv e coug h (if yes, state colo
                                                           r)                                                      •
         2.
                                                                                                                   •
         3.        Cou ghin g up bloo d
                                                                                                                   •
         4.        Ches t pain
                                                                                                                   •
         5.        Get tired easil y
                   Weig ht loss (if yes, how man y lbs
                                                       __, time peri od _ _)                                       •
         6.
                                                                                                                   •
         7.        Loss of appe tite
                                                                                                                   •
          8.
          9.
                   Nigh t Swe ats
                   Feve r or chill s
                                                                                                                   •
                                                     etes, End stage renal discnse, cancer 1-Il''\
         Are you immunoc omp romi sed? {Diab                                                tic
                                                    i bypass or immu nosu ppre sive arthri
         prolonged corti coste roid thera py, gastr
                                                     c
                                                                         ·                                         •
         thera py)
                e you ever had a posit ive TB skin test?
                                                                                                                   •
         Hav
         Hav e you ever been to!~ that you had
                                               tube rculo sis?                                                     •
         Have you ever taken medi catio n for
                                              TB?                                                                  •
                                                                                                     Trea tmen t date(s) _ _ _ _ _ _
                                                                                                                                     _
           List medi catio ns:                                                                                           mm --- --- 1
         Mos t recen t TST Date :
                                                                                       Result:
                                                                                                 -- -- -- -
         Mos t recen t ches t xray Date :
                                               -- -- -- -- -- --
                                                                                       Result:
                                                                                                 -- -- -- -- -
                                                                                             CJf Qt~ lt
         Curr ent Test: PPD (b~r nd) :                                                                  Nurs e:.:_:,.c;.-12.~ :&: Ll~ [!_- ~---l
         Date place d: · __,,V::.. i~f-l<-.,_.l. ._tf -1-~
                                                           ;-... ---                                   Nurs e: .,Z~ -/&.~ ;::G ~~q: f,_if '-2~
                                                                                                                                               ~
         Date  read:                         - Gfi,/!Y                                  _ m_
                                                                             _ _ _ _ _ _m


                                                                                         nted
                                                         Exposure Control Methods Implenu


        ~•
                                                                                  D     Phys iciavmid- lovcl refer ra l
                 No actio n requ ired
                                                                                  D     Jrnm edi:te phys ician refer ral
                 Segr egat ed from popu latio n                                   D     Prep are ilr trans fer to All facility
                 Surg ical mask on patie nt
         •       Plac ed in AIi
                                                    ive findi ngs:
         Phys ician revie w requ ired for all posit




                                                                                                                                         RDl1145l!
                                                                        Dupl icate as Needed
               CR-3628 (Rev . 06-12)


                                                                CCI 000247
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 47 of 200 PageID #: 1930
                                        TENNE SSEE DEPARTMENT OF CORR ECTIO N
                                                                       TOOL
                              INMA TE/ EMPLOYEE TUBERCULOSIS SCREENING
                                          WHITEVILLE CORR ECTIO NAL
                                                               INSTITUTION
                                                                             121 Inmate
                                                                                           {?3(/0    Inmate Number


                                                                                          Last four (4) digits of Employee SS #
                       Employee Name (Printed)
                                                           s annual screening for tuberculosis. This tool is to be used
  Tennessee Department of Correction (TDOC) Policy require
  annually and whenever tuberculosis is suspected.
                                                          within the last year?
       Have you experienced any of the following symptoms                       YES
        1.      Prolong~d cough (lasting 3 weeks or longer)                                          •
        2.      Productive cough (if yes, state color)                                               •• -,
        3.      Coughing up blood
        4.      Chest pain                                                                            •
        5.      Get tired easily ·                                                                    •
        6.      Weight loss (if yes, how many lbs~ --...J time period _
                                                                        _ _ _~                        •• .
        7.      Loss of appetite ·
        8.      Night Sweats                                                                           ••.
        9.      Fever or chills

        Have you ever had a positive TB skin test?                                                    •
        Have you ever been told that you had tuberculosis?        "                                   •
        Have you ever taken medication for TB?                                                         •
                                                                                          Treatment date(s) - -         - - - --1
         List medications~ ----- --,'-' ---t- --\~.......,.-- 1--- --
                              1
                                  .

                                                                Result: _ _ _ _ _ _ _ mm ---- --1
        Most recent TST Date:                                   Result: _ _ _ _ _ _ _ _ _ _
        Most recent chest xray Date:·---- ---' (',~ --"T -

                                                                         Lot#:-                         Exp date:    - - - - ---1
         Current Test: PPD (brand) :
                                  --- ---      ---
         Date placed:                 - Site:
                          --- --- --- Res uIt:
                                                                                              Nurse:
                                                                                                      ---  --- -------1
         Date read:
                                                                                     mm     Nurse:    --- --- --- --- 1

                                                 Exposure Control Methods Implemented
        0     No action required                                         0    Physician/mid-level referral
        0     Segregated from population                                 0    Immediate physician referral
        0     Surgical mask on patient                                   0    Prepare for transfer to All facility
        0     Placed in All

        Physician review required for all positive findings:




                                                                                                             Dn1e




                                                                                                                           RDA 1458
             CR-3628 (Rev. 6-08)                               Duplicate as Needed


                                                                CCI 000248
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 48 of 200 PageID #: 1931
                                              TENNESSEE DEPARTMENT OF CORRECTION

                                    INMATE/ EMPLOYEE ltCC..ULOSIS SCREENING TOOL

                                                                IN Tl     N


         '.2\eum-J-                           ~1,,..                          o(1,m...      Y'l3 I I 0               - be~r- - - - -
                                                                                                       nm""'a-te~N-u~m
                                                                                  _ _ __ _._........,l...
                              ! n m ~ (Printed)


                             Employee Name (Printed)                                      Last four (4) digits ofEmployee SS # I

        Tennessee Department of Correction (TDOC) Policy requires annual screening for tuberculosis. This tool is to be used
        annually and whenever tuberculosis is suspected.

           Have you experienced any of the following symptoms within the last year?
                                                                                                        YES
            1.       Prolonged coug'1 (lasting 3 weeks or longer)                                       •
            2.       Productive cough (if yes, state color)                                             •
            3:.
            4.
                     CoqgHi11g ,uit.fifo.od
                     Chest pain
                                                                                                        ••
            :s.      Get ,tired easily                                                                  •
            6.       Weight loss (if yes, how many lbs _ _ __, time period _ _ __                       •D
            7.       Loss of appetite
            8.       Night Sweats                                                                       •
            9.       Fever or Ghills                                                                     •
            Have y.ou ever ha<l a positive TB skin test?                                                •
            Have you ever been told that you had tuberculosis?                                          •
            :Have you ever taken medication for TB?                                                     •
                  List mcdicati.ons:                                                     Treatment date(s)
             Most recent TST Date:                                Result:                                        mm - - - - - i
             Most recent chest x-ray Date:_ _ _ _ _ _ _ _ _ _ _ _ Result:

             Current Test: PPD (brand) :
             Date placed:      ~         .,cD-~
                                         Site:
             Dale read:      C ,0~);:j? &esutt:

                                                   Exposure Control Methods Implemented
            •      No action required                                  0 Physician/mid-level referral
            •      Segregated from population.                         0 Immediate physician referral
                                                                       0 Prepare for transfer to All facility
            •      Surgical mask on patient
            •      Placed in All




                    CR-3628 (Rev. 3-08)                          Duplicate as Needed                                          RDA




                                                                CCI 000249
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                                                   TENNESSEE DEPART MENT OF CORRECTION

                                       INMATE / EMPLOYEE TUBERCULOSIS SCREENING TOOL
                                                              f/cC F
                                                                      INSTITUTION
                                                          0   Employee

                                Inmate Name (Prlnr/d)
                                                                                                          Date ofBirth
                           -I- 7-s / I()                                                           .~T() -     i,:   b
                               Inmate Number (Printed)
                                                                                                          Housing Unit
Tennessee Department of Correction ([DOC) Policy requires annual screening/or
                                                                              tuberculosis. This tool is to be used
annually and whenever tuberculosis is suspecJed.

       Have you experienced any of the following symptoms within the last year?
                                                                                                           YES
      "t fi.';· ~~gged ~ufi,b,.(l~ting 3 weeks o.r /o1Jger)
      2.             Productive cough (if yes, state color)                                                •[]
    :~' ":-t·· Cb'@Wnt uibioo(i
                 7


      4.         Chest pain                                                                                •
      i : ::1 · ,Q~;) ·4,&,sUy -··                                                                         •
         6.        Weight loss (ifyes, how many lbs~- -• time period ~ - - - - -                           •
             \t, ":J:9,1is"'
   ·.t'·tr:-;:.i            & .\f"',J:" .te
                      r-.. ·~ farine'fu
                                                                                                           •
      8.
            .t       - ,


                 Night Sweats                                                                              •
                                                                                                           •
                                                                                                           •
                                                                                                           •
                                                                                                           •
                                                                                                           •
                                                                                                           •
                                                                                          Treatment date(s~- ---,...---r-=c -:-:--
                                                                                 Result: _ _ _ _ _ _ _ l11-Ql. --'~'-'----
                                                                                 Result: - - - - ~ - - - - - : - -




                                                   Exposure Control Methods Implemented
  D        No action required                                          D Physician/mid-level referral
  D        Segregated from population                                  0 Immediate physician referral
  D        Surgical mask on patient                                    D Prepare for transfer to AU facility
  0        Placed in All

  Physician review required for all positive findings:




                                                                                                111/4 -1/11
                                                                                                            Date


                 ~v= ;
                 3h~ L · l3 !&~ ✓
                                    Physician Signature                                                     Date


                            Health Provider Signature
                                                                                                            Date

      CR-3628 (Rev. 6-08)                                        Duplicate as Needed

                                                                CCI 000250
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                                                TENNESSEE DEPARTMENT OF CORR~CTION

                                      INMATE I EMPLOY~E TUl}{:RC~LOS~ SCREENING TOOL
                                           ~ VJ,,'kj iNSTITUTION
                                                      U1uh~ ~~
                                                         0    Employee                   ~   Inmate
                                                                                                      413({0
                                                                                                                 Inmate Number


                             Employee Name (Printed)                                                  Last four (4) digits ofEmployee &S # /

         Tennessee Department of Correction (TDOC) Policy requires annual screening for tuberculosis. This tool is to be used
         annually and whenever tuberculosis is suspected.

               Have you experienced any of the following symptoms within the last year?
                                                                                                                   YES
            l.       Prnilong:ed.co'ugh(,/asting 3 weeks or longer)
                                                                                                                   •
            2.       Productive cough (if yes, state color)
                                                                                                                   •
            3.       Coughi1ng ;U;p0b'lood
                                                                                                                   •
            4.       Chest pain
                                                                                                                   •
            5.       Get tired easily
                                                                                                                   •
            6.       Weight loss (if yes, how many lbs _ _ _~ time pe· iod _ _ _ _ )
                                                                                                                   •
            7.       Loss of appetite
                                                                                                                   •
            8.       Night Sweats
                                                                                                                   •
            9.       Fe¥er or chH;(:s
                                                                                                                   •
            Have you ever had a positive TB skin test?
                                                                                                                   •
            l·I'ave you ever been told that you had tuberculosis?                                                  •
            H:ave you ever,taken·meclkation for TB?
                                                                                                                   •
                 List medications :                                                               Treatment date(s)
            Most recent TST Date:                                                   Result:                                 mm _ _ _ _--1
            Most recent chest xray Date:_ _ _ _ _ _ _ _ __                          Result:

            Current Test: PPD (brand):              '1t,J:+,,.lr<...             Lot#:   e,'""'~~3~7?~--
            Date placed:     ~ •'Lt, /          /                Site:          Lffl-
            Date read~      4, ~ 24', //                       Res,1,1<ft: __   .:iJ>?:      mm



                                                    Exposure Control M~thods lmplemcntccl
           •      No action required        .                           D Physician/mid-level referral
           •      Segregated from population'                           0 Immediate physician referral
           •      Surgical mask on patient                              D Prepare for transfer to All facility
           •      Placed in AIi


                    •view required for all positive findings:

                                                             --
                                                                                                                     Date


                                                                                                                     Date



                 CR-3628 (Rev. 3-08)                                   Duplicate as Needed                                             RDA




                                                                CCI 000251
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  +




                                                 ) ENNESSEE DEPARTMENT OF CORRECTIO
                                                                                   N
                                    INMATE/ EMPLOYEE TUBE8CUl.OS1$_SCRE
                                                                       ENING TOOL
                                                  CC.A • HARDEMAN CPONrt
                                                                         INSTITUTION
                                             ,         0       Employee
          W-x:, P kd : ~
                       4f;t  Inmate Name (PrlnJ
                                                               1
                                                                                               Inmate
                                                                                                          -f7 3J /D
                                                                                                                   Inmate Number

                            Employee Name (Pritited)
                                                                                                        Last four (4) digits of Employee SS # /
                                                                                                                 INMATE TOMIS ID
      Tennessee Department of Correction ([DOC) Policy
      used annually and whenever tuberculosis is suspe
                                                       requires annual Jrreening.for Tuberculosis.                             This tool is to be
                                                      cted.                               !
                                                                                          I
           Have you experienced any of the following
                                                     sym ptom s witj                          in the last year?
                                         .                 I                                                         YES
           l.       Prolonged cough (Lasti11g J weeks or longer)
          2.
          3.
                    Productive cough (if yes, state color)
                   Coughing up blood
                                                                        I\
                                                                                                                    •
                                                                                                                     0
                                                                                                                     0
                                                                                                                     ·
                                                                                                                                                    .,
       _A._                   - -~-..-
          5.       Gets ~ easily                                                                                    =
          6.       Weight loss (ifyes, how many lbs._ ___, time                                                     •
          7.       Loss of appetite
                                                                 period _ _ __,
                                                                                                                    •
          8.       Night Sweats                                                                                     •
          9.       Fever or chills                                                                                  •
       Have you ever had a positive TB skin test? ;
                                                                                                                    •
       Have you ever been told that you had tuberculosis                                                            •                      (g
                                                        ?
                                                                                                                    •                     •
          List medications:
                                                                                                                    •                     •
      Most recent TST Date:
      Most recent chest xray Date: ---- ---b -r-- .-,..
                                                                     .-+- =---
      Current Test: PPD (~rand): _ _ _ _ _ _ _ _ Lot#:
      Date placed:    _ _ _ _ _ _ _ _I Site:                                                                      Ex date:
      Date read:     _________
                                       Result:                                                          Nurse~=- - - - - - - - - - 1
                       1                                              _ _ _ _.,..,...__
                                                                                      m_             Nurse:   -- -- -- -- -- t

      0        No action required
                                                                                     ys1c               referral
      0        Segregated from population                                                                .~-::---:------=~
                                                                                  Immediate physician referral
      D        Stlfgical mask on patient
                                                                                  Prepare for transfer to All facility
      0        Placed in AI~




                                                                                                 0




           CR-3628 (Rev. 10-07)
                                                                   Duplicate as Need ei
                                                                                                                                      RDA




                                                                CCI 000252
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                                                  TENNESSEE DEPARTMENT OF CORRECTION

                                                                                     SCREENING TOOL




                                                                                            lit2:1 /0
                                                                                              · '       Inmate Number


                           Employee Name (Printed)                                        Last four (4) digits of Employee SS # /

   Tennessee Deparlmenl of Correction (TDOC) Policy requires annual screening/or tuberculosis. This loo! is lo be used
   annually and whenever tuberculosis is suspected.

        Have you experienced any of the following symptoms within the last year?
                                                                                                         YES
         I.       Prolonged cough (lasting 3 weeks or longer)
                                                                                                           •
        2.        Productive cough (if yes, state color)                                                   •
        3.        Coughing up blood
                                                                                                           •
        4.
        5.
                  Chest pain
                  Get tired easily
                                                                                                         •'.•
        6.        Weight loss (ifyes, how many lbs ____ , time period _ _ __
                                                                                                          •
        7.        Loss of appetite
                                                                                                          •
        8.        Night Sweats
                                                                                                          •
        9.        Fever or chills
                                                                                                          •
        Have you ever had a positive TB skin test?
                                                                                                         •
        Have you ever been told that you had tuberculosis?
                                                                                                         •
        Have you ever taken medication for TB?
                                                                                                         •
              List medications:                                                         Treatment date(s)
     Most recent TST Date:                               Result:                                                    mm - - - - - - - <
     Most recent chest xray Date:_ _ _ _ _ _ _ _ _ _ _ _ Result:


     Current Test: PPD \brand) :
     Date placed:        t--
                         \€ \             \ \..
     Date read:               :Z,   \2 (,[11

                                                  Exposure Control Methods Implemented
    n/No ac tion required                                             D Physician/mid-level referral
   d          Segregated from population                               D     Immediate physician referral
    D         Surgical mask on patient                                 D     Prepare for transfer to All facility
    0         Placed in All




                                                                                                           Date

                                                                                         z.,,/itflr/'       DfltC



              CR-3628 (Rev 3-08)                               Duplicate as Needed                                           RDA




                                                                CCI 000253
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                                              TENNESSEE DEPARTMENT OF CORRECTION
                                                    HEAL TH CLASSIFICATION SUMMARY




   Name :   pi/ fASOJJt • ~ J Boaz..                           TOMIS# :       Lh'31 ID                         Date of Birth :

   Physical Exam Date:
                                        lo·     2    11                               Dental Exam Date:

   Allergies:                N~R-
   Health Classification (Code):       --~f\_________ ~                         Code         Desccinlion
                                                                              ..........A~--C=la_s~s_,_A_~ Restrictions
                                                                                  B          Class B - Moderate Restrictions
                                                                                  C          Class C - Severe Restrictions


  Level of Care (LOC) : --=--=----=--- -                                       LOC 1         No     Lal Health Services
     Based on health record information provided by Mental
                                                                               LOC 2         Outpatient
                    Health Treatment Team
                                                                                             Supportive Living Services (SLU) Moderate
                                                                               LOC 3
                                                                                             Impairment

                                                                                             Supportive Living Services (SLU) Severe
                                                                               LOC 4
                                                                                             Impairment

                                                                               LOC 5         None


      C!inica! Alert :                            Date;                          Note: _ _ _ _ _ _ _ __ _ _ _ __ _ __
                                                          - - -- - -


 Health Related Restrictions (Codes) :_ _ _ _ __
 (Circle all applicable codes)
     Code         Health Conditions                                           Code             Health Conditions
       A                                                                         p             Neurological Disease/Disorder
                  Visual Impairment
                                                                                                    D     Dementia
       B         Hearing ln:ipairment                                            Q            Arthritis
       C         Speech Impairment                                               R            Obesity (BMI >40)
       D         Orthopedic Disease/Disorder                                     s            Aging (>60)
                         0   Documented Hx of Back Problems                      T            Dermatological Disease/Disorder
    E Amputation/Missing Extremity
                     st
                                                                                 u            Prosthetic Device Associated with Disability
                           nd    rd
    F Pregnancy O 1 D 2 O 3 (Trimesler)                                          V            (Specify)
   ~ S3ncer                         < .... _ ,,.._,. " _ _ I
   ~ ~a/Hay Fever
    I Allergie s
                                              rt:=:::,
                                     ~Yy...........t                             w            Permanently confined to a Wheelchair/Mobility
                                                                                 X            Sleep Apnea
          a) Drug _ _ b) Other _ _                                               y            G. U. Disease
   J  Diabetes     D BS >300                                                     z            Surgery within last 6 months (abdominal,
   K  Seizure Disorder                                                                        chest, back, or upper extremity)
   L  Cardiovascular Disease/Disorder                                           AA            Other_ _ _ __ _ _ _ _ __ _
   M  Hypertension
   N  Pulmonary Disease/Disorder                                                BB            Acute Injury/Serious Medical Condition : Specify




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                                                          Original: Inmate's Health Record




                                                                     CCI 000254
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                                           TENNESSEE DEPARTMENT OF CORRECTION
                                                HEALTH CLASSIFICATION SUMMARY



 Name:                                                       TOMIS#:                                      Date of Birth:


 Specific Restrictions (Codes) :                                              Specific Accommodations (Codes) :
                                                                                                                    - - -- - -- - --
 (Circle a!I applicable codes)                                                (Circle all applicable codes)

 Code        Restrictions                                                            Code       Accommodations

   A         Complete bed rest or limited activity(C)                                  A      Prosthetic Limbs
   B         Sedentary work only-lifting 1O lbs.                                       B      Altered Accommodation (furniture ell, etc.)
             maximum, occasional walking or standing (C)
                                                                                                                             1
                                                                                       C      Air way assists (Oxygen, CPAP 18iPAP, etc.)
  C          No heavy lifting-20lbs. maximum, able to                                  D      Sleeping Accommodation (pil   6w,
                                                                                                                              blanket,
             frequently lift or carry objects up to 10 lbs                                    mattress, etc)
  D          Light work only-lifting 50 lbs. maximum,      le to                       E      Ostomy Supplies
             frequently lift or carry objects weighm up to 20 lbs.(B)                  F      Catheter Supplies
  E          Medium work only-lifting 100 lbs m imum, able                             G      Assist Devices (ca
             to frequently lift or carry objects w 1ghing up to 5 0 lbs.(B)                   wheel chair)
  F          Limited strenuous activity for ex) nded                                   H      Inmate helper
             periods of time:> 1hr (B); 1hr .C); <1 hr (C)
             Note:                                                                            orbus
  G          Continuous standing or       !king for extended                            J     Wl1ee   hair, bus or van required for transport
             periods of time:>1 hr ( ~: 1hr (C): <1 hr (C)                             K      No -emergency ambulance required for
             Note:                                                                             ansport
  H          Repetitive stoopin or bending (B)                                         L
   I         Acute need to b housed on first floor/bottom bunk(B)                      M      Bottom bunk in housing assignment
  j                                                                                           Special footwear required
                                                                                       N
  K          Exposure l laud noises or work detail with prolonged
             exposure )
  L          Avoid ar. as or work detai Is with exposure to skin                     Notes·
             irritan (8)
  M          Pary ipation in weight lifting or strenuous athletics(B)
  N          A t1'vity involving potentially dangerous machinery
              r equipment
  0          Operation of motor vehicles (B)
  p          Activity involving food preparation/handling (B)
  Q          Prolonged exposure to sun or high temperatures (B)
  R          Outside work detail during Spring or Summer (B)
             Exposure to chemicals producing fumes or
            equipment producing dust (B)




Medical Practitioner Signature                                                                        Date

                                                                              REVIEWED


Medical Practitioner Signature                                                                        Date



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                                                       Original: Inmate's Heal\h Record




                                                                      CCI 000255
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                                                                     N
                                 TENN ESSE E DEPARTMENT OF CORRECTIO
                                             HEAL TH SERV ICES
                                       HEAL TH CLASSIFICATION SUMMARY




NameY tAAaMJ-~f r) a~
Physical Exam Date :      =
Allergies: - - - - - - - - - - - - -
                                     ---
                                        I/
                                                   Number:      J.../ 7 1 / / 0            Date of Birth:

                                                                  Dental Exam Date: _ _ _ _ _ _ _ _ _


                                                        ----------------
                                                                                                      _ __
                                                                                                            '2- f S>--J,, 5
                                                                                                               ------

                                                                       Code         Description
                                              - - - -- -                A           Class A - No Restrictions
  Health Classification (Code): - -'-" ~--
                                                                        B           Class B - Moderate Restrictions
                                                                        C           Class C - Severe Restrictions
                                        _:Z.~--- - - -                              Grade 1 - Minor Attention Required
  Treatment Recommendation (Code) :
                                                                        2           Grade 2 - Periodic Attention Required
                                                                                    Grade 3 - Close Medical Supervision
                                                                        3           Required
                                                 - -- -     -           1           Inpatient
  Mental Health Treatment history (Code) : -~ -
                                                                        2           Outpatient
                                                 Mental
  Based on health record information provided by                        3           Inpatient/Outpatient
  Health Treat ment Team
                                                                        4           No known history
                                                                         5          None


   Health Related Restrictions (Codes): _ _  f~.. , ,.~- ---
   (List all applicable, circle codes)
                                                                              Health Related Restrictions
 Code    Health Related Restrictions
                                                                   p          Neurological Disease/Disorder
   A     Visual Impairment
                                                                   Q          Arthritis
   B     Hearing Impairment
                                                                   R          Obesity
   C     Speech Impairment
   D     Orthopedic Disease/Disorder
                                                                   s          Aging
                                                                   T          Dermatological Disease/Disorder
   E     Amputation/Missing Extremity
                                                                   u          Prosthetic Device Associated with Disability:
   F     Pregnancy                                                            (Specify) _ _ _ _ _ _ _ _ _ _ _ __
   G     Cancer
         Asthma/Hay Fever
                                                                    V         Confined to a Wheelchair/Mobility
         Allergies
         a) Drug _ _ b) Other ~u ,b; ·,l.S .
                                                                    w         Mental Retardation
                                                                    X         Mental Illness
    J    Diabetes
                                                                    y         G.U. Disease
    K    Seizure Disorder                                                     Other : _ _ _ _ _ _ _ _ _ _ _ _ __
         Cardiovascular Disease/Disorder
                                                                    z
    L
    M    Hypertension
    N    Pulmonary Disease/Disorder
    0    Gastrointestinal Disease/Disorder




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                                               Original : Inmate 's Health Record

                                                                  CCI 000256
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                                         TENNESSEE DEPARTMENT OF CORRECTION
                                                   HEALTH SERVICES




NamY ~ -&~} ;;;,CL:~::~CA~:;~~ARY                                                              DateofBirth     ~--JJ-?3
  Specific Restrictions (Codes) :
  (List all applicable, circle codes)
                                     -~v~------
Code     Restrictions/Abil ities                                                            Com ments

  A     Complete bed rest or limited activity
  B     Sedentary work only-lifting 10 lbs.
        maximum, occasional walking or standing
  C     No heavy lifting-20 lbs.
        maximum, able to frequently lift or carry
        objects weighing up to 10 lbs.
  D     Light work only-lifting 50 lbs. maximum,
        able to frequently lift or carry objects weighing
        up to 20 lbs.
  E     Medium work only-lifting 100 lbs.
        maximum, able to frequently lift or carry
        objects weighing up to 50 lbs.
  F     No continuous strenuous activity for extended
        periods of time: (Specify) _ _ _ _ _ _ __

 G      No continuous standing or walking for extended
        periods of time: (Specify) _ _ _ _ _ _ __

 H      No stooping or bending
        Housed on first floor/bottom bunk, no climbing
        and balancing (uneven ground)
 J      No exposure to loud noises
 K      No exposure dusty areas
 L      No participation in weight lifting or strenuous athletics
 M      No activity involving potentially dangerous machinery
        or equipment
 N      No activity involving food preparation/handling
 0      Sp~            twear required

           ~           ~ Medical Practitioner Signature
                                                                                         ,Z.-.'t~-,,
                                                                                                        Date

                                                    REVIEW DOCUMENTATION

                                                                                                        Date




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                                                                 CCI 000257
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                                                   TENNESSEE DEPARTMENT OF CORRECTION
                                                            REPORT OF PHYSICAL EXAMINATION



          INSTITUTION:



       NAME           ]?1 ~an±•~                   I   'k                    TOMIS#:              413 \ \ D                 DATE OF EXAM      ~-13-rJ
       Blood Pressure (sitting): ir:::rJor
                                  --/. () ~ Height:        5' 1''      Weight:       /q F         Temp:     97 .(         Pulse:   64         Resp:


                                                                    CLINICAL EVALUATION
                                                                                                                                                          ~N"IZ,-
                                                                                                                                                           I        97/
                                                                                                        NOTES : Describe every abnormality in detail. Enter
      NORMAL               (Check each item in appropriate column; enter                                        pertinent item number before each
                                      "NE" if not evaluated.)                      ABNORMAL
                                                                                                                comment. Use progress notes for additional
                                                                                                                information .
                          1    GENERAL: Appearance, Nails, Skin, and
                                  Identifying Marks, Tattoos, etc.
                          2. EYES:
                                                                                                       Wr e.~ ~ : 1cf f~lUU..:A
                                        General, Ophthalmoscopic;
      ~                                 Pupils, and Ocular Motility
                      -
                          3. HEAD AND NECK
                                                                                                       0~ pL G~1.-0,cL
  ~




       -------
        _/             4       EARS:    External and Otoscopic

                                                                                                       ptvtL (Y'Oi<A-
 --- -------
                       5. MOUTH AND THROAT

                      6. NOSE AND SINUSES
                                                                                                                   1

          -----
             ~        7 . LUNG AND CHEST                                                              ja;n'\ f?:>L.,
 ·- ~                 8       CARDIOVASCULAR:          Heari and Vascular
                                                       System
                                                                                                        \2-,U     s@)

-----·
 lwv-1~ ,J..0.
   ,:,n,,
                  -
                      9. ABDOMEN:           Inspection, Auscultation and
                                            Palpation
                         RECTUM AND ANUS: Hemorrhoids,
                              Fistulae and Prostate , if indicated .
                                                                                                      s. '\-l--
                                                                                                        "?.:.S ~4
                                                                                                                  I,
                                                                                                                       ~V\_~le:__)




-~ -  0               11.G.U. SYSTEM        a . Genitalia
                                            b Hernia
      '<\.   l~       12 PELVIC

                      13. ENDOCRINE                                                                    8+-h\\VDlcl
                      14 . MUSCULOSKELETAL SYSTEM Spine ,
                              Upper Extremities and Lower Extremities
                      15 NEUROLOGICAL:       Cranial Nerves
                            Motor Functions, Cerebella aqd~(trrR\.
                                                                                                         ft4o>< 3, Pe.,turz.,,c()-
                                                                   -
                      16 PSYCHIATRIC                                                     ,,,,            U)C, I
 Summary of Defects/Conditions and Diagnosis continued on back.                    .EJ
 Is there an Advance Directive, DNR order or Living Will on file?            D Yes              o,4
                                                                                                                                                 ~
 ,If not, was inmate counseled regarding Advance Direct rves?
HEALTH cL.Ass1F1CATION BASED ON PHYSICAL EXAM11\"/(r10N:
                                                                        9,-'l'es
                                                                                   A     D No         Advance Care Plan (PH-4194) Provided?               •    No




                                                                                                                        MEDICAL PROVIDER


                                                                        Duplicate as Needed

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                                                                          CCI 000258
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                    TENNESSEE DEPARTMENT OF CORRECTION
                         REPORT OF PHYSICAL EXAMINATION


                     Summary of Defects/Conditions and Diagnosis




                                  Duplicate as Needed

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                                                   TENNESSEE DEPARTMENT OF CORRECTION,
                                                        REPORT OF PHYSICAL EXAMINATION


                       Pl 0(15/ i rrl---- fi il INSTl~            N:
                                                                              t0 6CX
           NAME                                          -. VJA.-
                                                              1
                                                                                  t+1d/O
                                                                             NUMBER                       DATE OF EXAM     WlTS(l4
                                                   lV                  ( )
                                                                       CLINICAL EVALUATION
                                                                                          NOTES : Describe every abnormality in detail. Enter
                        (Check each item in appropriate column; enter                             pertinent item number before each
        NORMAL                                                                 ABNORMAL           comment. Use progress notes for additional
                        "NE" if not evaluated.)
                                                                                                  information.
' i'-...J               '.1 . GENERAL: Appearance, Nails, and
                                 ldentifvin~ Marks, Tattoos, etc.

~· ~                      2. EYES :   General, Opthalmoscopic; Pupils,
                                      and Ocular Motility
, ,._                   3. HEAD AND NECK
              '         4. EARS :     External and Otoscopic

--~                     5. MOUTH AND THROAT

                        6. NOSE AND SINUSES

                        7. LUNG AND CHEST
 '
                        8 . CARDIOVASCULAR: Heart and Vascular
                                                  Svstem
' ~                     9. ABDOMEN:      Inspection, Auscultation and
                                         Palpation
                        10. RECTUM AND ANUS: Hemorrhoids,
                                Fistulae and Prostate, if indicated .

      ~                 11 . G.U. SYSTEM       a. Genitalia
                                               b. Hernia

      ~                 12 .PELVIC

     1-........_~       13 . ENDOCRINE


          "\            14.MUSCULOSK ELETAL SYSTEM: Spine,
                           Upper Extremities and Lower Extremities
                        15. NEUROLOGICAL :      Cranial Nerves,
          "\                   Motor Functions, Cerebella and DTR's

         ~              16 . PSYCHIATRIC
                        17. SKIN: Inspection, lesions, ulcers, tags,                         - -                              -         -


         ""                     moles, insect bites, rashes, infections.

                                                SUMMARY OF DEFECTS/ CONDITIONS AND DIAGNOSIS




                                            iD JV t______
      WORK CLASSIFICATION BASED ON PHYSICAL EXAMINATION:


                              Dr. Clement Bernard @ NECX
                    PRINT-NAME-0F-MEDIG-Al:- PRACTITIONER



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                                                                         CCI 000260
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                                               TENNESSEE DEPARTMENT OF CORRECTION
                                                  REPORT OF PHYSICAL EXAMINATION

              ~                            INSTITUTION:               WTSP-3

        NAME, ~                          - ~                                        </73//()              DATE OF EXAM


                                                            CLINICAL EVA! UATION-
                                                                                        NOTES . Describe every abnormality in detail Enter
      NORMAL       (Check each item in appropriate column; enter                                pertinent item number before each                       I
  I                                                                   ABNORMAL                  comment. Use progress notes for additiona
                   "NE" if not evaluated.)
                                                                                                information.
                                                                                                                                                        I
                   1. GENERAL:       Appearance, Nails , Skin , and
                           ldentifyinq Marks, Tattoos, etc.
                   2. E:YES :   General, Opthalmoscopic; Pupils,
 l                              and Ocular Motility
 .
 I
                   3. HEAD AND NECK

 I                 4 . EARS :    External and Otoscopic
 '
 .'                5. MOUTH AND THROAT

 l                 6. NOSE AND SINUSES                                          J      ltt,,ve...(" \ (   S, ,\.)   (..L   ! I -r;J
 '                 7. LUNG AND CHEST

 i
 I
                   8. CARDIOVASCULAR: Heart and Vascular
                                               System
 !                 9   ABDOMEN:       Inspection, Auscultation and
                                      Palpation
                                                                                                                                                        I
                   1 0. RECTUM AND ANUS: Hemorrhoids,                                                                                                   I

                             Fistulae and Prostate. if indicaied .                                                                                      I
                   11. G.U . SYSTEM        a. Genitalia                                                                                                 I
                                                                                                                                                        I
                                           b. Hernia
                   12.PcLVIC
                                                                                                                                                        !
                   13. ENDOCRINE                                                                                                                        I
 I                                                                                                                                                      II
                   14.MUSCULOSKELETA L SYSTEM: Spine,
                                                                                                                                                        I
                      Upper Extremiiies and Lower Extremities                                                                                           I
                                                                                                                                                        I
                   15. NEUROLOGICAL:        Cranial Nerves,
               I          Motor Functions, Cerebella and DTR's

               I   16. PSYCHIATRIC                                                                                                                          I




       WT   t&o             BP    I lb /---rz_, T.      1vz.,         P.        U~ - R. _ _1,o
                                                                                            _
                                                                                    RT 20/7.,;o       LT 201-zo



      WORK CLASSIFICATION BJ.\SED ON PHYSICAL EXAMINATION:


            DONALD WILLIE F.N.P.
            :::>R!N1 NA/vlE OF M~DICAL PRACTITIONER




                                                                           6-                                                         ~iJf   1   ",5E




                                                                CCI 000261
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                                                TENNESSEE DEPARTMENT OF CORRECTION
                                                                  HEALTH HISTORY

                         WNP~o                                        INSTITUTION


   NAME     fbJ-- ~ J &)afl;y                                                NUMBER       <./ 7 3 / J 6                     AGE       d_J
   SS#     fi J-~4-6373                    0            Sex       ~                 RACE            13                   __-__..J......
                                                                                                            D.O.B. _____,,~            ..
                                                                                                                                    J. ~4_._1...._3..___
   Next of Kin:       Name:      =@--=·                      --'&a
                                      ~-----;.J"'". '.~. .'-.________________ Relation :
                      Address:

                       City:     _ _ _ _ _ _ _ _ _ _ _ _ _ State : _ _ _ _ _ _ _ _ Zip:

                      Phone:      Area Code                                      Number _ _ _ _ _ _ _ _ _ _ _ _ _ __



   Defined Data Base:              Date                  Z-   Month
                                                                                                         1-(3
                                                                                                         Day
                                                                                                                                           I/
                                                                                                                                           Year


           Height:   s• 7                 Weight:        I(_p {) Hair Color: blauY                  Color of Eyes:


           Blood Pressure (Sitting):
                                                        7
                                                                            Temp:       9? 2        Pulse      LJ?2         Resp.     ::2 lJ
   DATE, if done on Ad?1ission                                                          ALLERGIES:
   Serology       Z /1(3 f lJ        EKG
   Urinalysis _      _,___ _ _ Chest X-Ray - ' - - - -
   CBC                               Hemocult       -------j


   Chem. Scan


   Other                                                                                Date or TB Skin Test
                                                                                        Date Read       2{2 D f\ I

   Visual Acuity (Snellen)           R.                                     L.

    Audiometric Screening (20 db.)              71 .                                AUDIOMETER
                                                            250       500        1000        2000        3000        4000           6000        8000
HE.4RING CHECKED                                            256       512        1024        2048        2896        4096           6144        8192
WITH TUNNING FORK                               RIGHT

HESuLTS           l1/Nu                         LEFT

 CURRENT MEDICATIONS:                       (Specify drug, strength, dosage form and frequency)




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                                                                  CCI 000262
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                                                                                                                                    ___7
                                                                                                                           NUMBER _ 4                   . . 1. . . .c_...2_ __
                                                                                                                                       . . . .3. . . . .1

          DATE                                 NAME OF HOSPITAL                                                 LOCATION                               REASON
   l~e/5"                             ,];Jp /,efrtA,I,)                     Mv)• j I                  £~ illH{),~-l~v:,:/kM! (




  NO                                                                                              YES                            COMMENT(Sl

  5.
  D a.          Has there been any change in your weight
                in the past_te~?
                 1. Lost !B'How much? ~
                2. Gain D How much?
  D          b. Have you ever had excess ~
                anxiety/nervousness, depression or
  ,....,..., _/ worrying?
  l_Y'c.        Have you noticed a change in size or
                .color of any wart or mole, or the
                appearance of a new one?
  ~-            Any itching, skin rash or boils?                                                  • ~;t¼ ~J'P,~/ll~ua,-z'~~ ~~N~ ~/4/4 /4~,
  ~              Any surgical scars or tattoos?
  CJ-<           Do you use tobacco?                                                              •
                                                                                                  •
  •••
                 1. Chew
                 2. Pipe                                                                          •
                 3. Cigars                                                                        •
  •              4. Cigarettes
                 5. How many cigars, cigarettes, or
                                                                                                  •
                    pipes do you smoke in 24 hours?
  6.             HEAD AND NECK

  ~-             Do you have dizzy spells?
  ffi.           Do you have frequent headaches?
                 How often?
                 What medicine helps
                 your headaches?
                 Do you have any lumps or swelling
                 in your neck, armpits, groin or other                                            •
                 areas?
  7.             EYES

  ~-             Do you wear glasses or contact lens?
  ...../         Forhowlo ng?
  ~ b.           Do you see double?
  D c.           Do you ever see colored halos
                 around lights?
  D d.           When were~      e~es last examined?
       ,t/k;I -~
  ~ --"D'-o..a:.y-=o'--u--=h..:..av-"e.:zt;::.cro:....u_b_le_s_e_e,-·n-g -o-bj-ec-t-s -at- a- -
                 distance or near objects such as a                                               •
                                                                                                  ~
                 newspaper?
  Of.            Do you have vision in both eyes?




   CA-2007 (Rev. 10-07)                                                                                   -3-                                                       RDA 1458

                                                                CCI 000263
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    NAME                                                                       NUMBER

    NO                                                      YES                   COMMENT{§)
    14.         MUSCULOSKELETAL


   l~           Have stiff or painful muscles or joints?
                                                            •
   11:'.J d.
               Are your joints ever swollen?
               Have you ever had any broken bones?
               Have difficulty bending or moving?                          *
                                                            B%~~, ~v;~J~~1flc1:~:.1~ a~~ s
                                                            • d ~~d ~~'j;lft:!£;:Y~
   ~
               FOR MALES ONLY


   rfa{
               Is your urine stream very weak and slow?
                                                            •
                                                            ~u7..:,,,,,.- p,, ~ ~/1/4,,,;.,
               Has a doctor ever told you that you have
               prostate trouble?


   ~
               Ever had discharge from your penis?
               Do you have any pain, swelling, sores or
               lumps on your testicles or penis?            •
               FOR FEMALES ONLY
               Have you         ysterreeflfflw!jl.- - - - - + -17
               Are your menstrual periods regular?
               Date of last menstrual period:

               Ever have pain with your periods?
               Do you have excessive bleeding during
                our period?
                 . Between periods?
                                                               •
                                                            •••
               2. fter sexual relations?
               3. fter going through the "chang
               Wha type of birth control meth
               using . (Circle appropriate)


    •••                                                      •••
               1. None
               2. Birth c trol pills
               3. IUD (Loo )


    •••
               4. Foam
                                                              ••
                                                               •
   ••Dt.                                                    •
               7. Sterilization
               8. Other:----,-----.---        - --


   • g.                                                     •
                                                           •
                                                           •
               1.Futl rm _ _                               TI
               2. Pr
               3.
                        ature
                     scarrlages _ _
                                                           ••
               4.   bortions
                                                            •
                                                           •




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                                                                CCI 000264
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                                                                                                                         tl U h
                                                                   RE PO R1 OF PH
                                                                                  YS I CA L EX AM
                                                                                                                 TION
                                                        INSTITUTION:
                                                        '                            L,c-FJ-- P   ~
             NAME            ~




                                                 I
                                 l_(1 t). /J ll' )\..~ - :::
                                                         h )iv \    t
                                                                        )
                                                                        j_ (/ ,..,   NUMBER               ""\        \
                                                             (JI                )                     -J             I            DATE OF EX AM
                                                                             CL I NI C AL EV AL
                                                                                                UA TI ON
          NO RM AL       (C he ck each item
                                               in appropriate co                                          NOTES · Describe
                         "NE'' 11 not ev alu                     lum n; enter                                                 every ab no rm ali
                                             ate d.)                                   ABNORMAL                                                  ty in detail. En ter
                                                                                                                   pertinent item nu
                                                                                                                                     mb e r be for e ea
                                                                                                                  comm ent. Use pro                     ch
                         lGE NE RA L: Ap                                                                                               gre ss no tes for
                                                                                                                                                           ad dit ion al
                                               pe ara nc e , Na ils                                               information .
                              lde ntilvi n<:1 Marks                 , and
                                                     , Ta tto os , etc.
                      2 . EYES:    Ge ne ral , Opthalm
                                                             os co pic ; Pupi ls,
                                   an d Oc ula r Motili
                                                           ty
                      3. HE AD AND NE
                                          CK
                      4 . EARS:         Ex ter na l and Ot os
                                                              co pic
                     5       MO UT H AN D TH
                                             RO AT
                     6. NOSE AN D
                                  SI NU SE S
                    7. LU NG AND
                                     CH ES T
                                                                                                      -         ~-
                    8 . CA RD IO VA SC
                                       UL AR :     He art an d Va sc ula
                                                                           r
                                                  Sv stem
                    9. AB DO ME N :
                                        Ins pection , Au sc
                                                            ult ati on and
                                        Palpation
                   10. RE CT UM AN
                                      D AN US : He mo
                                                          rrh oid s,
                            Fls tul ae an d Pros
                                                 tate, if ind ica ted
                   11. G.U. SY ST EM                                  .
                                             a Ge nit ali a
                                                b. Hernia
                  12. PE LV IC

                  13 . EN DO CR IN E
                  14 . MU SC UL OS KE
                                          LE TA L SY ST EM
                      Uo oe r Ex tre mi tie                     : Spine ,
                                            s and Lo we r Ex tre
                 15. NE UR OL OG IC                               mi ties
                                         AL:        Cr an ial Ne rve s,
                           Mo tor Fu nc tio ns
                                                 , Ce reb ell a an d
                                                                     DT R' s
                16 . PS YC HI AT RI
                                     C
                17 . SKIN: Ins pe
                                    cti on , lesions, ulc
                                                           ers, tags,
                          mo les insect bil
                                                es . rashe s Infec
                                                                     tio ns .

                                             SU MM AR Y OF DE
                                                              FE CT S/ COND             ITIONS AND DIAG
                                                                                                        NOSIS




WORK CLASSIFIC
               ATIO           N BASED ON PH
                                            YSICAL EXAMIN
                                                          ATION:


       PR IN T NAME OF
                       ME DI CA L PRAC
                                       TIT IO NER
                                                                                                   SIGNATURE OF
                                                                                                                           MEDICAL PR AC
                                                                                                                                         TIT IO NER
CR -2 00 7 {R ev .
                   10-07)
                                                                            -6 .
                                                                                                                                            RD A 14 58


                                                                      CCI 000265
      Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 65 of 200 PageID #: 1948
             \ )!                                                                     ,.-     ·0     ER       ( //     --;   ~),   ,,,_·,,.
       rm        I     i                                                              !'." .·,:~.~        ---- ----'-------



                                                                                                COMMENTCS}

  8.         EARS
  0a.         Do you have difficulty hearing?                [J
  Q i~.
  [~Jc.
             Have you had any earaches lately?
             Do you have repeated buzzing or ringing
                                                             •Qi /                                        ,.,, . , / / / , ,. r(-, / /·' (]<
                                                                                                          · •·<   {"-'t,                      '
                                                                                                                                                             .', ,_ .
             in your ears?
 9.          MOUTH,NOSEA NDTHROAT
 Oa.         Do you have any trouble with your
             teeth or gums?
                                                                                                                                   '/: :t         ,_     ;.' L,.i        L   :-




 Ob.         Wh(:ln did you last see a dentist?
             A:;>1«:Pn~: ,(-ft- f'c. /l '
                                                             •
 0     c.    Have you ever had sinus problems?
 (8'd..     Does you nose ever bleed for no reason                                                                                                     - .,,-., /   \,




 [}J,,-;:
            at all?
            Is your voice more hoarse now than in the
            past?
                                                             • ,{. /.,   ,.j_,(_;?-

 10.        RESPIRATORY
 ~          Do you have a chronic cough?                     D
 [a""y      Do you cough up any material?                    0
 0 e-:-       ver_hava.trouble getting_y.our breath.after_   Q
            climbing one flight of stairs or walking one
 _/         city block?
 ~ d.       Do you have frequent colds of influenza
            attacks?                                         •
            CARDIOVASCUL AR


                                                             •••
            Ever get pains or tightness in your chest?
            Ever been bothered by a racing heart?
            Do you have shortness of breath while
            doing your usual work?
            Need more pillows at night to breathe?
            Do you have swollen feet and ankles?
                                                             ••               .
            Do you use a lot of salt on your food?
                                                               D ,,-u,>u-:Ct,,.1
            DIGESTIVE
            Do you suffer discomfort in the pit of your
            stomach?                                         •
•           1. Nausea
                                                             •
•           2. Vomiting
                                                             •
•           3. Indigestion
                                                             •
•~          4. Heartburn
                                                             •
            Is it painful or difficult for you to swallow
            liquids or solid foods?                          •
~           Do you have trouble with bowel
            movements?                                       •
  ••
            1. Hemorrhoids
                                                             •
            2.       Bleeding
                                                             •
•••                                                          •••
            3.       Constipation
            4.       Diarrhea
            5.       Bloody or Black Stools

•
13.
            6. Rectal Pain
            URINARY
                                                             •
~a .        Frequently get up at night to urinate?           D
0i          Ever had burning or pains when urinating?        O


 CR-2007 (Rev. 10-07)                                                    •4-                                                                       RDA 1458




                                                                CCI 000266
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.,~

             NAME                                                                                                                   NUMBER
                                                                                                                                                       (/ /S j / (,

       1.        Family History Have any of your family or relatives had any of the following? If so, specify who:

                 Heart Disease                ,-                             Tuberculosis                       Cancer
                                                                                                                •,      J

                 Sickle Cell                                                 Diabetes
                                                                                                    --- ---- -- Seizures
                                                                                                     -         /:.,._··_J_ _ _ _ _
                                                                                                            ----'-

                 Hypertension                                                Mental Illness                     ,.,/1..,,                   Other

                 Are your parents still living?      -...1#!2..------------------------------
       2.       Social History:
                                                                                                     ,,.              /       /
                 Highest Grade Completed             /, ·1,,
                                                          1-
                                                   --!..-'--    Usual Occupation     ~    fa, fl w~,    (  If   ~
                                                                                                                  Marital Status                                             -==-'-'--','"'"/- - ' - - --
                 Previous Incarcerations               ,ytfc•i_                Old Number (TN, Other State, Federal)

                 Prior to Incarceration :
                  Used alcohol:                                Yes                     No     ~ / ' If yes,                 Daily   _ _ Weekly _ _ Rarely                                 __

                     Other habit forming drug(s):              Yes                     No      /           Name(s) of Drug(s):
                            Ever injected drugs (even once)?                    Yes                  No         V

      3.        When did you last see a doctor?
                                                ✓
                For What Reason:            ..:·t.../.£....!,_,_J':::J'~~<-=-·.u~·~1,,-'-?>
                                                                                         ~•:..U::.!::.~~:!:::......JL~'-:!£~!£1.~~=.E :::,!.,;r.L..:1...~,ru.":LJ...~:.:..i:.~:.L.l..!!! ::Z..-L-',.!.,c;L-.
                                            l~J'~ ::J               r,c..,,{. ?J ':(
      4.        Have you ever been told by a doctor t hat you now ave or have had any of the following:
                Answer questions by checking yes or no

            NO                                                                         YES                                                 COMMENT{S)


            ~            Rheumatic Fever
                         Heart trouble
                                                                                       •
                                                                                       •
            ~                                                                          •
                         High Blood Pressure


            ~
                         Thyroid trouble or Goiter
                                                                                       •
            tM
                         Diabetes
                                                                                       •
                         Kidney infections or Stones
                                                                                       •
            ~                                                                          •
                         Jaundice, hepatitis or liver disease
                         Ulcer
                                                                                       •
            ~{
            [~r;.•
                         Pneumonia
                                                                                       •
                         Tuberculosis
                                                                                       •
            ~        -   Gallbladder Disease
                                                                                       •
            ~ -          Venereal Disease
                                                                                       •
            ~        -
                         Asthma
                                                                                       •
                         Emphysema
                                                                                       •
           ~             Anemia
                         Hemophilia
                                                                                       •
                                                                                       •
           ~
           Os.
                         Cancer
                         Epilepsy or Seizure disorder
                         Allergies, (if yes, what? '            ~IVl"f/
                                                                                       •
                                                                                       •
                                                                                       ~      /,~   ._ :tiffi,tj~··; , i._/~1
                                                               ..
           ~                                                                           •
                                                         /,
                         Any other serious illness, r mJuries,
                         operations, or hospitalizations?
           s(            Any history of treatment in a Mental
                                                                                       •
                         Health Clinic or Psychiatric Hospital?



            CR-2007 (Rev. 10-07)                                                                   •2 -                                                                                  RDA 1458




                                                                      CCI 000267
      Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 67 of 200 PageID #: 1950
                                  '2900 SPRINGPORT ROAD                                                 Status: FINAL
         GARCIA                   JACKSON, MICHIGAN 49201
                                   PHONE (517) 787-9200
          LABORATORY               FAX (517) 787-1249



          ORDERING PHYSICIAN                       NAME                   SEX          ACCESSION NO,            CONTROL NO,

        LEVECK, TERRENCE                 Pleasant-bey, Boaz               M        202004843959
             FACILITY NO,              DOB                 ACCOUNT NO,                 DATE COLLECTED          DATE RESULTED
              TTCC                  06/18/1983                                   04/23/2020 21:07           04/26/2020 01:00
Trousdale Turner corr center TN       EMR ID                INMATE ID
140 Macon way                                               473110
HARTSVILLE, TN 37074

  Test Description                Result              Abnormal     Flag Reference Range units                 Prev Lab Res
NON-FASTING
, SARS COV 2 RNA, RT PCR (COVID 19)                                             col:    04/23/2020            Status: F
 SARS COV 2 RNA, RT PCR            NEGATIVE                                     NEGATIVE

 THESE RESULTS ARE FOR THE DETECTION OF SARS-COV-2 RNA. DETECTED
 RESULTS ARE INDICATIVE OF THE PRESENCE OF SARS-COV-2 RNA.
 CLINICAL CORRELATION WITH PATIENT HISTORY AND OTHER DIAGNOSTIC
 INFORMATION IS NECESSARY TO DETERMINE PATIENT INFECTION STATUS.
 POSITIVE RESULTS DO NOT RULE OUT BACTERIAL INFECTION OR CO-INFECTION
 WITH OTHER VIRUSES.
 NEGATIVE RESULTS DO NOT PRECLUDE SARS-COV-2 INFECTION AND SHOULD NOT
 BE USED AS THE SOLE BASIS FOR PATIENT MANAGEMENT DECISIONS.
 NEGATIVE RESULTS MUST BE COMBINED WITH CLINICAL OBSERVATIONS,
 PATIENT HISTORY AND EPIDEMIOLOGICAL INFORMATION.
 IMPROPER SPECIMEN COLLECTION CAN RESULT IN POSSIBLE FALSE
 NEGATIVE RESULTS.




                                       Director: Lorenz P. Kielhorn, MD

Printed: 04/26/2020 03:00                      -- End of Report --                                                      Pg:    1




                                                                     CCI 000268
     Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 68 of 200 PageID #: 1951
      Mar. 24. 2015 5:31AM                       JCCfi · . ~                                                                              No. 0778        P.    2
                                           JOHNSON COUNTY COMMUNITY HOSPITAL
                                                    1901 Soulh Shady Slreet, Mountain City, TN 37683
                                                       Phone: 14231 727-1100 Fax: 14231727-1188
                                                 Yurong Wheeler, M.D., Pl'D. Laboralory Direclor, CUA ID#
                                                                      44D0946736

Patient:     PLEASENTBEY, BOAZ                                                 COPY FOR: GINT, INTERLAB
D.O,B:       06/18/1985      Age: 29                        sex: M                                 1901 South Shady St
MRN#:        G400594                                                                                 us
Billing#:    840435188                                                                             Mountain City, TN 37683
Chart#:



Test Name                                                                           Resull       ABN                       Ref-Ranges      Units        Performing Site

Automated Hematology
   Collected: 03/23/2015 09:5()
WBC                                                                                        6,3                                J,5•10.5     K/uL
RBC                                                                                   4.90                                   4.20-5.60     MM
HGB                                                                                   13.7                                   13.5-17,5     g/dl

HCT                                                                                   40.2                                   38,0-50,0     %
MCV                                                                                   82.0                                  B0.0-100.0     IL
MCH                                                                                   28.0                                   26.0-34.0     pg
MCHC                                                                                  34.1                                   31,0-37.0     g/dL
ROW                                                                                   13.7                                   12,0-15.0     %
Platelet Count                                                                         195                                    150-450      K/ul

MPV                                                                                   11.1       11fi':t:'
                                                                                                 N "       :•tl-
                                                                                                 N-C•\ ,.,~:,•,
                                                                                                                              7.4-10.4     fL

Differential
Neulrophlls                                                                                81                                    45.75     %

Lymphocytes

Monocytes
Eoslnophil$                   C\el'O
                                     NEC')(
                                    ~µ                  1
                                                                                           11
                                                                                             8
                                                                                             0
                                                                                                                                 20-50
                                                                                                                                   0-8
                                                                                                                                   0-5
                                                                                                                                           %
                                                                                                                                           %
                                                                                                                                           o/o
Baiophils                                                                                    0                                     0-2      %

Absolute Cell Count                    \!l~R
                                                                                                                                            K/ul
AbsohM Neutrophil5 (including precursors)
                                                                                  ~ 5.1                                         1.5-7.0
Absolute Lymphocytes                                                                       0,7    ~if l~J:
                                                                                                  ...~:,,,.~!;
                                                                                                                                0,8-4.0     K/uL

Absolute Monocytes                                                                         0,5                                  0,0-0,9     K/uL
Absolute Eosinophils                                                                       0.0                                  0,0-0,6     K/ul
Absolute Basophlts                                                                         o_o                                  0.0-0.2     K/ul
Misc Hematology
   Collected: 03/23/2015 09:50
Sedimentation Rale                                                                           5                                    0-15      mm/hr
            Sedi111et1ta.tiot1 .ce~ult$ IM,Y 1;;,,. affected by hemolysis, l!.pert1i.a.,
            markedly low or high hel!Wltocrits, or hemoglobinopath1es .




Tesl Name                                                                            Result        ABN                      Ref-Ranges       Units       Performing §11!'1
Complete Metabolic Panel
    Cal/cctaci: 03/23/2015 09:50
Ghicose                                                                                                                          70-99       mgJdL


KEY E98 BfS\ll JS·
LAB: L- LOW, H -HIGH, Cl. -CRITICAL LOW, CH· CRITICAL HIGH, AB -ABNORMAL
MIC;• - NEVI RESULHi, •• • RESULTWA9 MODlf'IED AFTER FINAL STAT\JS SIH
Perfom, SIie L9Qend: A=JCMC B=IPMC c~ssH D=NSH t'=JCSH F=FWC\.l G-JCCH H=DCH J=JMH M=SCCH N=NCH R.. RCMC V=RCC

Synergy_Lab_Reporl                                                                                                 Prinled: 03/24/15 00:58               1 of 18
                                                                                                                                                     M.~HA Form; Mull RI 10



                                                                CCI 000269
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 69 of 200 PageID #: 1952
                                                Jccn,    1   6B                                                                     No. 0778        P. 3
                                          JOHN.:i\..,,. COUNTY COMMUNITY HOSPITAL
                                                    1901 SouU, Shady Slreel, Mounla n Clly, TN 37883
                                                       Phone: (423\ 727-1100 Filx: 1423) 727-1168
                                                 Yurong Wheeler, M.D,, PhD. Laboralory Oirectot, CUA ID#
                                                                      44D0946736

Patient: PLEASENTBEY, BOAZ                                                  COPY FOR: GINT, INTERLAB
D.O.B: 06/18/1985        Age: 29                             Sex: M                   1901 South Shady St
MRN#:        G400594                                                                             us
Billing#: 040435188                                                                             Mountain City, TN 37683
Chart#:



TeslName                                                                         Result        ABN                    Ref-Ranges     Units        e!.l~WIID!l ~II~
Sodium                                                                              135        ii't~~1                   136-145     mmol/L
                                                                                               :~...~j!~

Polessium                                                                            3.5                                  3.5-5.1    mmol/L

Chloride                                                                            101                                   98-107     mmoVL
CO2                                                                                   26                                   22-32     mmol/L

Osmolallty, Calculated                                                              270                                  266-293     mosm/L

Anion Gap                                                                             8                                     5-15     mmol/L

Calcium                                                                              9.3                                 8.6•10.0    mg/dl

Calcium fcorrected for albumin)                                                      9.0                                 8.6•10.0    mg/dl
BUN                                                                                        8                                6·20     mgldl

Croallnlno                                                                          1.06                                0.90-1.30    mgldl

13UN/Crealinine RaLio                                                                  8                                              RATIO
eGFR Non African AmericBn                                                             94                                     >60      ml/min/SA

eGFR African American                                                                109                                     >60      ml/min/SA
           Estimated GFR (eGFRl cal.culatio11 was Cha11ged t:.c, the CXD-EPI
           eCj\lation on 06/ • 3/l3, p":r; :,;l)c:,QJ111Tl"nd;i.ti<:>n-, Qf N;,.tional
           Kidney rouMation (http,//www,ktdnqy . Qrq/1
           R,esults $hOuld be i.nt.,:r;p:,;<1t:l!lel with c,rntic;,n in si.;uadons that
           p:r;,:dispo;;e to illaCC.\l:r;.,_c,1,.,, of th'I qGF!I, including non-stea.dy
           state creati.ni11e: (._cute k.1.dnc:y injui;yl, 8Xtr811\8S of muscle
           m.1.ss/body Size, liigh Protain dht.s/.suppL,.m8nt us8, dialysis,
           l,oss of extracellub,; fl.ui.cl, drug_. int,n:hring ,,i.h r8nal
           tubular se<:re t:io11 ( eg cim<!!tic:line, ti:imi, ~hopi:im) o:,; gut
           creati11,ue acb.vity (anti.biotic;:$) ,amd "ndytic:, in,,.rf8nmces
           related to alt:ereel metabolites (gluco$.,, k"ton<1$, bilirubin)
           or drugs. Thi$ equation h,u beeo valida.ted \l.sing prci,dominam:ly
           US/£uropea11 black. and white populations1 ac¢u:r;a.cy in o.;her
           races/et:h11i.oit:i.es is 11ot well defined.

           2013 K0IG0 eGFP. <'.lategories,
           Gl            Normal or high                 -90
           G2            Mildl l{ de c,r                60-69
           G3a           Milel-Mod Clecr                4S-S9
           G3b           Mod-Severe deer                30-44
           G4            severe dec,r                   15-29
           GS            Kidney failure                  <1S
           These categories should be correlated witl\ other clilli.C.il.l.
           fi11di.nge and urine albumi.11 assessme11t .
Total Protein                                                                         7.5                                  6.4-8.3    g/dl
Albumin                                                                               4.4                                  3.5-5.2    g/dL
Blllrubln, Total                                                                      0.5                                  0.3-1.2    mg/dL

Alkaline Phosphatase                                                                  42                                   34-104     IU/L

AST                                                                                    40                                   15-41     IU/L

ALT                                                                                    24                                   17-83       IU/L




KEY FOR RESlJL TS:

LAB: L, LOW, H ,HIGH, CL• CRITICAL LOW, CH • CRITICAL HIGH, M • ABNORMAL
MIC:•. NEW RESULTS, '', RES ULTWAS MODIFIED AFTER FINAL STAlUS SET
P9,fo1m $~~ Loaend; A=JCMC El=lPMC C=SSH O=NSH E=JCSH F=FWCH G=JCCH H=OCH J=JMH M=SCCH N=NCH R•RCMC v~RCC

Synergy_Lab_Report                                                                                         Prinled:    03124/15 00:58              2   or   16
                                                                                                                                               MS~ Fnrm: Muttl RI 10




                                                                CCI 000270
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           Ma r. 23. 2015 12 : 21 PM               .1rr,H LAB                                                                      No.0771            P.
    .....J!
          . •iie;:>=•"'
                                                JOI ..JON COUNTY COMMUNITY. HOSPli . .•

     iii
  Patient: PLEASENTBEY, BOAZ
                                                          1901 South Shady Straal, ~ounlain Clly, TN 97683
                                                             Phone: (4231727-1100 Fax: I423l727-11BEI
                                                   Yurong Wheeler, M.D., PhD. Laboratory Director, CUA ID# 44 D0948738

                                                                                  Requesting Or.: BERNARD, CLEMENT
  D.O.B: 06/18/1985        Ag8: 29                                    Sex: M      Patient.Location: INTERLAB
  MRN#: G400594                                                                   Room:             Bed:
  Billh,g#. 048435108                            01de1#. 7123838'48


  Test Name                                                                          R9Sllll     ABN                Rel-Ranges       Units         Penormlng Sile
  Automated Hematology
       Col/ectad: 03/2112015 09;50
  wee                                                                                   6.3                             3.5-10.5     KM
  RBC
                                                                                       4.90                            4.20-5,60     Mful
 HGB                                                                                   13.7                            13,5-17.5     g/dl
 HCT                                                                                   402                             38.0-50.0     %
 MCV                                                                                   82.0                          80.0-100.0      fl
 MCH                                                                                   28.0                           26.0-34.0      pg
 MCHC                                                                                  34.1                           31.0-37.0      gfdl
 ROW                                                                                   13.7                            12.0-15,0     %
 Platelet Count
                                                                                        195                             160-450      K/ul
 MPV                                                                                                                    7.4•10.4     n.
 Olfferentlal
 Neulrophlls
                                                                                         81                               45-75      %
 Lymphocytes                                                                             11                               20-50      %
 Monocytes
                                                                                             8                              0-8      %
 Eoslnophlls
                                                                                             0                              0-5      %
 Basophlls
                                                                                             0                              0.2      %
 Absolute Cell Count
1Absolute Neuttophlls (Including precursors)
                                                                                        5.1                              1.5-7,0     K/ul
,Absolute Lymphocytes
                                                                                        0.7                              0.8-4,0     K/ul.
 Ab$olute Monocytes                                                                     0.5                              0.0-0.9     K/ul
 Absolute Eoslnophlls
                                                                                        0.0                              0.0-0.6     K/uL
 Absolute Basophlls
                                                                                        0.0                              0.0•0.2     K/uL
 Misc Hematology
     Co/lQc/Gd: 09l2S/2015 09:50                                                     (~
Sedlmentallon Rate                                                                   -~                                    0-15      mm/hr
                  Sedimentation roaul ta may be affected by ]1ernolysis, lipemla ,
                  m<lrkedly low or hJ.9h hematocrit:s, or llemoglo'ol.ncip~t hies.




Test Name                                                                           Result       ABN                Ref-Ranges       Units        Penormlno sue
Complete Metabollc Panel
     co/fected: 03123/2015 09:50
Glucose                                                                                124                                70-99      mg/dl
Sodium
                                                                                       135                             136-145       mmol/l
Poh1s9iu1n
                                                                                        3.5                             3.5-5.1      mmolfL

KEY EQB Bf8ULJ8·
!,AB· 1-1ow H-!;jl(U:1, Cl • Cfj.lYl9AI I QW.CtH,BWl.el fJ(GH   ea   Af!NQR1'A1
MICRO;• • NEW RESULTS, •• - RESULT WAS MODIFIED AFTER FINAL STAnJS SET
P~rfotm Sile Legend: A=JCMC B=IPMCC=8Sl1 O=NSl1 E=-JCSH F=FWCH G0 JCCH H<aOCH J=JMH M=SCCl1 N=NCl1 A.=RCMC V=RCC

INSTANT REPORT                                                                                            P/11\led: 03/23(15 12:33               1   or    2
                                                                                                                                              !ASHA For/II! MulU RL 1




                                                                 CCI 000271
 Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 71 of 200 PageID #: 1954
       Mar. 23. 2015 12: 21 PM     .11:CH LAB                                                                                     No.0771


    -~
                                                                                                                                                     P.
   ·--~                        JOt. .-.;ON COUNTY COMMUNITY HOSPI.
                                                    1901 Soulh Shady Streel, Mounlaln Cily, TN 37603
                                                       Phone: '423\ 727-1100 Fax: 1423) 727-1188
                                             Yurong Wheeler, M.D., PhD. Laboratory Director, CUA ID# 44 D0946736

 Patient: PLEASENTBEY1 BOAZ                                                    Requesting Dr.: BERNARD, CLEMENT
 D.O.B: 06/18/1985                        Age: 29          Sex:M               Patient Location: INTERLAB
 MRN#: G400594                                                                 Room:                  Bed:
 Blllh,g#. 848495166                      O,d&,#. 7128098 • 0



 T8sl Name                                                                         Result     ABN                  Rel-Ranges       Units        e!!.li cmlno ~I,~
                                                                                                                                                          0

 Chlorlcle                                                                            101                               98-107      mmol/L
 CO2                                                                                   26                               22-32       mmol/L
 Osrnolalily, calculaled                                                             270                              266-293       mosm/L
 Anion Gap                                                                               8                                5-15      mmol/L
 C11lc[um                                                                             9.3                             8.6-10.0      n,g/dl
 C11lclum (corrected for albumin)                                                     9.0                             8.6-10.0      tng/dl
 BUN                                                                                    6                                 6-20      mg/dl
 Cre.iUnlne                                                                          1.06                            0,90-1.30      mg/dl
 BUN/CreaUnlne Ratio                                                                     8                                          RATIO
 oGFR Non African American                                                            94                                   >60      tnl/min/SA
 eGFRAfrican American                                                                109                                   >60      ml/min/SA
             £stiniatec:I GFR (eGFR) c:,all!ulatiOI'\ was c:,)1a~11e<l to the CKO-EPl
             equation en 06/03/13, per rec:crnm~~Clations of Natiand
             K~dney Foundation (http: //,qwor, kidney, Ori}/)
             Results shoul<1 be int11rr,rete<l with caution in situations. that
             predhpose to inacc11r11ciu of the,, I.IGFII, including non-steady
             sta.ti9 c,:eaHnine (aeute. kidney injury), axtJ:'$11\IIS of m-uscle
             mass/bcely she, lliOh prct:ein diets/supplement: use, Clial.yd3,
             loss of e11tra<;>ellular fluid, drug& interfering 'lith renal
             tubular se,;:rotion (011 cimetidine, trimethoprim) or gut
             creatinaae ac.tivity (antibiotlcs) ,and analytic interferences
             rela1;ad to dt-,rcad matabolites (glucose, ketones, bil!rubin)
             or druos, Thh equation has bean validated using pradom!nantly
             US/Europe;,n bla<;>k and vhita populations; accuracy in ocher
             races/ethnicities is not wall defined,

             2013 KDIGO eGFR categories:
             Gl             Normal or high                    c90
             G2             Mildly deer                       60-89 .
             G3a            Mild-Mod deer                     45-59
             G3b            Mo(Hl&vera de,;,r                 30-44
             G4             Severe dscr                       15-29
             G5             Kidney failure                     <15
             Th"sli a;,.t:agcr1o ~hau1d ba <;>orrelated with other clinical
             findinos and -urine albumin assessment,
Total Protein                                                                         7.5                              6.4-8.3      g/dl
Albumin                                                                               4.4                              3.5-5.2      g/dL
Bilirubin, Total                                                                      0,5                              0.3-1 .2     mg/dl
                                     Clement Bemard, MD, NECX
Alkaline Phosphatase



                                         ~
                                                                                       42                              34-104       IU/L
AST                                                                                    40                                15-41      IU/L
ALT                                                                                    24                                17-63      IU/L




i<EY fl<>8 8ESUI T8·
f Af\· !- I aw H-f!IAH Cl .&fllTJCAt I OW CH-QRIIIQAI tll(ltl ~0 -118NQBLAAI
MICRO;• -Nl;WRESUL.TS, " - RESULT WAS MODIFIED AFTER FINAL. STATIJS Sl;T
PerfOflfl Sito Lcgolld; A=JCMC a=IPMC C=SSH P=NSH £:JCSH F:FWC!-1 O:JCCH H:DCH J=JMH M=SCCH N=NCH R=RCMC V=RCC

INSTANT REPORT                                                                                          Printed~   03/23/15 12:33                2   or       2
                                                                                                                                             MSHI'. Ferm: MulU Rl 1




                                                                CCI 000272
Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 72 of 200 PageID #: 1955
                BioReference
                LABORATORIES

D      T0329 - CMS WEST (00)
0
C      480 GREEN CHAPEL ROAD,                                                                            -FINAL-
T      HENNING, TN 38041
0
R      731-738-5044 (T0329)
                               NAME                      INMATE ID             MEDICAL RECORD           PHONE             DOB

           PLEASANT-BEY, BOAZ                            473110                                                        06/18/1983 /
          LAB 1.0. NO .               DATE COLLECTED        DATE RECEIVED             DATE OF REPORT               PROVIDER/ (;ROl1P NI•
               •   4   4   :




    Test Description                          Result             Abnormal                       Reference

                                                                     CHEMISTRY                                  ·,,~

    Total Protein                        7.9                          5.9-8.4                                             gm/di
    Albumin                              4.8                          3.2-5.2                                             gm/di
    Globulin                             3.1                          1.7-3.7                                             gm/dl
    A/G Ratio                            1.5                          1.1-2.9
    Glucose                              88                           70-99                                               mg/dl
    Sodium                               138                          133-145                                             mmol/L
    Potassium                            3.6                          3.3-5.3                                             mmol/L
    Chloride                             100                          96-108                                              mmol/L
    CO2                                   21                          21-29                                               mmol/L
    BUN                                   13                          7-25                                                mg/di
    Creatinine                           1.1                          0.6-1.3                                             mg/di
                                                              ~ <? -
    e-GFR                                 80
                                                       . \'<-
                                                                        , x-
                                                                       > 60 ml/min/1. 73m2
    BUN/Creat Ratio                     11.8                           10-28
                                                     ~                8.4-10.4                                            mg/di
    Calcium                              9.6     -\.,~
    Uric Acid                            4.1 \_)   ~                   2.4-7.0                                            mg/di
    Iron                                 118 \)                        30-160                                             mcg/d :
    Bilirubin, Total                     0.4                           0.1-1.0                                            mg/di
    LDH                                  192                           94-250                                             u/1
    Alk Phos                              57                           39-120                                             u/1
    AST (SGOT)                            30                           < 37                                               u/1

    Phosphorous                          3.6                           2.6-4.5                                            mg

    ALT (SGPT)                            20                           < 40                                               u/L
    G-GTP                                 23                           7-51                                               U/

    ****************************************************************************
    GFR (Glomerular Filtration Rate) calculation utilizes the MDRD formula
    (Modification of Diet in Renal Disease Study Group) and assumes a normal
    adu l t body surface area of 1 . 73. If the patient is African American
    mul ti ply result reported by 1.21. (Ref. National Kidney Disease Educa.
    Program.)
              ***** Male/Female reference range: >60 mL/min/1.73 m2 *****
    Note: A cal culated GFR of <60 mL s uggests chronic kidney disease, but
    only if found consistently over at least 3 months. A calculated
    result of <15 mL is consistent with renal failure.
,                                                         CARDIOVASCULAR/LI PIDS -              -                  •

                                                                        200 HI                  < 200                     m,~,
    Cholesterol
                                                   111                                          < 151                     mg,
    Triglycerides
                                                    49                                          >40                       mg/di
    HDL CHOL.,DIRECT

Printed: 02/23/2011 07:30                                    Continued on Next Page



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    J~mes Weisberger, MD
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                                                                                                                           Elm•

    I lBORATORY DIRECTOR


                                                                          CCI 000273
          Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 73 of 200 PageID #: 1956
 D    T0329 - CMS WEST (00)
 0
 C
      480 GREEN CHAPEL ROAD,
                                                                                                                    -FINAL-
 T    HENNING, TN 38041
 0
 R    731-738-5044 (T0329)
                          NAME                                INMATE ID            MEDICAL RE     RO               PHONE                   DOB
             PLEASANT-BEY,BOAZ                                473110                                                                 06/18/1983 2 ,



          ..
          LAB 1. 0, NO,               DATE COLLECTED             DATE RECEIVED                DATE OF REPORT                       PROVIDER/ GR.Ou r w ,




  HDL as % of Cholesterol                          25                                                                                     %
  Range/Evaluation:              (15-25)      AVERAGE RISK
  Chol/HDL Ratio                                  4.08
  Range/Evaluation:              (<4.2)       BELOW AVERAGE RISK
  LDL/HDL Ratio                                   2.63                                                 0-3.55
  LDL Cholesterol                                                             129 HI                   < 100

                                                                          HEMATOLOGY                                           . ·._1;,
  WBC                                             5.24                                                 3.40-11.80                         x10(3)/ul
  RBC                                             5.53                                                 4.20-5.90                          x10(6)/uL
  HGB                                             15.5                                                 12.3-17.0                          gm/dL
  HCT                                             47.1                                                 39.3-52.5                          %
  MCV                                             85.2                                                 80.0-100.0                         fl
  MCH                                             28.0                                                 25.0-34.1                          pg
  MCHC                                            32.9                                                 29.0-35.0                          gm/dL
  ROW                                             13.9                                                 10.9-16.9                          %
  POLYS                                           38.4                                                 36.0-78.0                          %
  POLYS, ABS. COUNT                               2.01                                                 1.22-9.20                          x10(3),
  LYMPHS                                                                     50,6 HI                   12.0-48.0                          %
  LYMPHS,ABS.COUNT                                2.65
                                                                                       :? .            0.41-5.66                          x10(3)/1
  MONOS                                            9.5                                                 0.0-13.0                           %
  MONOS,ABS.COUNT                                 0. 50                                                0.17-1.42                          x10 :
  EOS                                              1.3                                                 0.0-8.0                            %
  EOS,ABS.COUNT                                   0. 07   J                                            0.03-0.94                          xl<
  BASOS                                            0.2                                                 0.0-2.0                            %
  BASOS,ABS.COUNT                                 0.01                                                 0.00-0.24                          xl{
  IMMATURE GRANULOCYTES                            o.o                                                 0.0-1.6                            %
  Platelet Count                                  205                                                  144-400                            xlO(
  MPV                                             10.6                                                 8.2-11.9                           fl

                                                                          URINALYSIS                                       .   - :,~'.
  Color                                       YELLOW                                                   YELLOW, STRAW,
                                                                                                       AMBER
  Character                                   CLEAR                                                    CLEAR
  Specific Gravity URN                           1.028                                                 1.003 - 1.030
  pH Urine                                        6.0                                                  5.0 - 8.0
  Protein, Urine                              NEGATIVE                                                 NEGATIVE
  Glucose, Urine                              NEGATIVE                                                 NEGATIVE

Printed: 02/23/2011 07:30                                        Continued on Next Page



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lames Weisberger, MD
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 LABORATORY DIRECTOR


                                                                          CCI 000274
          Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 74 of 200 PageID #: 1957
                      BioReference
                      LABORATORIES

 D      T0329 - CMS WEST (00)
 0
 C
        480 GREEN CHAPEL ROAD,                                                                                      -FINAL-
 T      HENNING, TN 38041
 0
 R      731-738-5044 (T0329)
                                    NAME                           INMATE ID          MEDICAL RECO RD              PH NE             D B

              PLEASANT-BEY, BOAZ                                   473110                                                      06/18/1983 2
             LAB I.D. NO .                 DATE COLLECTED             DATE RECEIVED          DATE OF REPORT                   PROVIDER/ GROUP i,t• HE
                  •   :.t   ~   :




     Test Description                              Result                  Abnormal                     Reference
                                                    NEGATIVE                                            NEGATIVE
       I I    I t •                                    0.2                                              0.2 - 1.0                   Units
     Bilirubin, Urine                               NEGATIVE                                            NEGATIVE
     Blood, Urine                                   NEGATIVE                                            NEGATIVE
     Nitrites Urine                                 NEGATIVE                                            NEGATIVE
     Leukocyte Esterase                                                    TRACE*                       NEGATIVE
  Crystals Urine                                   NONE                                                 NONE
  Crystal Amt. Urine                               NONE                                                 NONE
  WBC, Urine                                       0-4                                                  0-4                         PER HPF
  RBC, Urine                                       NONE     SEEN                                        NONE SEEN                   PER HPF
  Epithelial Cells, Ur                             NONE                                                 FEW
  Cast, Hyaline, Urine                             NONE     SEEN                                        0-4                         PER LPr
  Cast, Granular, Urin                             NONE     SEEN                                        0-1                         PER LPI
  Cast, RBC, Urine                                 NONE     SEEN                                        0-1                         PER LPF
  Bacteria, Urine                                  NONE                                                 FEW
 ****************************************************************************
 NOTE: significant quantities of epithelial cells will
 be identified if they are not squamous cell types.
                                                                          MISCELLANEOUS                                          'i(,l(:1:lti
  RPR                           NON-REACT                          NON-REACTIVE
  HIV 1/0/2 ANTIBODY            Non-Reactive                       Non-Reactive
 NOTE: Patients nonreactive for HIV antibody MAY BE infected but have not yet
        seroconverted. If a nonreactive result seems inconsistent with the
        clinical setting, RESUBMIT a new specimen for retest in 1-3 months.
 ASSAY INFORMATION: Assay for the Detection of Antibodies to Human
                     Immunodeficiency virus Type 1, including Group
                     O (HIV-1 + "o") and/or Type 2 (HIV-2).
                     Method: chemiluminescence (Siemens Healthcare
                     Diagnostics)
 ****************************************************************************
 NOTICE: IF the result of the RPR is reported as reactive with a titer
 of up to 1:8 please note that this level of reactivity can be caused
 by other, non-specific constituents and may not be related to syphilis.
 confirmation of positive RPRs can only be made via performance of the
 T. Pallidum confirmation test.

  GC,AMPLI.,DNA                                    Negative                                             Negative
  CHLAM,AMPLI.,DNA                                 Negative                                             Negative
 ****************************************************************************
     NOTE: Test# 3800 and 2661 (GC and chlamydia, Amplified DNA) performed
           using BD Probetec Amplified DNA Assay.
 ****************************************************************************
 NOTE: Rare cross-reactivity may occur in the BD Probetec amplified DNA
Printed: 02/23/2011 07:30                                              Continued on Next Page



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James Weisberger, MD
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 LABORATORY DIRECTOR


                                                                             CCI 000275
             Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 75 of 200 PageID #: 1958
 Order Porm 1208/4 (If 4-part aet) or
 Order Porm 1208/11 (It II-part set)




                                                                           PHYSICIAN'S ORDERS

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  Drug Allergies
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Form 1206   BRIGGS. Des Moines.   l~R~~~ ,~eu~),247-2343   www.BriggsCorp com   PLEASE! USE BALL POINT                                    PHYSICIAN'S ORDERS
                                                                                      PEN ONLY
                                                                        CCI 000276
        Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 76 of 200 PageID #: 1959
                                                                                                           CoreCivic
                                                      Medication Administration Record April 01, 2020 - May 01, 2020




                                                                                                                                                                                                                                               CCI 000277
Medications                                  Time          2       3       4       5   6       7   8   9    10   11   12   13   14   15   16   17   18   19       20   21   22    23   24       25       26   27       28   29    30   31
vi t ami n A & D topical                    19:39      I       I       I       I           I       I I I I I I I I                             I I I          I        I I2      [ 2 [ 2    J   2    j   2    I2   J   MK IKOPjKOPj
va riable
~api cal DINT (A+D)
     Topical AT BEDTIME ( 30
Days)
     for DRY SKIN
     KOP
Rx 263675300'iS/D:04/22/20 D/C:05/21/20
 Prescriber:Lorrie Henson                   KOP Given Through: 5/21/2020 11:59:00PM
 Entered by: Ashley Howard                  KOP count: 1




DOB:06/18/1983           Sex: M         Allergies: NKDA                                                      Diagnosis:                                                 MK          I Key, Michelle
                                                                                                                                                                        NA-Not Adm in, PR -Pre-live,CP - Complete, KOP
Unit: TTCC-W                                                                                                                                                            - Keep on Person,ND - Not Documented, PA-
 PLEASANT-BEY, BOAZ                                                    DOC #00473110                                                                                    Partially Administered, 1-Refused, 2-lnmate did
                                                                                                                                                                        not report, 3-Not in Cel~ 4- Security lockdown, 5
                                                                                                                                                                        - Medication Held, 6 - Medication Out of Stock, 7 -
                                                                                                                                                                        No Show, 8 - Not in Cart, 9 - No Inmate ID,
                                                                                                                                                                        10-Other

        1 = Refused; 2 = Inmate did not report; 3 = Not in Celt 4 = Security lockdown; 5 = Medication Held; 6 = Medication Out of Stock;
        7 = No Show; 8 = Not in Cart; 9 = No Inmate ID; 10 = Other; 18 = Unknown; PA= Partially Administered



 5/19/20 7:49                                                                                                                                                                                                                    Page 1 of 1

                               Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 77 of 200 PageID #: 1960
   uraer ..-onn 121111/4 llf 4-part • et) or
   Order Form 1206/5 (If IS-part • et)




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   Dre'l{f\A                                                                                         PHYSICIAN
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Form 1206    BRIGGS Des Moines, IA 50306 (800) 247-2343 www BriggsCorp
                                                                       com    PLEAS E! USE BALL POINT                                                                                    -
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                                                                                     PEN ONLY

                                                                         CCI 000278
         Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 78 of 200 PageID #: 1961
                                                                   d Influe nza Vacc ines
                 Stan ding Orde rs for Adm iniste ring Inact ivate
                                          , qualifi ed licallhc 211 c                     pL\I   son11e l wile, c ,1llow cd by st<1lc luw, m:iy
 Protoc ol: Under 1t1esc stand ing orders
        ;cite TDOC inm;1t cs who meet any of the critcric 1 t,elow .
 vaccin

 Proce dure:                                                                                                                     the follow ing priorit y
                                                  kcr-s in need of influen z,1 vacc:i11ati011 based
                                                                                                                           011
    1. Identif y inrn;:itc :; and health care wo1
         groups :

           a)   Pregn ant inmate s
           b)   lnrm1.tes aged :•50 years;                                                                         tensio n); renal;
                                                                :i~~thm a). cardio v;-iscu lar (exclu ding hyper
           c)   lnrnate s with chron ic pulmo n;iry (includ ing
                                             ologic , or metab olic disord  ers  (includ ing diabet es mellitu s);
                hepati c, ncurol ogic, hemat                                                                          be <lt risk for
                                                                  rm aspirin tl1crap y and who therefo re might
           d)   Inmate s aged :518 years and receivi ng long-te
                                                              za virus   infecti on
                experi encing Reyc's syndro me after influen
           c)   Morbid ly obese (body- mass index 2'. 40)
           f)   All other inmate s
                                                                                                          to the influen za
                                                            -s for conlrc1 indicat io11s and preca utions
      2.   Screen all inmate s and health care workcr
           vaccin e:                                                                                  or after receiv ing a
                                                        (e.g, anaph ylaxis) ;,flcr ingest ing eggs
           a. Contra indica tions: seriou s reactio n
                                                               z;:i vaccin e compo  nent
           previo us dose of influen za vaccin e or an influcn
                                                                                                                 in-Bar rc syndr ome
                                                          illness with or withou t fever; l1istor y of Guilla
           b. Precau tions : moder ate or severe acute
                                                              ation
           within 6 weeks of a previo w; influen za vaccin
                                                                                                               ) with a copy of the
                                                          minor, their p;1ren t or legal r cprcsc ntative
      3.   Provid e all patien ts (or, in the case of a                                ncnt  in the  p~lticn t's medic al record or
                                                           Statc11  1cnl (VIS). Oocur
           most curren t federa l Vaccin e lnforrn ;ition                                                           rcpr cscnta tive).
                                                             dc1te it was given to the patien t (paren Vlcgal
           office log, the VIS public ation dale and tile                                      native langua ~JC, if availa ble ;ind
                                              patien ts with  a  copy   of the  VIS in their
           Provid e non-En glish speak ing
                                                               1zc.or g/vis.
           prefer red; these can be found at www.1 rnmun
                                                                                                                                        admin istrati on and
                                                                           rr~corn menda tions fci vaccin e dosag e,
     4.    Follow the Center for Diseas e Contro l's
           storag e:                                                                                                                              rvative -free
                                                                                              of thimcr osal as a preser vative . Prese
                      Mullicf osc vic1ls contai n a small <1rnou11t                                                                   tempe rature s betwe en
                                                                                            l be s tored in       a refrige rator  at
                      v;i cc m es o r e s i n g le ctos 1~ V ac in ·s lill! S
                                                                            not    b  e    f , o 7c   n .  Adults   should   be vaccin ated in the deltoid
                      3!:," f- -16 " 1· ( 2° , -8 "C ) . nd    i, ltould
                                                                                                        1cc syrin\J C. An adult close is 0 .5 rnl. IM.
                      rn u cle u s i n g a 27-259 , 1- I '/, In c 11 11 c •cJlc:
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                                                                                                                                             tile injecti on in
                      A 1/, 111 ' h ll 1'C(II C rn,1 y IH' lr ~crl r , r ,l UUl
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                      tile injecti on is rnacle at a 90 degree angle
                                                                                                             ,ng places :
                                                               on inform ;ition and follow up in tile follow
     5.    Docur ncnt each inmate 's v,1ccin c adrnin ist,-ati                              m :rnufo cturcr ;rnd lot numbo r . the
                                                               c w<1s admin   istered , the
           a Healtll Recor d: record tile d:1tc the v<1ccin                                                    c
           vaccin ation site and route, and tile: name
                                                        ;rnd title of the person :1drni1 1istcrin 9 the vaccrn
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Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 79 of 200 PageID #: 1962
  -•u•r ru.-m 1,vv1• 111   -.•p•.-, •11111                                                                              Order Form 1209/11 (" ll•p• rt ••ti
  Order Form 1208/4TP (it 4•p• rt ••t, S•hola top punch)                                                                Order F-><m 1208/IITP I" 5-part Ht, l•hole top punch)




                                                           PHYSICIAN 'S ORDERS


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  Drug Allergies
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Form 1206 BRIGGS, Des M<>nes, IA 50306 (800) 247-2343
                           PRINTED IN USA                        PLEASE! USE BALL POINT                                               PHYSICIAN'S ORDEr
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            Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 80 of 200 PageID #: 1963
 Order Form 1208/4 (If 4•part • at)                                                         Order Form 1:l()e/11 (H ll•part HI)
 Ordar Form 1208/4TP (If 4•pert Ht, ll•hole top punch)                                      Orclar Fc,,o,J 1 '",e/llTP (It !!•p art Ht, II-hole top punch)




                                                         PHYSICIAN'S ORDERS

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Form 12011 BRIGGS, Des Moines, IA 50306 18001247-2343
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                                                                 PEN ONLY
                                                                            CCI 000281
            Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 81 of 200 PageID #: 1964
              Standin g Orders for Adminis tering Inactiva ted Influenz a Vaccine s
                                                                                     by state law, may
Protocol: Under these standing orders, qualified healthcar e personnel where allowed
vaccinate TDOC inmates  who meet any of the criteria below.

Procedure :
                                                                                                 the following priority
   1. Identify inmates and health care workers in need of influenza vaccinatio n based on
      groups:
      a) All clinic health care workers;
      b) Pregnant inmates
      c) Inmates aged ~O years;
                                                                                                            ion); renal;
      d) Inmates with chronic pulmonary (including asthma), cardiovas cular (excluding hypertens
            hepatic, neurologic , hematolog ic, or metabolic. disorders  (including diabetes rnellitus);
                                                                                                          be at risk for
       e) Inmates aged :518 years and receiving long-term aspirin therapy and who therefore might
            experienci ng Reye's  syndrome after  influenza virus infection
      f) Morbidly obese (body-mas s index 2: 40)
      g) All other inmates
                                                                                               to the influenza
    2.   Screen all inmates and healthcare workers for contraindi cations and precaution s
         vaccine:
                                                                                              after receiving a
         a. Contraindi cations: serious reaction (e.g., anaphylax is) after ingesting eggs or
         previous dose of influenza vaccine or an influenza vaccine componen t.
                                                                                                         rre syndrome
         b. Precaution s: moderate or severe acute illness with or without fever; history of Guillain-Ba
         within 6 weeks of a previous influenza vaccinatio n

                                                                                                      with a copy of the
    3.   Provide all patients (or, in the case of a minor, their parent or legal representa tive)
                        federal Vaccine  Informatio n Statement (VIS). Document      in the patient's medical record or
         most current
                                                                  given  to  tile patient (parent/leg al representa tive).
         office log, the VIS publication date and the date it was
                             h  speaking  patients with a copy of the  VIS  in  their native language,    if available and
         Provide non-Englis
         preferred; these can be found at www.immu nize.org/v is.
                                                                                                                tion and
    4.   Follow the Center for Disease Control's recommen dations for vaccine dosage, administra
         storage:
                                                                                                                    e-free
                •   Multidose vials contain a small amount of thimerosal as a preservativ e. Preservativ
                    vaccines are single dose. Vaccines     must  be stored  in a refrigerato r at temperatur es  between
                                                                                                                   deltoid
                    35°F-46°F (2°C-8°C) and should not be frozen. Adults should be vaccinated in the
                    muscle using a 22-259, 1-1½    inch needle.  An adult dose  is 0.5 ml. IM.
                                                                                                                         in
                •   A% inch needle may be used for adults weighing less than 130 lbs (<GO kg) for the injection
                                                                     tight, subcutane   ous  tissue is not bunched,   and
                    the deltoid muscle only if the skin is stretched
                    the injection is made at a 90 degree angle.
                                                                                                        places:
    5.   Document each inmate's vaccine administra tion informatio n and follow up in the following
                                                                                                        lot number, the
         a. Health Record: record the date the vaccine was administer ed, the manufactu rer and
         vaccinatio n site and route, and the name and title of the person administe'r lng the vaccine.
                                                                                                  tion of the
         b. Personal immunizat ion record card: Record the date of vaccinatio n and the name/loca
         administe ring clinic.
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This standing order shall remain in effect for all patients of the._ _...J/,_\j        _C  ___ _ ___ _____
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until rescinded or until          L\     3 IU                        .
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Facility Medical Director's signatur~                        Q_          Effective Date:~                  \   ~
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    Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 82 of 200 PageID #: 1965
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Form 1208 BRIGGS, Des Moines, IA 50306 (800) 247-2343
                           PRINTED IN U.S.A                        PLEASE! USE BALL POINT                        PHYSICIAN'S ORDERS
                                                                         PEN ONLY


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             Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 83 of 200 PageID #: 1966
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Allerg_ies.            ~'(.)       ft"                                                                                    DOB/Inmate#:                    Location:                           Name:
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Form 1208    BRIGGS, Oes Moines, 1~,;"::!r~lu~~247-2343 wwwBriggsCorp.com   PLEASE! USE BALL POINT               PHYSICIAN'S \
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          Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 88 of 200 PageID #: 1971
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FORM CCA 1206
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       Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 91 of 200 PageID #: 1974
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                           Brand: ZYRTEC        MELISSA A BREITLING, MD




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             LOCATION                           DATE OF BIRTH OR SOC SEC NO   ALLERGIES                                                                        DIAGNOSIS
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             PATIENT NAME AND /IUMBSI                                                     FACILITY                               CHARTING FOR   IIBROUGH
               PLEASANT. BEY BOAZ 4731 10                                                   HARDEMAN CO CORR FACILITY             03/01/2013     03/31 /2013
                                                      Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 94 of 200 PageID #: 1977
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FORM CCA 1206
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         Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 98 of 200 PageID #: 1981
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                    LORATADINE 10 MG TABS -CLARITIN-

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             Diagnosis:                                                                                              473110                            6512-                   MAIN                PLEASANT-BEY, BOAZ
              No Known Drug Allergy
             Allergies:                                                                                      DOB/Inmate#:                             Location:                                   Name:
             #3150 REV 4/ 10
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Diagnosis:
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Allergies:
#3150 REV 4/10
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                 and conlenl may be dispensed unless checked
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                       lnitital Intake Orders:                                                                                                    1-- - - -
                           1. Refer immedia tely to mid-level provider or physicia n if
                               inmate presents with signs or symptom s of infectiou s TB
--
                               disease at intake.
--                         2 . CBC
                           3. Blood Chemis try Profile
                           4. RPR
                           5. HIV test
                           6.    rs~ i'P 46'jfZ'A'(~,5 ~ AG--lf f)I<, 4'5 L?J~           >
                           7 . Gonorrh ea/Chla mydia culture by urethral swab
                           8. Clean catch complet e UA
            .
                           9. TB skin test if no verifiable or docume nted history of positive
                               millimet er reaction or active TB disease
                          1a.Tetan us/dipht heria immunization ages 18 and over
                               if no allergy.
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            Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 130 of 200 CCI  000330
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                                                        0              enies new onset of symptoms

                          I                                   i:.J   New onset of the following symptoms (circle all that apply):            Headache        Feve1-/Chills


                      r   i
                                                                     Cough (describe)

                                                                     Nausea/Vomiting           Diarrhea
                                                                                                                                       Shortness of Breath

                                                                                                                         Other (desoibe)
                                                                                                                                                               Difficulty B:·eat111ng


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                                                  0.- Oral T e m p e ~
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                                                         If "'YES" to any of the above symptoms or oral temperature greater than 100 4 ° F, obtain the following

                                                         and notify provider.

                                                         BP                           p                        R                   02Sat _ _ _ __

   I                  l
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                      I                           A.- Potential for Alteration in Health Maintenance



                                                  P. -    Patient educated on quarantine procedure . Continue current plan of care.

                                                         o Provider contacted :

                                                                     o Via Direct Connect at                   OR :~ Call placed at _ _ _ _ with Return Phone Call at _ _ __
                                                                                           ---------
                                                         iJ     Orders received and noted




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              0 2J          S - ~ ~s1 1~g unit      .wTI._ fo~ quarantine a_sses_s_m_e_n_t._ _ _ __                                        -_ J
                              ~Denies new onset of symptoms

                                o New onset of the following symptoms (circle all that apply): Headache                 Fever/Chills
                                                                                                                                                 I
                                    Cough (describe)                                             Shortness of Breath      Difficulty Breathing

                                    NauseaNomiting              Diarrhea        Other (describe)



                            0 ...Q.mi-Temperature
                               If "YES" to any of the above symptoms or oral temperature greater than 100.4 ° F, obtain the following

                               and notify provider.

                           BP                         P _____  R
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                            A.- Potential for Alteration in Health Maintenance
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                            P.- Patient educated on quarantine procedure. Continue current plan of care.
                               •   Provider contacted
                                                                                         -----------                   --     -
                                   ll   Via Direct Connect at _ _ _ _ . OR    f.J   Call placed at _ _ _ _ with Return Phone Call at _ _ __
1----- - -+-- - - - - - 1 - -- - - -
                               0   Orders received and noted:


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                                                   , I\Jew onsei of the follow1ng symptoms (circle al! that apply)                                            Headache        Fever/Chills

                                                      Cough (describe)                                                                                  Shortness oi Breath

                      I                               Nausea/Vomiting                                   DiaiThea       Othe, (de scr:be)
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                                         0 - Oral
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                                                          Temperature :                           /
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                                               If "YES " to any of the above symptoms or oral temperature greater than 100 4 ° F, obtain the following


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I                                   , A.- Potential              for Alteration in Health Maintenance




                                         P.-   Patient educated on quarantine procedure . Continue current plan of care.

                                               o Provider contacted :

                                                    c Via Direct Connect at _ _ _ _ OR : , Call placed at _ _ _ _ with Return Phone Call at _____ _                                              J
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                                                        TENNESSEE DEPARTMENT OF CORRECTION

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  iNMATE NAME                          :-L          ~ \ eo..'::,n n-\- -btL~                          mac NUMBER           J-.-113 \\a
                     TIME               Circle, Check, or Write in the necessary information

                  {<WV                  S.- To housing unit:_ltJ.0_ for quarantine assessment

                                               Cl   Denies new onset of sympioms

                                               o    New onset 01 the following symptoms (circle all that apply):   Headache        Fever/Chills

                                                    Cough (describe)                                         Shortness of Breath     Difficulty Breathing

                                                    NauseaNorniting          Diarrhea         Other (describe)



                                       0.-     Oral Temperature:

                                              If "YES" to any of the above symptoms or oral temperature greater than 100.4° F, obtain the following

                                              and notify provider

                                              BP                    p                R                  O2Sat



                                       A.- Potential for Alteration in Health Maintenance


                                       P. -   Patient educated on quarantine procedure. Continue current plan of care.

                                              o Provider contacted;

                                                   • Via Direct Connect at           OR o Call placed at _____ with Return Phone Call at ___ ·---

                                              o Orders received and noted;




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                             0 .- Oral I e111per;:iiu 1 .

                                If YES· to any o1 the above symptoms or oral ternpe; atu1 e greater than 100 4' F obtain the following

                                817d notify provider

                                BP                      p                        R                                       02S2i




                             P. - Patient educated on quarantine procedure Continue current plan of care
         ~-                     , 1 Provider   contacted
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                                   ;~, Via Direct Connect at                      JI!               C.: ! 1.I.;• l' ,,1           with Return Phone Call ;;t




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                       I                                            ' I\Jew 011set of the following symptoms (circle a!! tha1 apply):              Headache           Fever/Chills

                      r                                                Cough (describe)




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                                                                       Nausea/Vorn1lr!lg             Dia; :·hea       Othe: (describe)


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                                                                    "YES" to any of the above symptoms or o: a ~ emp_erature greater than 100 4~

                                                                  and notify provider
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                                                           A · Potential for Alteration in Health Maintenance



                                                           P. -   Patient educated on quarantine procedure. Continue current plan of care

                                                                  n Provider contacted:

                                                                     c Via Direct Connect at _ _ _ _ OR ·, Call placed at _ _ _ _ with Return Phone Call at _ _ __
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          Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 137 of 200 CCI  000337
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                                               TENNESSEE DEPARTMENT OF CORRECTION

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INMATE NAME:       fk_osl!.nt - Bct~- J-                         "boo..2                           TDOC NUMBER:           C)Q L\ I      3 I/ 0


      DATE         TIME         Circle, Check, or Write in the necessary information

~/@D/:JC       ~~:     \Cl      S.- To housing unit:       ~/\J \)     for quarantine assessment

                                   ~Denies new onset of symptoms

                                      •   New onset of the following symptoms (circle all that apply):            Headache         Fever/Chills

                                          Cough (describe) :                                                Shortness of Breath       Difficulty Breathing

                                          NauseaNomiting               Diarrhea        Other (describe) :



                                0.- Oral Temperature:        v1 ~ ·'6
                                   If "YES" to any of the above symptoms or oral temperature greater than 100.4 ° F, obtain the following

                                   and notify provider

                                   BP                       p                  R                      O2Sat




                                A.- Potential for Alteration in Health Maintenance

                                                                                                                                                     ---
                                P.-   Patient educated on quarantine procedure. Continue current plan of care .

                                      •   Provider contacted :

                                          •   Via Direct Connect at               OR   •   Call placed at            with Return Phone Call at

                                      •   Orders received and noted :




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                                •
                                                        TENNESSEE DEi.. .,MENT OF CORRECTIONS
                                                        SiCK CALL REQUEST

                                                               ,re _
                                                        (SOLICTTUD POR SERCO S DE SALUD)

                                                        INSTTTUTION (INSITUOON)
                                                                                                                rµ\::~l~'":2~?_ ·.~8
                          Print Name (Escn"ba SU Nombre: vw, 4-- I ( C?U U,v I
                                                                                    1.-Kd I                                         4./Je7il.(}
                          ID#   1:Z ?II O                  (Fecha de nadmlen to):

                          Nature of problem or request (Naturaleza del Problema):
                                                                                     pIIl       I%
                                                                                      Date of Birth
                                                                                                       s   (Unldad de VIVienda)   t,J D - I   as
                                                                                                                                    Housing Location


I •
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                         I request to see (Le pido que vea):
                                                                     Med icals ---            Dental   •       Mental Health•
                         PLACE THIS SUP IN THE MEDICAL REQUEST BOX.                                                            Signature (Firma)
                                                                        DO NOT WRITE BELOW THIS LINE.
                         PON ESTA SOUCITUD PARA SER TRATADO POR El PERSON
                                                                         AL DE SALUD POR LAS CONDICONES DESCRITAS EN LA CAJA
                         (NO ESCRBA DEBNO DE ESTA LINEA.)                                                                    MEDICA

        ·~               Triaged by:_ ___ __ Referred to: (Orcle one)
                         SpecialtyOinic: _ _ _ _ _ _ _ _ _ _ _ _ _      Nurse  Mid-level  Physician MH    Dental
                                                                    _ _ _ _ Other _ _ _ _ _ _ _ _ _ _ _ _ _
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                             TENNESSE E DEPARTMENT OF CORRECTION
                             StCK CALL REQUES T
                             (SOUCITUO POR SERVICIOS DE SALUD)

                                 Tl<-c.     INSTITUTION (INSIDUCION)

               Print Name (Escriba su nombre): l3o41,.    P/erg@d-&u71                                  Date-Of request (fed1a de solicitud):               t//15 /; O
               TOOC#       4 73l I O                 (fecha de nacimiento):           b /1 g / '6 3                                {llnidad de Vivienda)      W D - I;) 5
                                                                                                 Date of Birth                                                Housing Location




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             I request to see (Le pido que vea):    Medical (Me<>co} ~            :,Gt              Dental D                               51a7alth D
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             PON ESTA SOLICITUD PARA SER TRATADO POR EL PERSONAL DE SALUD POR LAS CDNDICIONES DESCRITAS
                                                                                                                                                           EN LA CAJA MEDICA
             (NoisCR/BA DEBAJO DE ESTA LINEA).

             Triaged by:                                  Referred to: (Circle one}:              Nurse                Mid-level

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Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 140 of 200 PageID #: 2023
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                                    TENNESS EE DEPARTMENT OF CORRECTION
.                                   SICK CALL REQUES T
                                    (SOUCITU O POR SERVICIOS DE SALUD)

                                          rrc c'INSTITUTION (INSTITUCION)

                  Print Name (Escriba SU nombre):      t3'),4 7 ,Piear,u 'f= 8                                         4-} 7 /J 0
                                                                                                          Date {)f request (fecha de solicitud):
                  TDOC#           j 73 jl C                   (fecha de nacimiento) :            G/1?/.J 3
                                                                                                    {llnidad de Vivienda) £,1; D -/.)-'7A
                                                                                     o·ate of&rth                          Housing Location
                  Nature. of probl~ or request (Naturatyza del problema): 7lie- rl:.     be I 1-Y/ p vf.b-mwr i"s hreo£ 1t/'7
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                 I request to see (Le pido que vea):         Medi~al (Medico)    ~                      Dental O                       Mental Health D

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                PLACE THIS SLIP IN THE MEDICAL REQUEST BOX.     DONOTWRITEBELOWTHISLINE.
                PON ESTA SOLICITUD PARA SER TRATADO POR EL P!:RSONAL DE SALUD POR LAS CONDICIO
                                                                                              NfS DESCRITAS EN LA CAJA MEDICA
                (NO ESCRIBA DEBAJO D_E ESTA LINEA).

                Triaged by:                                         Referred to: (Circle one):         Nurse        Mid-level

                            CR-3793 (REV) 02/2017
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                             TENNESSEE DEPARTMEN T OF CORRECTIO N



                                 ,,cc
                             SICK CALL REQUEST
                             (SOLICITUD POR SERVICIOS DE SALUO)


                                            INSTITUTION (INSTITUCION)

              Print Name (fscriba su nombre}:      6:>At Ple.,,sa,. ~~                          Date of request (fecha de solicitud}:
              TDOC#      4(l 3 L l, 0                 (fecha de nacimiento):              blt 'f Ir 3                   (Unidad de Vivienda}   tJ I)-,~ A
                                                                                            Date of Birth                                        Housing location

              Nature of problem or request (Naturaleza del problema}:     ,,,.,       ~ ,..,. 7 ! ~ • ~ C:'A/       , ,'n -       • 1yx I,.,_,.,.' " , "~:.2.:£.
                       u,'J.akel        I   .So4eeA.£.         l el-
             C   {ear uo S: OLfe , Lc:lA) ;£ fmvr
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             I request to see (Le pido que vea}:     Medical (Medico) ~                        Dental O                        Mental Health D

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                         .        -     -       -
             PLACE THIS SLIP IN THE MEDICAL REQUEST BOX.           DONOTWRITEBELOWTHISLIN£
             PON ESTA sou_ c_ i_TUD PARA Sf-- R TRATADO POR EL PERSONAL DE SALUD POR LAS CONDICIONES DESCRITAS EN LA CAJA MEOICA
             (No £SCR/EJ4 of/JN_o DE Er5TA UNEA).

                                                            Referred to: (Circle one).                      Mid-level


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                                           A    011tP-nine: Chain. Reason for transfer :                                r<Z. .~
                                                                                               /
                                           P - PE up to date: yes                          v , _no
                                   '
                                                PPD up to date: yes                           \/     no                                           -             I                    -
                                                                                                                                Vi-[~                 J / 1_ /)if ( )
                                                                                                                                ( l(',, ~     I    \ V'I.Q l~r.r            1'4l' / IR




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     Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 144 of 200 CCI  000344
                                                                              . .
                                                                      PageID #: 2027
                                                                   TENNESSEE DEPARTMENT OF CORRECTION

                                                                  · PROBLEM ORIENTED - PR.OGRESS RECORD
:   ,                                                                                                WTSP                                      '
                                                                                                     INSTITUTION


                          · -'-/,f,._a~_r_Q::....:..n....:....+...:..__----1.&_.a.,.¥-lf_t)=/.t:::.)Q,<l_..i.?_
        INMATE NAME: _ _7i,:_                                                                                           _ __      TDOC NUMBER:
                                                                                        l



             DATE                  TIME


        -Z//t!/16L o ~ol lAJ"T)'f                     S-Transferred from ·                                    TTCr                     to WTSP
                               I                                                 -                       ✓
                                                      P - Record received: Yes                                          No                                                  ·.

                                                          Medication orders: Yes                                         No r_-----
                                                                                                                                   -----
                                                                                                                   ;

                                              I           Medication received: Yes                                           No
                                                                                                                   I


                                                          Medication cards defaced: Ye~
                                                          Most re~ent PE:·                      I o-2Jy-i1·
                                                                                                                                   No
                                                                                                                                           ---- !l'J- 21-! 9
                                                                                                                                         PPD:                   I


                                                      ,   IIlV teaching date:                         /J -Z 1-(qi                                                                     -

                                                          Instruction: Oral Hygiene, HIV, HCV, TB, Sick Call, Medication Times,
                                                          Health Orientation complyte: Nurse:                                      ~    I( 1 ,IA_A     p(k}Jlfh L/AJ
                                                                                                                                                          I

                                                          CR-2178 completed and signed·: Yes                                      V -/No
                                                  . A - Routine health screening done for WTSP
                                                      P- Make all aooropriate referrals.                                                               ,r-,.,

                                                          Comments: /llC A 1,/,1, 1111
                                                                                                 l   I
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        2)/t, hP:)o
             ,              5o)Wl1V'
                             I
                                                                              0. No complaints voiced
                                                                              A. seg. urnc cffeck and nealtnc:are onencac,on
                                                                              P. Informed of medication times/sick call availability,,,
                                                                                                                                                        '
                                                                                                                                                       ~
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             CR-1884 (Rev 03-2017)                                                           Printed or Duplicate as Needed                                                      RDA 1100


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                                                                                 PageID #: 2028
                                        TENNESSEE DEPARTMENT OF CORRECTION
                                        PROBLEM ORIENTED - PROGRESS RECORD

                   ~
                                                     :rr,(..  INSTITUTION

 INMATE NAME:      JU a.sorr+, ~' '&4G::                                             INMATE NUMBER,         _4..L.....:-7.....3""-L..J//L...lol)
                                                                                                                                           ___

DATE     TIME/PLACE      PROB
                         NO.

'~~       ,~~~            s     Inmate refused the Influenza vaccine

                          0     No signs of distress noted at this time

                          A     Alt in Health Maintenance
                          p     Counseled as to benefits of receiving vaccine and risk of not receiving vaccine up to and

                                Including death. Also lntructed to return lo cllnlc on sick call and request vaccine If decision changes.

                                Inmate voiced understanding of risk and and Instructions to obtain vaccine at a later date. No questions at

                                this time, Refusal form signed by inmate.-----· --
                                                                                              -----·
                                                                                   /1,..,1/4, - . ~, ,I] 't/i~rfv'> /.
                                                                                   Nurses Signature




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   CR-1884 (Rev. 5-01)                                  Printed or DupUcate as Needed                                       RDA 1100


   Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 146 of 200 CCI  000346
                                                                    PageID #: 2029
                                          TENNESSEE DEPARTMENT OF CORRECTION

                                           PROBLEM ORIENTED - PROGRESS RECORD

                                                               =fsrJ:10~ C
    INMATE NAME:    fiJA-z .p)t¼IJ.c1J -~                                               TDOC NUMBER:               -1 Z3, 11 0
      DATE           TIME

                      s         Inmate requ??st~-!_nfluenza vaccine. CDC VIS for 2015-2016 Seasonal Flu Vaccine given to

                                Inmate for review_ ~        t have any questions at this time .

                      0         Inmate meets CDC Guidelin~ ~ c eiving Influenza Vaccine

                      A        Potential fo r alteration in health maint~.

                      p                      (2018-20 19 formula Lot   #030l.~         ff\'3XP '6,/~ 1:a jl'J) 0.5cc given IM in
                               with 25g 1 in. needle Inmate instructed to sign up ~ l ine sick call with any side-effects

                               of the Flu outlined in the VIS. Inmate voices understa nd, ~onsent form signed




                                                                                                   ""
                                                                                                   __,
                                                                                     Nurses Signature


'\.    '\ .
\':::>\\0..,\ \'v     s        Inmate refused the Influenza vaccine

~0
...,,
.
                      0        No signs of distress noted at this time

                      A        Alt in Health Maintenance

                      p        Counseled as to benefits of receiving vaccine and risk of not receiving

                               vaccine up to and including death. Also instructed to return to clinic on sick

                               call and request vaccine if decision changes. Inmate voiced understanding

                               of risk and instructions to obtain vaccine at a later date . No questions at

                               this time . Refusal form signed by inmate .


                                                                              r-'A   /Y,.. ...........--..     ,.r J
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                                                                             ( ' ) Nurses Sir(nature)
                                                                             \__/                 '--...---"




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      CR-1884 (Rev. 03-2017)                               Printed or Duplicate as Needed                                          RDA 1100




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                                                                       PageID #: 2031
                                          TENNESSEE DEPARTMENT OF CORRECTION

                                          PROBLEM ORIENTED - PROGRESS RECORD
                                                                              Gil- 1
                                                                    INSTITUT ION

INMATE NAME: .\?\         ea                  ±J2e1j ,              Pm2_                    TDOCNUMBER:         47 511'0

    DATE          TIME


4· 1'1- 19>   11',\'I..M
                                                                      /\
                               Transfe•red from TCIX on ( 1' 1Yu.JI I '6.
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                                                                 PageID #: 2032
                                          tlllNESSEE DEPARTMENT OF CORREC

                                          PROBLEM ORIENTED - PROGRESS RECORD
                                                       TC IX-MAIN
                                                                       INSTITUTION


INMATE NAME:    _\)
                 __,\c.__:f:=-Cl.=-----==-=-~·t-=--~-~--==-...:...=..1-ti -____._.__,.~~Q-=-=--='2-=-- - TDOC NUMBER:        4'13110
  DATE          TIME

                              ENTRY: PROVIDER CHART REVIEW - INTAKE. Patient received today on Intake at TCIX-Main; chart

                              reviewed for:     J / j, 18 d.R-c.e                     ~ -       /+J {}- ~~
                              Current Medications:          Reviewed (see orders if applicable}

                              Diagnostic Tests:         Reviewed (see orders if applicable)                /'/

                                                                                ee orders if applicable)



                             TB Testing / Screening:            r;     I t-
                              Level of Care (LOC):       6)       II      Ill       IV      V

                              Mental Health Referral:           Yes      @
                              Enrolled in Chronic Care Clinic:                  Yes      ~
                             Date of last CC appointment: ~                                     Seen by:         MD     PA   NP
                              F/U:      Place in CCC in _ __days (see orders if applicable)

                                       MO Clinic in _ _ _ days (see orders if applicable)

                                       PA/ NP Clinic in _ _ days (see orders if applicable)




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                                                                   PageID #: 2033
                                                TENNESSEE DEPARTMENT OF CORRECTION

                                                PROBLEM ORIENTED - PROGRESS RECORD
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                                                                                                            Iv,,.'-··) .-i
                                                                                       INSTITUTION


INMATE NAME:    _o....Jo\.c....~~Q.=D-=/lf).:....:..,.1~4--\-fu=--.t.c::...~=..:i-l__.@;>....:__~--=--=----=~                           TDOC NUMBER:                            Y131 / D

  DATE          TIME


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~           r1Ji.rv.J.p             ·r\s () oeCLo_,,;l,LJL~
                                ro'> r .h r~, -1       u    L✓         \ /I        Qll                          -{J...._f_('            -       Vl        f) ' / l'1       _O    {)r ,11_ n 1>
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                               V-.p)            f\_ I     / ")       (lv/Y\                    l1               I?   ~,n /',            0 rl              ,C'i __. l u     b.l11 .rv---it .D
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  CR-1884 (Rev. 03-2017)                                                       Printed or Duplicate as Needed                                                                               RDA 1100




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                                                                 PageID #: 2034
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                                                   TENNESSEE DEPARTMENT OF CORREC'~ION

                                                   PROBLEM ORIENTED - PROGRESS RECORD
                                                                         NECX
                                                                    INSTITUTION


    INMATE NAME         P\ea~t- ~                            B@c ~                       INMATE NUMBER            L\r:13 lO

                                PROB
  DAT E       TIME/PL.ACE
 - - - -- 1-- - - - ----J        NO.
                                   - -+-- - - - -
l ~ l.lQ!J   ~ NECX                   Inmate refused the lnfiuenza vaccine, and wa s counselled on the dangers of refusal. A refusal form was

                                      signed The inmate verbalized understanding of signing up for routine sick call if wants to consent to

                                       receive the Influenza vaccine .




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          CR-188'1 (Rev 5-01)                                  !-"nnferf or Duplicate as Needed                               RD,A 1100


          Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 152 of 200 CCI  000352
                                                                           PageID #: 2035
                                     TENNESSEE OEPAl~1MENT OF COI\RECTION

                                     PROG U =M OR!r='NTED - PROGl~ESS f~ECOf~D
                                           NECX CORRECTIONAL COMPLEX

                                                           INSTITUTION


INMATE NAME         -~               be/ 1        ~ . .:0:::...1<1.-=-
                                                        ::             - - - - INMATE NUMBER :   i-f73 I l-=--
                                                                                                           0- ~

    0/J,TE   . TIME/PU\CE   PROB




                   NECX            I) Heal1l1 screening done

                                   2) Reason for transfer is:

                                     pernianent / medical return

                                   3) Meds   -1


                                   4) Medical record was reviewed with:

                                     a) no refe1Tals indicated at this time



                                   5) Referred to :     MD / NP / Psych / Dental / Optometry



                                   6) Reason for referral :




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                                                                     PageID #: 2036
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                                                             PROBLEM ORIENTE D - PROGRES S RECORD
                                                               We st TP.nnessee State P enl'len'liary
                                                                                            INSTITUTION


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                             ~ °''------'--'----'----'C11?-......,,""'~""'l-)+--'-'~
   INMATE NAME: -'-r----'1-----=-==-c                                                      --=--?_=-- - INMATE NUMBER:
                                                                                     Oc._·c..._
                                                                                                                                                               L/73) )0

DATE              TIME/PLACE            P~gs          Court Return Assess ment
 t                              , !/M was seen this AM/ :if\ after returnin g to the faci\it from court.
                                          S
                          O'.___~I/M
~..!.....J..-5..+~ ~ ~-i-..:::      "..:. :. . . .!p:::.:r.:::.e.::-..se~n:.:_t:~s~a::.::s:...:A__:_&::.:::::..O.x,:;; ~ .:_T:...:h .:.::o::..:u:.3;9!.:..:h:.t.:. rP.:ro
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                                                                      PageID #: 2037
                                          TENNESSEE DEPARTMENT OF CORRECTION

                                          PROBLEM ORIENTED - P~OGRESS RECORD
                                                 · LD~V-~

     INMATE NAME:             'P ~                                                                   L)--C ~ \ \   0

DATE                               PROB
                    TIME/PLACE
                                    NO.
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                      7:ct f)
                                                  5 · SEGR!!GATION UNIT CHECKS
                                                    n    r,.1n        -    ... '"·--       ,

                                              A. SEG. UNIT CH_ECK           AND HEALTHCARE
                                                                      -       IAIIVN
                                               P. INFORMED OF MFntf'ATln"-• T'"-' ~~,
                                                        SICK CALL AVAILABILTIY

                                                                  -                                     "'
                                                                 t'       O"n-c-it \)OoO J.\.   ,,   ~~u                ~,. '---
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    Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 155 of 200 CCI  000355
                                                                     PageID #: 2038
                                                   TEl\!1\JESSEE DEPARTl\llEl\!T OF COl~l~ECTJQr✓

                                                   PROBLEM ORJEIHED - PROGRESS RECORD
                                                                                \}J     --r~P
                                                                                  INSTITUTION


 1NMATE NAME:        _ P~le___,_,a..__s.-..:::a:..: .Y\       __-_ Be==-~
                                                     . . . . ;+                       o..g_
                                                                       -1-J-J--2B!E.-.:c.. ;. . .:"'--'-z.=----   1NMATE NUMBER:   --,-l/_7_3_/_/_b___
                             PROB
DATE       TIME/PLACE
                              NO.

           ('1                                Transferred from                                                     to WTSPC.rf-
                                                Record received: Yes                                               No
                                                Medication orders: Yes                       a                     No         ~
                                               Medication received:Yes                                             No         ✓
                                                Medication cards defaced: Yes                                        No       ~
                                             . ·Most recent PE                  -~-,.)-3~ 1'7 PPO: l.r lf-- (7 .
                                                Instruction: Oral Hygiene, HIV, HCV, TB, Sick Call, Medication Times,


                                                 CR 2178 completed and signed: Ye.s :_______
- ----+- - -- -;----                    -i--- --             - - - - - - - - - - - - , - - - - - - --                                    - - --    ---
                                    a              Routine Health Screening done for WTSP
                                   p           Make all appropriate referrals.




                                                            NIT CHECKS.
       S                                      O. NO COMPLAINTS VOICED
- --=-+- -- ~- -+-- ---1.~~.-t1~{ T CHECK AND HEALTHCARE
                                                      ORIENTATION
- -----t--- - - - + - - - - + - ---...-•..... FORMf:D OF MEDICATION TIMES/
                                               SICK CALL AVAILABILTIY




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     Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 156 of 200 CCI  000356
                                                                      PageID #: 2039
                           TENNESSEE DEPARTMENT OF CORRECTION

                            PROBLEM ORIENTED - PROGRESS RECORD
                                           NECX
                                         INSTITUTION


 INMATE NAME:    /JJ1.asant- 8eq J 16/JoZ-                   INMATE NUMBER:   1-f   Z3/ /I)




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                                                                 PageID #: 2040
                                            TENNESSEE DEPARTMENT OF CORRECTION

                                            PROBLEM ORIE~T\:.D-=. PROGRESS RECORD
                                                             '~(
                                                               INSTITUTION

     INMATE NAME:      1?\'lfl'.-'cJ -'f::,q_,{j &c;,z:.                             INMATE NUMBER·                 L/B JI{) - -

    DATE      TIME/PLACE   PROB
                            NO.

~~-~          rfL(\        t<EW   Inmate refused the Influenza vacci ne. and was counselled on the dangers of refusal. A refusal form was
              -
                                  signed. The inmate verbalized understanding of signing up for routine sick call if wants to consent to

                                  receive the Influenza vaccine.
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                .,"'                                                                          ()    \.}        l{)      Nurses Signature




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           Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 158 of 200 CCI  000358
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                                                 TENNE SSEE DEPAR TMENT OF CORl~ ECTIO N

                                                 PF~OBLEM ORIEN TED - PROGR ESS RECOR D
                                                      NECX CORR ECTIO NAL COMP LEX

                                                                        INSTITU TION


                                                                                              INMAT E NUMBE R :      _!f_:J-3.Jj_O___

     DATE      TIME/P LACE PROB
                            NO .
                                   ii>       Rccci ved from                               to NECX on /      b _. '-It      via chain
                   NECX                      l) H cahh screeni ng done

                                             2) Reason for ti-ansfer is:

                                                 pernrnn ent / medica l return                      transit for court/v isit
                                             J)Med s +     c:J            MARS +       C)     receive d
                                             4) Medica l record was review ed with :



                                                 b) refen-al/ referral s made as indicat ed

                                             S) RcfeITed to:     MD I NP / Psych / Dental / Optom etry / Lab /

                                                 Chroni c Care I Treatm ent / Medica l Record s / Other

                                             6) Reason for refeJTal :



                                             '/) Chart review ed by ·




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                                                                 PageID #: 2042
                                                   PROB LEM ORIE NTED - PROG RESS
                                                                                  RECO RD
                                                  MCC X- (Cha in Cha rt Rev iew)

       INMATE NAME          ~~                                  .,.___B
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                                                                                       --                 INMA TE NUMB ER


  DATE          TIME/P LACE       PROB


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                                                                                                                          _~~lt_·~ \IJJ\. Gtll\l
                                              1:: alJJJ__scrc1~g_ don c                         .....~..1 _ _ _ _ _ _..1-jJ ,u__,___   _ _ _ _ _ __
                                          :, ,.. Rr-::1•,wd w lw 11:,!c
                            I rm ane11·          SP I\J O/Ho sR!_l~ t                                     1     & aur t rc lur;:5 Tran sit for coJlJ
 - - - 1 -- - --.-- - . -J- MecJ,cr1l1_n
                                         ~'.d i , lu rn ecl     YES                    •             Jf_No· Ml\      S rec'd       YE  •  ,~        _
                     '1 ~rc~ ~il1-.J.ctd~ t1 LLQJQ.!:.JY1 ~rl ica l.0:_J vid er
                                                                                                                      r 1 Y E - -~            _ __
                     5 -~
                        Referrals indic ated for Ment al Heal th
- --; ---- --- ;-- --.     --                                                                      • YES
                                                                                  ----- --=. .c-'- -----     L== =-.: ...c - -~-
                                         6}.B eferrals indic ated for De n ta_! - - - -
                                                                                          -- - -=•==-Y:.....E_S
                                                                                                              _ ____,=--~.,..;....:..
                                                                                                                                 0_ _
- - -¾ ---- -+- --                    -,~7 Refe rrals indic ated __    __ __ __ __ __•__
                                                                  for Lab                             YES     ____.;..;.....;...~- - - -
                                         8) Refe rrals indicated for HIV+
                                                                                                   • YES
                                         9) Refe rral indic ated for INH/ B6


                                         11 )l'vledical record reviewed by:




         '--- - - ~- -~ - - - -                  ---

       CR - 1834 (Rev 5 .-J\)
                                                               Pnn:~(f or Duplir:c.1rc a s fl e erf c d




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                                    TENNESSEE DEPARTMENT OF CORRECTION

                                    PROBLEM ORIENTED - PAOGRESS RECORD
                                              \ I>---CS,
                                               V
                                                     INSTITUTION

 INMATE NAME:          Pie a.s-eh-1--hg~,, gaa z                            INMATE NUMBER:   C/731/0
                         PROB
DATE     TIME/PLACE
                          NO.

                             s   Transferred from    tJ f    C X.            toWTSP
                                  Record received : Yes         I/"'         No
                                 Medication orders: Yes ·                    No      /
                                 Medication received:Yes                     No
                                 Medication cards defaced: Yes                 No
                                 ·Most recent PE    (p- [ fs--1 l/   PPD:     (l-/1-/(o
                                 Instruction: Oral Hygiene, HIV, HCV, TB, Sick Call, Medication Times,


                                 CR 2178 completed and signed: Yes:

                             a     Routine Health Screening done for Wf SP
                                 Make all appropriate referrals.




       CR-1884 (Rev. 5-01)                          Printed or Duplicate as Needed                RDA 1100




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                                                                    PageID #: 2044
                                 TENNESS EE DEPARTM ENT OF CORREC TION

                                 PROBLEM ORIENTE D - PROGRE SS RECORD
                                       NECX CORREC TIONAL COMPLE X

                                                       INSTITUTIO N


 1NMATE NAME:      J2le..a~be---y-- D,,.~a=a.. . z________ __              INMATE NUMBER ·        Y13 i~~--
                                                                                                       I   ---
    DATE      TIME/PLA CE

                                Rccci vcd from     LD /$                                                via chain
                  NECX          l) Health screening done

                                2) Reason for transfer is:

                                 pennanen t / medical return                     transit for court/visi t
                                3) Meds +

                                4) Medical record was reviewed with:

                                  a) no referrals indicated at this time

                                  b) refenal/ refenals made as indicated

                                5) Refc1Tcd to :                                     / Optomet1 y / Lab /




                                                   Do Not Write on Back


    CR-168/4 (Rev 5- 01)
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                                 r
                                 TENNESSEE DEPARTMENT OF CORRECTION

                                 PROBLEM ORIENTED - PROGRESS RECORD
                                        NECX CORRECTIONAL COMPLEX
                                                                                ----
                                                       INSTITUTION


INMATE NAME         1'.1 Ie6. 7'.M-f-   tlej i 0-aa, 2----                   INMATE NUMBER:




   DATE      TIM E/PLACE



                 NECX           I) Health screening done

                                2) Reason for transfer is:




                                4) Medic~ r~cord was reviewed with:


                                  b) referral/ referrals made as indicated

                                5) Referred to :   MD / NP / Psych / Dental / Optometry / Lab /

                                   Chronic Care / Treatment / Medical Records / Other

                                6) Reason for referral:




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                                                                                                     GRE SS REC ORD
                                                                                            fvlCCX -(Ch ain Chart Rev iew
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NMA TE NAM E:                             ~ .- ~                                              ,   ~                                                                     - - - - - . --- --- ·- · - .---
                                                                                                                                INM ATE NUMBER:
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          9/\T E              TIM E/P LAC E PRO B.
                                             NO .
''/11/,s--                    23 Sa                                    REC'D FROM
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                                                                                                                        to MCCX on /~8 ./J- J- viachain
                                  MC CX                                l) Health Screening done }(Y ES
                                                                                                                        ONO
                                                                      2) Reason for transfer is :
                                                                                                                                    .   .L..   ,4/L" '"../_v'
                                              ..                      • Permanent                                                fto~~t-~e~urn
· ~:: t    • ·..-::=;        ·----~=·.·   ... -~~~i   . : ;-•   ..
                                                                                               . D .SfND/Hospita! Return-:
                                                                                                                                                                    •· Transit for court
                                                                      3)'Medic1fion rec' d/re hl~e d         • Yes ·~     -; MARS rec'd        • Ye s» {                   ,   .      ..
                                                                                                                                                                                                     '
                                                                      4) Referrals indicate~ for Medical
                                                                                                         Provider O Yes"S(N~
                                                                     5) Referrals indicated for Mental
   r---.
                                                                                                        Health O Yes_J(No
                                                                     6) Referrals indicated for Dental
                                                                                                       O Yes.lf/J:-fo
                                                                     7) Referrals indicated for ~b O
                                                                                                       Yes }(N o
                                                                     8) Referral indicated for H(V+                                                                    ··-· __ ...
                                                                                                    0 Yes               ji(No                                                        --·        ..

                                                                     9) Referral indicated for rNH /86
                                                                                                       0 Yes              50"0
                                                                     10) TST Cur ren t~Y es           • No
                                                                                                     ~,/ ;3, /;S-
                                                                                                               Date of last TST
                                                                                                                                                          &-~
                        ..                                           11) Medical Record Reviewed b
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                    Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 164 of 200 CCI  000364
                                                                                     PageID #: 2047
                                                      TENNESSEE DEPARTMENT OF CORRECTION

                                                       PROBLEM ORIENTED - PROGRESS RECORD
                                                                                       WTSP

                                                                                   INSTITUTION


     INMATE NAME:                                                                                         z _ _ INMATE
                         __._P---+'l-ei..£;::,a---'--'-s~a=--n..__+_--~-e-+;3---,J._..,,,e~o-=-a'--------'_                      NUMBER:             _Cf__:73:::...__/_J()_ __

                                PROB
>ATE

     U-,_,- IS
              TIME/PLACE




             <;. -.:}
                        ~-.,~0""'NO.

                                              Transferred from NECi to WTSP
                                              Records received Yes ✓ ·    No
                                              Medication order Yes        No
                                              Meds received    Yes        No
                                                                                                     s
                                          I




                                              Most recent PE      fu-fi?-{                                                       PPD         ?9 -It-Is
 -
                                              Orientation and health
                                              Screening completed U1f_S                                                                                      JI II       A    /,           I


                                              Comments :                            C/N kV1Yt1 I<; .                                             '---WWJ[J(l,~ ~J(U/lf/µ'
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                                                                             PageID #: 2048
                                                         TENNESSEE DEPARTMENT OF CORRECTION

                                                         PROBLEM ORIENTED - PROGRESS RECORD
                                                                        NECX



INMATE NAME:



                                                PROB.
   DATE          TIME/Pl/fE
     •  I
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 fl- ri1-   l(                cl rl 1-1                 Inmate has been advised of the potential health consequences ofJO usiJ, :/!le influenza vaccinf See

                      tJfJ
                                      i:>
                                                /j      Refusal of Health Services CR 3894.       ---11                            V   ¥\A.,{)     ~
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                                                         TENI\ IES·S[ i:': DE:PA RTMi: NT OF COHl~ECT
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                                                             PROB LEM .y:-,m:t--lTED - PROG RESS RECO
                                                        l\!ORTHEAE.lT                  CORRE•.·:TIONAL               CCJM.PLEX

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                                                        Re              .....,.._fr_ry,_;,.:.,x..~~ ~-~~- on &/;;JS-                              vla chain

                       NECX/CC .                         l) Health screening done
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                                                                                                                            __
                          -- - -
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                                                                                is
                                                         2) Reason for transfer.---- --.,. ...,r ;::; .....~ ~-
                                                                                       --...
                                                                                   /    medical return          /                        transit for court/visit
                                                              perma nent

                                                         3) Meds            ·l ·                         MARS

                                                         4) Medical record was re-yie~ed with


 --- -+- --- -... .J- --~ ~-- ·~.
                                                              a) no .refol:1•r1Is in~icatec:I @ thi.s lime
                                                                            ~~                 .......
                                                              b) r. femd / referrals made as fodicated :                             -.. •.. __...... _
                                                                                                                              D1,mtal / Optometr'y / Lab
                                                                                                                                                         _______              __,__

                                                         5) Referred to : 11-ID                      I   NP I Psych
                                                               Chronic Clinic            /     E-;;:s               ~@ iQ:~ :d~          I     -;the r    ·--------

                                                             6) RettBon for referral is :

                                                                 -~~=--f--p-J:i_'di,{~ tJo-~) - fja,;;J-::i 7K                                                &of <

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                             TENNESSEE DEPARTMENT OF CORRECTION

                             PR_OBLEM ORIENTED - PROGRESS RECORD
                            NORTHEAST    CORRECTIONAL         COMPLEX
                                           IN TrTUTION


NMATE NAME:        pre as 0. n+- 00j ·,oa2-
                                     B                         INMATE NUMBER:   ~73)\0

  DATE       TIME/PLACE




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 CR-1884 (Rev. 5- 01)




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                                   PR_OBLEM ORIENTED - PROGRES S RECORD
                                   NORTHEA ST   CORRECTIONAL          COMPLEX


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!NMATE NAME       1-"I fil)ev),t    ,~JCL&j     121        L----       INMATE NUMBER:   73[ (0

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                                                                        PageID #: 2052
                                  TENNESSEE DEPARTMENT OF CORRECTION

                                   PROBLEM ORIENTED - PROGRESS RECORD
                                                        NECX

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    INMATE NAME :                              I
                                                    ~    TJ ~UTION

                                                    Jol)Q,-Z,,             INMATE NUMBER:   4'73/ /0




       CR-1884 (Rev. 5- 01)                        Printed or Duplicate as Needed             RDA 1100




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                                                                      PageID #: 2053
                                          TENNESSEE DEPARTMENT OF CORRECTION
                                          PROBLEM ORIENTED - PROGRESS RECORD
                                                         NECX

                    INAMTE NAME :'                      _ lL\l, - ~~J                                   /2! MATE NUMBER:                                              73{l0
                                                                                                                                                                 Institution Rev _ 09/05
      DATE:       TIME/
                  PLACE
                             PROB. NO .       IVisit for     PHYSICAL EXAMINATION                                                                      DOB:
                                                                                                                                                                     CP/18}?53
      NECX                   CHART REVIEW :                   I                                                                                                            AGE ~'3 \
                                              Last Physical p',xam :up to age 49 - Q3yrs, age 50-64 - Q2yrs, age >65 - Qlyr
    ,---

                                              Date : ?J7_4/ / /
                                                                                                                                                  -
                                              Cu -rent PPD r~ithin 1 year): Date:                       L!\'2/ I<.{          Result: (/;mm
                                              If PPD past positive - Date of last CXR:
                                              LABS
                                              **Inmates up to age 49 :
                                              SMAC,,9jc0ipstick U/A or Complete U/A if symptomatic
                                              Date:     I.(/                              -
                                              Are any ~abs W}th abnormal findings? '(es_L__ No _ _
                                                                                                                                                                --     l
                                              Date: '/J 15<'1      If Test:          I/V\l1
                                                                                     J/- -1         Results:uLJ_ ( (i J;b
                                              Is phyo/1a'n's signature, date, and time recorded on all lab reports?
                                              Yes         No
                                              ************************************K***************************
                                              **Inmate 50 years of age or older (Inmates 50-64, Q2 yrs; over 65, Q1 yr)
                                              Occult blo~reen (Ql-2 yrs): Yes _ _ No               Date :         Result:
                                              SMAC, CBC, C o ~ A (Ql-2 y1·~                      No          Date Obtained:
                                              PSA Ql-2 yrs. (if ind1ca~1·es           ~'         Date Obtained:
                                              Rectal exam {.Q-~yrs): Yes _ _ No - - Date : ~
                                              Are a    abs with abnormal findings? Yes _ _ No - -
                                              Date:                 Test:,,                       Results :
                            (Optional per
                            MD)
                                              I EKG: Yes _ _ No_!._                  Date Obtained:
                                                                                          <..........
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,_                                            CHART REVIEW COMPLETED                  sm\'Jn71~1b&DATE:                                                             (c         L
                            VITAL SIGNS                   I Temp9L.~  Pulse _       1·~Respiration : ~       Bir\ 11'\                                          b) Weight. ,1·'1')
                            TEACHING                I   Subject Reviewed: ( ie . Exercise, Weight Control. Smoking Cessation)
                                                                                                                l        I
                                                                                                                                  '      I             I                                     .J   J

                                              Vital Signs and Teaching Completed By :f'io.h0NJ'/;):m r W•t1 ({jJ::_                                                    DATE:           lo Pfl)lj_
                                                        I (To include assessment of hearing evel');-5 veat~sr-

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                       r
                            MD/NP NOTE                                   I                                                    •


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                                         TENNESSEE DEPARTMENT OF CORRECTION

                                         PROBLEM ORIENTED - PROGRESS RECORD
                                            NECX CORRECTIONAL COMPLEX



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   INMATE N A- --~
                     rfi) __          In &uf
                                ·tr!: ~~,         •
                                                                   TITUTION
                                                                                 INMATE NUMBER :      C/73/J {)
                                                  I




                                PROB.
        DATE       TIME/PLACE
    I                            NO .
/6)biJA              J,U.1)             Inmate has been advised of the potential he ~ conseqences of refusing Lft\influenza vaccine
                                        see Refusal of Health Services CR 1894   { 0 , 1 f',,)U:, V: Jlt),1

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                                                                   PageID #: 2055
                           TENNESSEE DEPARTMENT OF CORRECTION

                           PROBLEM ORIENTED - PROGRESS RECORD
                           NORTHEAST    CORRECTIONAL           COMPLEX
                                          INSTITUTION


INMATE NAME :       PJ oM&..n±- ~ B~
                                  1
                                                               INMATE NUMBER:




   DATE      TIME/PLACE




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    CR-1884 (Rev. 5- 01)
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                                                                          PROBLEM OR IEN TE D~
                                                                                                               NECX
                                                                                                           INSTITUTION

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                          TMEJPI.ACE                                                                                                                                                                                       :_~ -
        DATE.
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                                                         TENNESSEE DEPARTMENT OF CORRECTION
                                                         PROBLEM ORIENTED· PROGRESS RECORD

                                                           Whiteville Correctional Faclllty

                                                                          INSTITUTION


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                        0:    AAOx3. Ambulates without assistance· _Yes _No.

                              CR-3428 Prosthetic Device/ Durable Medical Equipment Receipt given to Inmate: _ _ Yes _ _ No.

                              Screened for communicable and infectious diseases. CR-2178 Health Questionnaire completed. Mental

                              Health Screening/ Inventory completed. CR 3431- Mental Health Referral made: _ _Yes _ __ No.

                              Inmate oriented to nurse sick call, dental sick call, pill window, KOP window, and grievance procedures.

                              Written material given: access to sick call, HIV and AIDS, Hepatitis, MRSA, and proper hygiene.

                              Chart reviewed for Major Medical Conditions and current Physician's Orders.

                        A:    Initial Health Screening and Evaluation

                        P:    Inmate was referred to: MD     FNP    DDS    OD     None .

                              See Physician Orders for continuation of current orders. Yes__        No

                              Inmate verbalizes understanding of instructions and teaching .




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   Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 179 of 200 CCI  000379
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                                   Melissa Breitling, M.D.


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                                   0        HIV education/teac hing needed


                            Km:rwledge def1c1t of HIV/AIDS related to disease
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                           Treatment and


                                    P       Information about HIV/AIDS given to inmate on
- - -- - -- -- - - -                           e following: transmission, prevention, testing
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                                    0       Lab work to be drawn as follows:
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                                    P        Obtain lab - Consent form signed, Inmate




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                                                       TENNESSEE DEPARTMENT OF CORRECTION
                                                   TRANSFER/DISCHARGE HEAL TH SUMMARY

 Name of Inmate:                       p ):C ~~n-f-- fbe               1     J        f:>og 'Z.       Inmate Number (TD0C/IDN):                          y-ns        110
 Inmate DOB:                <.c,- I<» •        4i 3                         ex:        DJcMale  D Female
Current Institution/County/Facility:                        \.VTSP • 2.                      Receiving Institution/County/Facility:                               T CC.
Reason for Transfer/Discharge:                                               crz.~
Requires Chronic Illness Monitoring:                       D   Yes     DlNo             Requires Mental Health/Psychiatric Monitoring?                        D   Yes            No
                                                                HEALTH HISTORY                     Check(✓) all conditions present
•    HIV/AIDS                                          D   Depression                 D    Hernia                         D          Prosthesis   {specify)

•    Alcoholism                                        D   Diabetes                   D    High Cholesterol               D          Rheumatoid Arthritis
•    Anemia                                            D   Emphysema                  D    Hypertension                   D          Stroke
•    Asthma                                            D
                                                       •
                                                           Epilepsy                   D    Kidney Disease                 D          Suicide Attempt/Gesture/Ideation
•    Cancer    (specify)   _    _ _ __        _            Heart Disease              D    Liver Disease                  D          Tuberculosis
•    Chemical Dependen~y                               D   Hepatitis C                D    Multiple Sclerosis            _D          Venereal Disease

•    C0PD                                          M Other (specifY):                  NO N E
MH Diagn,osis(s):                  Loe ;c..
                                                                            MEDICATION ORDERS
                                                                                                    LAST DOSE                  MEDICATION             AMOUNTS                 KOP
        NAME OF DRUG                     STRENGTHIROUTE                  FREQUENCY                   DATEITIME                SENT(Cin:/e YA>JJ         SENT
                                                                                                                              Yes      No
                                                                                                                                       No                                         No
                                                                                                                                                                                  No
                                                                                                                                                                                  No
                                                                                                                                                                                  No
                                                                                                                                                                                  No
                                                                                                                              Yes                                                     No
                                                                                                                               Yes     No                                  Yes        No

Brief Summa        of Current Problems/0iagnosis(s):                              ec ~bove
Special Instructions (e.g. Allergies, Diet, Impairments, Medical Appointments, etc.):

Referred to Community Resources:                       D Yes 1it] No                                tv
                                                                                  Specify: --'---,,~.__    /er: __________________ _
                                                                              TB INFORMATION
TB Clearance   ~ Y O N;          BCG    O YO No;           PPD Completed:        {e     JZ-,   I    10\.    Results:      n-e ~a.+1 '\I(          CXR Completed _       _ __      _        _
                                                                                                                         sc,tt""\ O"t'II'(
Health Authority Clearance:                   (p       /   23 / 1-i
                               Cb 01.\la,d.   ,S;-d "-e'" /                                                                    tvP·C:.
                                                                                                                       ntle                                                Date
                                                               SPECIAL INSTRUCTIONS/PRECAUTIONS
Inmate is on Suicide Monitoring or Special Mental Health Observation:           D Yes J8.1 No                                           Dates:
Is Inmate medically able to travel by BUS, CAR, or VAN?
Does the inmate require medication during transport?
                                                                                                                                        l(] Yes
                                                                                                                                         OYes
                                                                                                                                                          •j8No
                                                                                                                                                             No

Does the inmate require medical equipment during transport?                                                                              •  Yes           ~No
Does the inmate have communicable disease clearance to travel?                                                                           ~Yes            •  No
Is the Transport Officer required to use universal precautions and the use of masks or gloves?                                           •  Yes          ~  No
Conservator:         D Yes (lfst information below)                  l(J No ( If no, list Emergency Contact)
                                                                                  - - - -- - - - - - r - - - ------=- -- -

                                                                                               r
Name: _ _ _ _ _ _ _ _ _ _ __ _ _ Address:                                                                                                                     Phone: _ _ _ _ __

Report prepared by:
                                  \'.aJ,r~~.?s1g~tf:'~1~Ji"..!1,o\;!N.11)                          rl:-?.._.J          [,._ CH{J_'-"__                   _,a_....__-
                                                                                                                                                                  _g  J a:-e 2..
                                                                                                                                                                     _DL-    =-=C==----- - -
Report prepared by:
                                         Mental Health Si

Receiving Institution :                                                                                                                           2           a

                                                                                                                                                              7 Da
                                                                                                                                                                (
                                                                                                                                                                  _o ate


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                                                                                                                                                                     ~
CR-1895 (Rev 04-17 )                                                                                                                                              RDA 1458
    Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 190 of 200 CCI  000390
                                                                     PageID #: 2073
                                           TENNESSEE DEPARTMENT OF CORRECTION
                                  HEAL TH RECORDS/MEDICATION MOVEMENT DOCUMENT


     DESTINATION:
                                                                       7· T, .. r
                                THIS PACKET CONTAINS HEALTH RECORDS ON THE FOLLOWING INMATE(S):



                                                                                                  CHECK ALL THAT APPLY

                                                                                                   Health        Dental                                  * Purpose
                              Inmate Name                                     Number                                           Medication
                                                                                                   Record        Record                            (Indicate A, B, C or D)

     1.                                                                           11                    0           ~ -
                                                                                                                                      •
     2.
                                                                                                       •           •                  •
     3.
                                                                                                       •           •                  •
     4.
                                                                                                       •           •                  •
     5.
                                                                                                       •           •                  •
     6.
                                                                                                       •           •                  •
     7.
                                                                                                       •           •                  •
     8.
                                                                                                       •           •                  •
     9.
                                                                                                       •           •                  •
     10.
                                                                                                       •           •                  •
 * PURPOSE OF RECORDS MOVEMENT:
       A. Permanent Transfer               B. Temporary Transfer for Clinical Services                 C. Record to Archives          D. Other (See Comments)

     Comments:




     * MEDICAL RECORD CHAIN OF CUSTODY                                             Sending Institution:                   \An             i·   J

DATE                 RELEASED BY                          RECEIVED BY                     DATE:
                                                                                                                 RELEASED BY                             RECEIVED BY
                                                                                       IF CONTINUING


       -        .CLINICAL SERVICES SIGNATVRE        TRANSPORT OFFICER SIGNATURE                             CUN/CAL SERVICES SIGNATURE             TRANSPORT OFFICER SIGNATURE
 \
                   NAME & T/TlE ( PRINT)               NAME & TITLE (PRINT)                                    NAME & TITLE (PRINT)                    NAME & TITLE (PRINT)

DATE                 RELEASED BY                         RECEIVED BY                      DATE:                  RELEASED BY                             RECEIVED BY


                CLINICAL SERVICES SIGNATURE         TRANSPORT OFFICER SIGNATURE                             CLINICAL SERVICES SIGNATURE            TRANSPORT OFFICER SIGNATURE


                   NAME & TITLE (PRINT)                NAME & TITLE (PRINT)                                    NAME & TITLE (PRINT)                   NAME & TITLE (PRINT)




           **   THIS DOCUMENT SHALL NOT CONTAIN PROTECTED HEAL TH INFORMATION                                                                                   **
 CR-2176 (Rev. 08-14)                                                                                                                                 RDA 1100
White-Exterior Packet          Canary-Exterior Packet         Pink-Inside Records Packet                 Goldenrod-Sending Institution Medical Records Office


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                                                                      PageID #: 2074
                                                       TENNESSEE DEPARTMENT OF CORRECTION
                                                              HEALTH QUESTIONNAIRE

                                                                                                                   4] 3110                                       lo-(t, r1
                                                                                                                                                                      ,.:a
          INMATE NAME:          --L.._J~~_,_____,__ _,_~~             +.+0-..c___,,- . .     TOOC NUMBER                                  DOB

          RECEIVING INSTITUTION:                                                              DATE         L1( q2{)                   TIME        ~
          INITlAL INT AKE:                             TEMPORARY TRANSFER:                  - -~'>"--/__             PERMANENT TRANSFER:
                                                                                                                                                                  - - - --
      INQUIRE:

 1.         Do you have any barriers to learning?               Dysion 0                 Hearing     D Reading      D Writing ~one
2.          Do you speak/read English?              Speak: -E(Yes              •     No                    Read:   ~es      D No
3 ..        Have you ever had a positive TB test?           •   Yes       I::J-No             If yes, desaibe - - - - - -- ---"---- - - -

4.          Are you being treated for any illness or health problem (including dental, venereal disease, or other infectious diseases)?

             ~        Yes       O      No.                  If yes, describe:                      c\y\,\ $/( (V\        .,       .      _ .

5.          Do you have any physical, mental or dental complaints at this tirrye?                  D Y~         No
            If yes, describe:
6.          Are you currently taking any medicatio; s)?                   11Yes -·•           No · "   c


            If ~es, ~st.he medicati~ transferred -~  th~ in~ate~ _. _     Yes   p            po_ .
            If yes, describe (what used, how much, how often, date oflasfuse, and any problems)


7.          Have you recently or in the-past,    abused alcohol or other drug~. including prescription drugs?                 •   Yes~
                                                                If yes, VVhat?       _ _ _ __ __ How much?               ______                   .;_·.:..;
                                                                                                                                                      ;:_   • ,     ~--·
8.          Have you ever been hospitalized for using alcohol or other drugs, induding prescription drugs?
                  . ·-
            tf yes, when?
                                                    . ---  ' .    - ::.                          ..                                   • Yes          ~
                                                           ;          ·
9.          Do you have any anergies?            D Yes ·   ·ftNb                If yes, describe:
                                                                                                                                         I   I•     .....    -




            (For women)
10.                             b) Are you pregnant?                                     _Number Of months"_
                                                                                                           -___         _
                                                                                          Date: _ _ _ __ _ _ _ __ __ _ __

                                                                          •
11 .
            e)
             Screening for MRSA Infections:
             a) Do you have any lesions, sores or insect bites?       0
                                                                          •
                                                                               No
                                                                               No


                                                                              Yes   I?{No
                                                                                                            -
             If so, do you have any open/draining lesions, sores, or insfubites?               D Yes        )ZlNo
             If yes, where are these lesions?

  OBSERVE:

                 Behavior (including state of awareness, mental status, appearance, conduct, tremor and sweating) :
            P'ormal                 O Abnormal          If abnormal, describe:


       2.        Skin Assessment (including needle marks, trauma markings, bruises, lesions, jaundice, rashes, tattoos, and infestatidn{s)

                 • Yes   ~      No
                  If yes, describe:


      3          Is there evidence of Abuse or Trauma?          0   Yes       p     No
                                                                              Page 1 of 2
                                                                                             If yes, describe

 CR-2178 (Rev 02-18)                                                       Duplicate as Needed                                                              RnA 1100
             Case 3:22-cv-00093 Document 33-15 Filed 05/04/22 Page 192 of 200 CCI  000392
                                                                              PageID #: 2075
                                                   TENNESSEE DEPARTMENT OF CORRECTION
                                              TRANSFER/DISCHARGE HEALTH SUMMARY

 Name of Inmate             Plet1-      0t1f           -&;,       fl,O           2               Inmate Number(TDOC/IDN):                       (./7JJ/6
 Inmate DOB:         L9 , . I %" ... g, 3                            Sex:         [Zf Male       D   Female
 Current Institution/County/Facility:                    T lC (                           Receiving Institution/County/Facility:
 Reason for Transfer/Discharge:                           02::-
 Requires Chronic Illness Monitoring:                  D Yes        [lHqa            Requires Mental Health/Psychiatric Monitoring?                   •   Yes
                                                             HEAL TH HISTORY                  Check(✓) all conditions present

•    HIV/AIDS                                  •       Depression                •                                       •     Prosthesis (specify)

•    Alcoholism                                •       Diabetes                  □✓                                      •     Rheumatoid Arthritis
•    Anemia                                    •       Emphysema           ,,,
                                                                                                                         •     Stroke

•    Asthma                                    •       Epilepsy                                                          •     Suicide Attempt/Gesture/Ideation
•    Cancer (specify)                          •       Heart Oise                                                        •     Tuberculosis

•    Chemical Dependency
                                               •       Hepatitis C
                                                                                 •                                       •     Venereal Disease

•    COP   •                                   •       Other (specif,/):

 MH Diagnosis(s) :      Lb C::C.
                                                                         MEDICATION ORDERS
                                                                                               LAST DOSE                 MEDICATION             AMOUNTS                  KOP
        NAME OF DRUG                 STRENGTH/ROUTE                   FREQUENCY                 DATE/TIME                SENT(Circle YIN)         SENT                (Circle YIN!
                                                                           ,,,,,.,-_      '                              Yes     No                                  Yes     No
                                                                         / / } ,.}--                                     Yes     No                                  Yes     No
                                                                  / /        ~ J                                         Yes     No                                  Yes     No
                                                                       /
                                                               ,,,,,,, ... /   /                                         Yes     No                                  Yes     No
                                                                             /                                           Yes     No                                  Yes     No
                                                                   '---""'                                               Yes     No                                  Yes     No
                                                                                                                         Yes     No                                  Yes     No
                                                                                                                         Yes     No                                  Yes     No

Brief Summary of Current Problems/Diagnosis(s):
Special Instructions (e.g. Allergies, Diet, Impairments, Medical Appointments, etc.) :

Referred to Community Resources:                   •   Yes     D No         Specify:
                                                                           TB INFORMATION

TB Clearance   ✓
               v □ N;       BCG    OYO       No;       PPD Completed ;      {a J:;_9' ) 9             Results:   ~JU              Af€:3     CXR Completed - - - ' - - - - - '- - -

Health Authority Clearance:                 lR I :23 I 1---=l-
        ':> i d~             12:>2\\71nd                                                                                                                  (,p- ~3-1'7-
                               Name                                                                              Title                                               Date
                                                          SPECIAL INST RUCTIONS/PRECAUTIONS
Inmate is on Suicide Monitoring or Special Menta l Hea lth Observation:         D Yes ~                                           D~~       - - - -- - - -- - -
Is Inmate medically able to travel by BUS, CAR, or VAN?                                                                            ~es            !:J~
Does the inmate require medication during transport?
Does the inmate require medical equipment during transport?
                                                                                                                                   • Yes
                                                                                                                                   D Yes
                                                                                                                                                  ~y..-
                                                                                                                                                  l..fl-'NO
                                                                                                                                                          0
Does the inmate have communicable disease clearance to travel?                                                                     ~s             •      No
Is the Transport Officer required to use universal precautions and the use of masks or gloves?                                     ~              •      No
Conservator:      D     Yes (list information below)              D      No ( If no, list Emergency Contact)
Name:

 Report prepared by:
                                                                                                                                                              Date

 Report prepared by:


 Receiving Institution:



 CR-1895 (Rev. 04-17)                                               Duplicate as Needed                                                                   RDA 1458




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                                                                 PageID #: 2076
                                    TENNESSEE DEPART MENT OF CORRECTION
                                              HEALTH SERVICES
                                         REFUSAL OF MEDICAL SERVICES


                        INSTITUTION


                                                    Date   -U-/-2-+-7-+--/- 20 _tl              Time   (lli t)      AM/PM


                                   1t.._~-:'.Z
    This is to certify that I _ _ _._.        .--        _ ,54
                                                    f _/tA              - '- -_.&
                                                                 '- -'- f_
                                                            __,,,A                                     _ 7_j_ 1_(_0___ __
                                                                                c. .,aa--'U=,--_ _ _ _ l(
                                                   /l mnate's Name)        f                        (TDOC Number)
                                                                                    and/or have been advised to have
    have been advised that I have been scheduled for the following medical services

    the following evaluations, treatment, or surgical/other procedures:




                                                                                                     physician and/or the
               am refusing the above listed medical services against the advice of the attending
                I
                                                                       of the risks  involved by   my refusal and hereby
    Health Services staff. I acknowledge that I have been informed
                 State of Tennessee , Departmen  t of Correction, and their employees    from all responsibility for any ill
    release the
                                                                                     ge this medical service may not be
    effects which may be experienced as a result of this refusal. I also acknowled
                                                                                       my medical problem as a medical
    made readily available to me in the future unless an attending physician certifies
    emergency .


    Signed:                                                               473 Ll 0
                                                                               (TDOC number)




    Witness :                 ~-
                      /~11-•~¼&
                ----¼-7          (Signature)                                      (Title)



    Witness: _ __ _ _ _ __ _ _ _ _ _ _ _ _ __
                        (Signature)                                               (Title)                     (Date)

                The above information has been read and explained to,


                                                                      _ __ _ __ _ __ _ but has refused to sign
                            (Inmate's Name)                                    (TDOC number)
    the form.



    Witness : _ _ _ _ _ _ _ __ _ __ _ _ _ _ __
                          (Signature)                                              (Title)                    (Date)


    Witness: _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ __
                        (Signature)                                                (Title)                     (Date)




                                               Original - Health Record         Canary - File                 RDA 1458
        CR-1984 (Rev. 4-00)


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                                                                 PageID #: 2077
                                                                                           ~-..,
                                                TENNESSEE DEPARTMENT OF              corf· . CTION
                                           CONSENT / REFUSAL OF INFLUENZA VACCINE


                                                  TTCG
                                                               IN STITUTION

  Name:                                                       TOMIS#:       4];> / /0                 Date of Birth :   fo //P / 'i3
                                                                                                                             '     '
   D I agree to receive the influenza vaccination at the Tennessee Department of Correction .
  I have rece ived the Vaccine Information Sheet (VIS) from the nurse administering th e vaccin e and had the opportunity
                                                                                                                                      to
  ask questions. I attest that I am not allergic to eggs and have not experienced serious sid e effects in the past after
  receiving the Infl uenza Vaccine (ff allerg ic to eggs or has experienced seri ou s side effects re fe r to ph ysicia n before
  administering the vaccine). I understand the poss ible side effects of this vacci ne. I understand that I may experience
                                                                                                                                    mild
  side effects symptoms such as soreness/redness at the injection si te. I agree that if I experience any of the listed
                                                                                                                                mild,
  moderate or severe side effects from this vacci ne as expla ined to me, I will seek im mediate medical attention from
                                                                                                                                 the
  clin ica l servi ce staff as soon as possible.


  Date :      lo. 2.:3.   lei\         Time :
                                                                                                    (Signature of Patient)
  Witness :
                                                                                Professional Title                                 Date




 di'refuse to receive the Influenza vaccine

 I understand that if I do not receive the vaccine, the consequences may Include Increased ri sk of: getting sick from
                                                                                                                          the
 illness the vaccine could prevent; spreading the disease to others, who could become ill, be hospitalized , or die
                                                                                                                       as a
 res ult; being hospital ized fo r hea rt disease, stroke, and pneu monia. I also acknowledge that the Influenza vaccine
                                                                                                                         will be
 made available to me in the future by utilizing the Institution' sick call procedu re.

                                                                                                         --      -      ~



                                                                       ~~u~
                                                                          ~~~
Date :     10• 2$• 1'1                Time:     0 / SS
Witness :         4, {lmJc-- - - - =                                  I J                                                /o/2 ~/fc;
                                                                               Professional Title                                 Date

Witness:    r:ltrw /U llt/1
                          1               Ulfwi
                                                                               Professional Title
                                                                                                                         10(?::J/1 9
                                                                                                                                 Date




CR-3894                                                 Duplicate as Needed                                                      RDA 1458




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                                                                    PageID #: 2078
                                           r
                                             TENNES SEE DEPAR TMENT OF CORRE CTION

                                        CONSE NT, REFUS AL OF INFLUE NZA VACCI NE                                 A ~5
                                                                rrcc
                                                            INSTITU TION


Name                                                        TOMIS#:          L/13/ j 0                     Date of Birth   C'4ilY/~ ] _____ .
                                                                          ent of Correction.
D   I agree to receive the influenza vaccination at the Tennessee Departm
                                                                                        ering the vaccine and had the opportunity to
I have received the Vaccine Information Sheet (VIS) from the nurse administ
                                                    eg gs  and liave not  experien    ced  serious side effects in the past after
asl< quesltons I atlesl lha l I am nol allerg ic lo
                                                                                serious side effects refer to physician before
receiving the Influ enza Vaccine (1f al lergic lo eggs or has experienced
                                                                             this  vaccine. I understand that I may experience mild
ad m1rn slc nn g the vacc in e) I understand the possible side effects of
                                                     s  at lhc miection  site    I agree  that if I experience any of the listed mild ,
side effec ts sympiorns su 11 as soreness/rednes
                                                                                I will seek immediate medical attention from the
mod ~rale o, severe side eflects lrorn this vaccine as explaine d to me,
cl iniCGi service staff as soon as possible


 Date                                 Time
                                                                                                       (Signature of Patient)

 Witness .
                                                                                      Professional Title                            Date




 ~fus e to receive the Influenza vaccine
                                                                                 include increased risk of: getting sick from the
I understand that if I do not receive the vaccine, the consequences may
                                                                                could become ill, be hospitalized, or die as a
illness the vaccine could prevent; spreading the disease to others , who
                                                                          . I also acknowledge that the Influenza vaccine will be
result; being hospitalized for heart disease, stroke, and pneumonia
                                                 the institutio n' sick call  procedu re
made available to me in the fut ure by utilizing


 Date


 Witness                                                       _ L&J __ __ __   ~*ofP~ 1~
                                                                                      Professional Title
                                                                                                                                Q     J<l _
                                                                                                                                     ate


 Witness
                                                                                      Professional Title                            Date




                                                           Duplicate   <IS   Needed                                                 !Wt\ 14 5 8


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                                                                     PageID #: 2079
                                                                                                                                                                             CCI 000397
                                                                 ,~ Trousdale Turner Correctional Center (TTCC)
                                                                 !

                                                                                    INMATE REQUEST FOR.!v1
                                                                                                                                        Al\2.Chmcnl 20 : Q;.,

(__
             ro                    en dCa- I f         ·1                                             DEPT       (YJ Fd I C td   [MTE      Q - / .., ([
             zr::Qu EsT.:..                      I    e.e c..i &",) sd M . '4f?p II c. rt+tD/\1                   fu IV\ _Jb,£_ ~ &1-f~
                  V\OLL2> r                          Md They /\Jud It GO/Jc.-? cl                                  Mt.A   ,.a.   $t:;M(     fes.-f
               VI      I       r   IU)~ .             \ ,-q>:'(        Jrn, ~;1-,
                                                                               l"\, ..:.~;)I
                                                                                   A4!"~. ;--
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                                                                                              ~

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                                                                                                                               HOUSING ASSIGN!v:U~T
              NMATE NAME (PRlNT NAME)                                                                   NUMBER

                                                              ~ t5) \1£-ihk                (,L, C o n.l-J ~ \..t "½       ~-t-v            PoJ;/M')l
              ~ESPONSE
                       s~.t.,            ..-h) ·,           p"" t,.U
L

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                                                                                                                                                   790 I J<:__ ~JJ.:.;
                Jnrnatc: Copy




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                                                         T ENNESSEE DEPA RTMENT OF CORRECTION
                                                                       HEAL TH QUESTIONNAIRE                   (       -


                                                                                           rnoc        NUMBER      ~lJ 3 -V-o_ oos Cotr·<[:>
          rn·u      1\/ING INSTI I UTI0N         rnousDALE rURNE:R CORRECTIONAi_            DM~~                   tl (<j       /'110   TIM[              I ll   1•1



          11✓ ! I IAI   11\I fAK[                        T[MP0RAF~Y Tf~ANSF.ER                                         PEf~MANENT TRANSF[R          V
     INQUIRE:


                  Do you have any balliei-s to learning?            D   Vision        D Hearing         D    Reading       0   Writing
          2       Do you speak/read English?             Speak .    $'es          D   No               ReacT:6Yes              0   No
          3       Have you eve1· had a positive TB test?           D   Y~                       If yes, describe _ _ _ _ _ _ _ _ _ _ _ _ _ __


      4          Are you being trnated for any illness or health problem (in c/ucfl1Q. c',1tal, venereal disease, or other infectious diseases)?

                    0        Yes~           No                   If yes, describe :   JJ V\

      5          Do you have any physical, mental or dental co127plaints at t~
                 If yes, describe:                 e,-.. ~~                        ~~J
                                                                                          tim
                                                                                            e~ :::                  No\


      6         Are you currently taking any medication(s)?                    D Yes       ~o
                 If yes, was the medication transferred with the inmate?              D   Yes   -ft:§Jo
                If yes, describe (what used, how much,~ t ~ a t e of last use, and any problems)


     7          Have you recently or in the past, used alcohol or other drugs, including prescription drugs?               D Yes         ~o
     8          Have you ever been hospitalized for usi 19 ylfohol or other drugs, including prescription drugs?                         OYe~No
                If yes, when?                                  -1-t)
     9          Do you have any alle1·gies?          D   Yes    ~No                If yes, describe .

                                            p---::>n o a                       l\,)\(.     '13Q
                (For women)
     10        a) LMP _ _ b) Are you pregnant?                   0 Yes         X No        Number of months
               c) Have you recently delivered?                   D Yes       X No          Date:
               d) Are you on bir1h control pills?                D Yes      X No
               e) Any gynecological problems?                    0 Yes       X No
     !1          Screening for MRSA Infections:
                 a) Do you have any lesions, sores or insect bites?        0     Yes w o
                 If so, do you have any open/draining lesions, sores, or insect                    D   Yes   ~No
                 If yes, where are these lesions?                                 }--J
                                                         --------------------------------
0 BS ERV E:

              Behavior (including state of awareness, mental status, appearance, conduct, tremor and sweating) ·
      --f:} No1mal                  D   Abnormal          If abnormal, describe .


 2            Skin Assessment (including needle marl<s, trauma marl<ings, bruises, lesions, jaundice, rashes, tattoos, anc/ tnfesta/ion(s)

          ~cs              O No
                If yes , describe:


 3            Is there evidence of Abuse or Trauma?


                                                                            Page 1 of 2
CR-2178 (Rev 09-16)                                                      Duplicate as Needed                                                   RDA 1100



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                                                              {.



                                                          TENNESSEE DEPARTMENT OF CORRECTION
                                                         TRANSFER/D ISCHARGE HEALTH SUMMARY

  Name of Inmate:
  Inmate DOB:
                         ,___,....,_=>-.......,t,.LJ.......,""'---'="-="4-r--......"-""'"""--Z...=- Inmate Number (TDOC/IDN):
                            lo · l
                          9, · 9, ::2)
                                                                                                                                                       413110
                                                                                                    D Female
  Current Institution/County/Facility:                                                         Receiving Institution/County/Facility:
  Reason for Transfer/Discharge:
  Requires Chronic Illness Monitoring:                            DYes      D No Requires Mental Health/Psychiatric Monitoring?                            0   Yes          D    No
                                                                        HEALTH HISTORY Check (✓) all conditions present
 D    HIV/AIDS                                            D       Depression           D        Hernia                          O     Prosthesis (specify)
 D    Alcoholism                                          O       Diabetes             D        High Cholesterol                O     Rheumatoid Arthritis
 D    Anemia                                              O       Emphysema            D        Hypertension                    O     Stroke
 0    Asthma                                              D       Epilepsy             D        Kidney Disease                  O     Suicide AttempVGesture/ldeation
 D    Cancer (specify) _ _ _ _ _ _                        •       Heart Disease        D        Liver Disease                   D     Tuberculosis
 D    Chemical Dependency                                 D       Hepatitis C          D        Multiple Sclerosis              D     Venereal Disease
 •    COPO                                                O       Other <specify):
 MH Diagnosis(s):
                                                                                   MEDICATION ORDERS
                                                                                                     LAST DOSE                   MEDICATION           AMOUNTS                   KOP
         NAME OF DRUG                              STRENGTH/ROUTE              FREQUENCY              DATE/TIME                 SENT/Cln:/e YIN}         SENT               (Clrtle YIN)
                                                                                                                                Yes     No                                 Yes       No
         ~                                                                                                                      Yes     No                                 Yes       No
          I '\.             ',
                                                                                                                                Yes     No                                 Yes       No
          I '\                    V                                                                                             Yes     No                                 Yes       No
          \            '\         I                                                                                             Yes     No                                 Yes       No
              '\            v..                                                                                                 Yes     No                                 Yes       No
                   "-.._./        '\.,,.
                                                                                                                                Yes     No                                 Yes       No
                                                                                                                                Yes     No                                 Yes       No
 Brtef Summary of Current Problems/Olagnosis(s):
 Special Instructions (e.g. Allergies, Diet, Impairments, Medical Appointments, etc.):
 Referred to Community Resources:                             0   Yes    D No        Specify:
                                                                                    TB INFORMATION
 TB Clearance      ...d-, 0 N;
 Health Authority Clearance:
                                           BCG   O Yfl{ No;
                                                   _,._N~A_t____ _
                                                                  PPO Compleled:     Ii, '5 / 0
                                                                                         I                  Re:soffs:   a=-=------                 CXR Compleled   ~N...V.. . . . ,_....;.,.__
                                            NA
                                             Name
                                                                                             -----N~A_.___ __           Tille
                                                                                                                                                                      tJA
                                                                                                                                                                        Date
                                                                    SPECIAL INSTRUCTIONS/PRECAUTIONS
 Inmate Is on Suicide Monitoring or Special Mental Heallh Observation:                                      0    Yes ~ o                 Dates:
 Is Inmate medically able to travel by BUS, CAR, or VAN?                                                                                ,..er'Yes
 Does the inmate require medication during transport?
 Does the inmate require medical equipment during transport?
                                                                                                                                          •   Yes
                                                                                                                                         ,.ffYes
 Does the inmate have communicable disease clearance to travel?                                                                           ffYes
 Is the Transport Officer required to use universal precautions and the use of masks or gloves?                                           •   Yes
 Conservator:     O Yes ( tllni~   rmation
                                      i    below)     ,Ja'No ( 1r no. Ii.st Emergency Contact)
 Name:     NO(\e( (;\~~                                                  Address: _ ___._N
                                                                                         .JLL-'
                                                                                            A......__ _ __ _ __ _ _ Phone:                                           __._N_.,_AL..L-_ _
 Report prepared by:                                    r.eww t0rv
                                                 Health Signature/Professional Title
                                                                                                                                                         ~ [l\1
                                                                                                                                                             Date
                                                                                                                                                                  Ix
 Report prepared by:
                                                  Mental Health Signature/Professional Title (if applicable)
 Receiving Institution:



 CR.1895 (Rev. 04·17)
                                                                                                                                                               ROA 1458




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                                            TENNESSEE DEPARTMENT OF CORRECTION
                                    HEALTH RECORDS/MEDICATION MOVEMENT DOCUMENT


     DESTINATION:


                                  THIS PACKET CONTAINS HEALTH RECORDS ON THE FOLLOWING INMATE($):


                                                                                                 CHECK ALL THAT APPLY


                                Inmate Name                                     Number
                                                                                                 Health          Dental
                                                                                                                               Medication           * Purpose
                                                                                                 Record          Record                       (Indicate A1 B, C or D)

     1.                                                                   Llr-i')un                  15'1          00                 •
     2.
                                                                                                     •             •                  •
     3.
                                                                                                     •             •                  •
     4.
                                                                                                     •             •                  •
     5.
                                                                                                     •             •                  •
     6.
                                                                                                     •             •                  •
     7.
                                                                                                     •             •                  •
     8.
                                                                                                     •             •                  •
     9.
                                                                                                     •             •                  •
     10.
                                                                                                     •             •                  •
  * PURPOSE OF RECORDS MOVEMENT:
         A.    ermanent Transfer             B. Temporary Transfer for Clinical Services             C. Record to Archives            D. Other (See Comments)

     Comments:




     * MEDICAL RECORD CHAIN OF CUSTODY

  DATE                                                     RECEIVED BY                   DATE:
                        RELEASED BY                                                                              RELEASED BY                        RECEIVED BY
                                                                                     IF CONTINUING




                   CLINICAL SERVICES SIGNATURE        TRANSPORT OFFICER SIGNATURE                           CLINICAL SERVICES SIGNATURE       TRANSPORT OFFICER SIGNATURE


4/i~ICJ.              NAME & TITLE (PRINT)               NAME & TITLE (PRINT)                                  NAME & TITLE (PRINT)               NAME & TITLE (PRINT)


  DATE                  RELEASED BY                        RECEIVED BY                   DATE:                   RELEASED BY                        RECEIVED BY


                   CLINICAL SERVICES SIGNATURE        TRANSPORT OFFICER SIGNATURE                           CLINICAL SERVICES SIGNATURE       TRANSPORT OFFICER SIGNATURE



                      NAME & TITLE (PRINT)               NAME & TITLE (PRINT)                                  NAME & TITLE {PRINT}              NAME & TITLE (PRINT)




              **   THIS DOCUMENT SHALL f:LQL CONTAIN PROTECTED HEAL TH INFORMATION                                                                         **
  CR-2176 (Rev. 08-14)                                                                                                                           RDA 1100
 White-Exterior Packet           Canary-Exterior Packet         Pink-Inside Records Packet             Goldenrod-Sending Institution Medical Records Office



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